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Form                                                                Department of the Treasury - Internal Revenue Service

       1040X                                Amended U.S. Individual Income Tax Return                                                                     OMB No. 1545-0074

(Rev. January 2019)                         | Go to www.irs.gov/Form1040X for instructions and the latest information.
This return is for calendar year                X 2018                    2017            2016                       2015
Other year. Enter one: calendar year                           or fiscal year (month and year ended):
Your first name and initial                                                           Last name                                                 Your social security number
  TONY D.                                                                            TOWNLEY
If a joint return, spouse's first name and initial                                    Last name                                                 Spouse's social security number
  ELIZABETH A.                                                                       TOWNLEY
Current home address (number and street). If you have a P.O. box, see instructions.                                           Apt. no.          Your phone number
  1280 SNOWS MILL ROAD                                                                                                                          706-353-8107
City, town or post office, state, and ZIP code. If you have a foreign address, also complete spaces below. See instructions.
  BOGART, GA                      30622
Foreign country name                                                                      Foreign province/state/county                        Foreign postal code

Amended return filing status. You must check one box even if you are not changing your filing                                 X Full-year health care coverage (or, for
status. Caution: In general, you can't change your filing status from a joint return to separate
returns after the due date.                                                                                                 2018 amended returns only, exempt). See inst.
         Single     X Married filing jointly             Married filing separately         Qualifying widow(er)
         Head of household (If the qualifying person is a child but not your dependent, see instructions.)
                                                                                                     A. Original amount          B. Net change -             C. Correct
                        Use Part III on page 2 to explain any changes                                   reported or as          amount of increase            amount
                                                                                                     previously adjusted          or (decrease) -
Income and Deductions                                                                                 (see instructions)         explain in Part III
 1 Adjusted gross income. If a net operating loss (NOL) carryback
       is included, check here ~~~~~~~~~~~~~~~~~ |                                            1           44318207.                                         44318207.
 2 Itemized deductions or standard deduction ~~~~~~~~~~~                                      2             80,734.               22088370.                 22169104.
 3 Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~                                           3           44237473.              -22088370.                 22149103.
 4a Exemptions (amended returns for years before 2018 only) . If changing ,
    complete Part I on page 2 and enter the amount from line 29 ~~                           4a
  b Qualified business income deduction (2018 amended returns only)                          4b         7,959,250.                 -3826081.              4,133,169.
 5 Taxable income. Subtract line 4a or 4b from line 3. If the result is
       zero or less, enter -0-                                          5           36278223.              -18262289.                 18015934.
Tax Liability
 6 Tax. Enter method(s) used to figure tax:
       QDCGTW                                                                                 6           13110168.                -6757047.              6,353,121.
 7 Credits. If a general business credit carryback is included,
   check here ~~~~~~~~~~~~~~~~~~~~~~~ |                                                       7            298,036.                                         298,036.
 8 Subtract line 7 from line 6. If the result is zero or less, enter -0- ~~                   8           12812132.                -6757047.              6,055,085.
 9 Health care: individual responsibility (see instructions) ~~~~~~                           9
10 Other taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   10            211,422.                                         211,422.
11 Total tax. Add lines 8, 9, and 10                                        11           13023554.                -6757047.              6,266,507.
Payments
12 Federal income tax withheld and excess social security and tier 1
   RRTA tax withheld. ( If changing , see instructions.)~~~~~~~~                             12
13 Estimated tax payments, including amount applied from prior year's return                 13           12271465.                                         12271465.
14 Earned income credit (EIC)                                             14
15     Refundable credits from:      Schedule 8812   Form(s)         2439

               4136                  8863                  8885                 8962 or

               other (specify):                                             15
16 Total amount paid with request for extension of time to file, tax paid with original return, and
   additional tax paid after return was filed ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                16      6,757,047.
17 Total payments. Add lines 12 through 15, column C, and line 16                                                        17       19028512.
Refund or Amount You Owe
18 Overpayment, if any, as shown on original return or as previously adjusted by the IRS                           ~~~~~~~~~~~~~~                 18      6,004,958.
19 Subtract line 18 from line 17. (If less than zero, see instructions.) ~~~~~~~~~~~~~~~~~~~~~~~~~                                                19       13023554.
20 Amount you owe . If line 11, column C, is more than line 19, enter the difference ~~~~~~~~~~~~~~~~~                                            20
21 If line 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this return ~~~~~                             21      6,757,047.
22 Amount of line 21 you want refunded to you                                                                   22      6,757,047.
23 Amount of line 21 you want applied to your (enter year):                                 estimated tax          23
                                                                                                                                Complete and sign this form on page 2.
                                                                                                                             Exhibit
LHA        For Paperwork Reduction Act Notice, see instructions.                               810701 02-06-19                                          Form 1040X (Rev. 1-2019)


                                                                                                                                 A
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Form 1040X (Rev. 1-2019)          TONY D. & ELIZABETH A. TOWNLEY                                                                                                         Page 2
 Part I        Exemptions and Dependents
Complete this part only if any information relating to exemptions (to dependents if amending your 2018 return) has changed from what you reported
on the return you are amending. This would include a change in the number of exemptions (of dependents if amending your 2018 return).
           For 2018 amended returns only, leave lines 24, 28, and 29 blank. Fill            A. Original number             B. Net change              C. Correct number
           in all other applicable lines.                                                    of exemptions or                                             or amount
           Note: See the Form 1040 or, for amended returns for years before 2018,           amount reported or
           the Form 1040A instructions. See also the Form 1040X instructions.              as previously adjusted
24 Yourself and spouse. Caution: If someone can claim you as a
   dependent, you can't claim an exemption for yourself. If amending
   your 2018 return, leave line blank ~~~~~~~~~~~~~~~~                               24
25 Your dependent children who lived with you ~~~~~~~~~~                             25
26 Your dependent children who didn't live with you due to divorce
    or separation ~~~~~~~~~~~~~~~~~~~~~~~~~~                                         26
27 Other dependents ~~~~~~~~~~~~~~~~~~~~~~~                                          27
28 Total number of exemptions. Add lines 24 through 27. If amending
    your 2018 return, leave line blank ~~~~~~~~~~~~~~~~                              28
29 Multiply the number of exemptions claimed on line 28 by the exemption
    amount shown in the instructions for line 29 for the year you are
    amending. Enter the result here and on line 4a on page 1 of this form. If
    amending your 2018 return, leave line blank ~~~~~~~~~~~~~                        29
30 List ALL dependents (children and others) claimed on this amended return. If more than 4 dependents, see inst. and                       u here |
Dependents (see instructions):                                                                                                                (d) u if qualifies for (see instr.):
                                                                                                                                                              Credit for other
   (a) First name                            Last name                             (b) Social       (c) Relationship                           Child tax     dependents (2018
                                                                                security number           to you                                credit      amended returns only)




 Part II        Presidential Election Campaign Fund
Checking below won't increase your tax or reduce your refund.
      Check here if you didn't previously want $3 to go to the fund, but now do.
      Check here if this is a joint return and your spouse did not previously want $3 to go to the fund, but now does.
 Part III Explanation of Changes. In the space provided below, tell us why you are filing Form 1040X.
                | Attach any supporting documents and new or changed forms and schedules.
SEE ATTACHED EXPLANATION OF AMENDMENT.




Remember to keep a copy of this form for your records.
Under penalties of perjury, I declare that I have filed an original return and that I have examined this amended return, including accompanying schedules and statements,
and to the best of my knowledge and belief, this amended return is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information
about which the preparer has any knowledge.
Sign Here

=                                                                                       EXECUTIVE
Your signature                                                 Date                     Your occupation


=
Spouse's signature. If a joint return, both must sign.         Date                     Spouse's occupation
Paid Preparer Use Only


= BRIDGET J. DUNK                                                         04/08/22                 BENNETT THRASHER LLP
Preparer's signature                                                      Date                     Firm's name (or yours if self-employed)

                                                                                                   3300 RIVERWOOD PARKWAY, #700
BRIDGET J. DUNK                                                                                    ATLANTA, GA 30339
Print/type preparer's name                                                                         Firm's address and ZIP code
                                                                      Check if self-employed          770-396-2200
PTIN                                                                                                  Phone number                         EIN
810702
02-06-19     For forms and publications, visit www.irs.gov.                                                                                      Form 1040X (Rev. 1-2019)
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                         TONY D. and ELIZABETH A. TOWNLEY
                                      2018 FORM 1040X

       The Townleys and their family partnership, Log Creek LLLP ("Log Creek"), are

correcting their earlier returns to make sure they properly recognize their 2018 conservation

contribution encouraged by Congress. They reported that contribution on their original 2018

return but, when they learned the IRS was attacking all partnership conservation contributions,

they removed that contribution from their returns until they could make doubly sure they

reported their contribution correctly.    They also waited to report the three conservation

contributions they made of vulnerable tracts to the Oconee River Land Trust in 2019 until they

could make doubly sure they were correctly reporting those contributions that Congress

encourages (and the IRS discourages). That additional work is finally complete. To understand

why the Townleys made these contributions, one needs to understand the Townleys.

       Tony Townley grew up in Bogart, Georgia, in the country outside of Athens. Starting in

high school, he and his father grew Christmas trees on his parents' farm. Even today, Tony and

his wife Elizabeth live on a farm in Bogart, next door to his parents. The running joke in the

Townley house is that Tony has not gone very far in life.

       After high school, Tony enrolled at Georgia Southern in Statesboro. Two wonderful

things happened in Statesboro. Tony met Elizabeth, and Tony and his boyhood friend Zach sold

almost everything they had to start a little chicken finger restaurant in Statesboro. When Tony

finished Georgia Southern and Zach finished UGA, the chicken restaurant could not support

them and so, Tony returned home to the Athens area, married Elizabeth, worked with his father

on the Christmas tree farm, and started a mortgage business while he and his friend tried to build

the chicken business. Through hard work, long hours, and risking everything they had, Tony and

his friend built the chicken business into a huge success beyond their wildest dreams, Zaxby's.
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       Tony chose to invest most of what he made into north Georgia farmland and timberland.

Tony and Elizabeth put that land into their family partnership, Log Creek, which they own

equally. Both Tony and Elizabeth like preservation. They protected north Georgia timber and

farmland east of Atlanta because north Georgia is being eaten by Atlanta sprawl. They bought

the old UGA Agriculture Department research farm near their farm. They saved the famous but

neglected UGA Red Barn which they moved out to the former UGA farm and restored.

       In 2017, a mine contamination caused Tony to take a harder look at the Congressional

encouragement to conserve undeveloped land forever.          Martin Marietta Materials, a major

granite mining company, operated a mine next to land Log Creek owned. Tony discovered that

the mine contaminated the water table with a dangerous chemical.             That one mine could

contaminate the entire water table for that entire area. Tony tried to cure that problem, but

started thinking about the Log Creek land that was most vulnerable to mining. His advisors told

him that Congress specifically encourages landowners like the Townleys to preserve the land

through tax incentives that recognize the full value lost due to anti-development restrictions.

       The first site that came to mind was the Norris-Cason tract in Warren County, Georgia

that had granite outcroppings Tony and his forester had seen on the surface. After core drilling

and an exhausting investigation, Tony and Elizabeth decided Log Creek should contribute a

perpetual conservation easement to Oconee River Land Trust, a charitable group in Athens

started by UGA professors and other conservation-minded citizens. The Townleys and their

family partnership knew they were doing a good thing. They wanted to do more. In 2019, Tony

and those helping him identified three other vulnerable tracts with granite outcroppings that

Tony believed would be mined sooner or later. Again, the Townleys decided to protect those

properties forever.    They believe strongly enough in conservation to work through the

extraordinary complexity and expense twice.


                                                 2
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       For all of the tracts, Tony got the best help he could find at the time and now the

Townleys and their family partnership have hired a second set of superb geologists, biologists,

and appraisers to make doubly sure that Tony, Elizabeth, and their partnership are doing exactly

what Congress encourages all forest and farmland owners to do. They not only hired the best

geologists they could find, they hired the Georgia real estate appraiser who best understood the

mining engineering analysis because that appraiser, Doug Kenny, MAI, holds an engineering

degree from Georgia Tech – one of, if not the, top engineering universities in the South.

       Through Section 170(h), Congress encourages landowners to prohibit development on

their forests and farms forever by promising a deduction equal to the full fair market value of the

development rights they sacrificed.     The Eleventh Circuit recently explained that in Pine

Mountain Preserve, LLP v. Commissioner, 978 F.3d 1200, 1202-3 (11th Cir. 2020):

               Before diving into the facts and procedural history of this particular case,
           we set out in some detail the governing statutory framework. Section 170 of
           the Internal Revenue Code allows tax deductions for charitable contributions
           and gifts of interests in real property. As a general rule, the Code forbids
           deductions for conveyances of partial—i.e., less than fee-simple—interests.
           In 1980, though, Congress amended the Code to permit landowners a
           deduction for a "qualified conservation contribution" of less than an entire
           interest in a parcel. See Tax Treatment Extension Act, Pub. L. No. 96-541
           § 6(b), 94 Stat. 3204, 3206 (1980), codified at I.R.C § 170(f)(3)(B)(iii). To
           qualify as a "qualified conservation contribution," a grant must be "(A) of a
           qualified real property interest," "(B) to a qualified organization," and "(C)
           exclusively for conservation purposes." I.R.C. § 170(h)(1).

               The parties here agree that the grants at issue were made to a "qualified
           organization," so our analysis will focus on the other two requirements—that
           the grants be "qualified real property interest[s]" and "exclusively for
           conservation purposes."        Section 170(h)(2) defines the former, and
           § 170(h)(5) defines the latter. According to § 170(h)(2)(C), a "qualified real
           property interest" includes, as relevant here, "a restriction (granted in
           perpetuity) on the use which may be made of the real property." We’ll call
           this the "granted-in-perpetuity" requirement. According to § 170(h)(5)(A),
           "[a] contribution shall not be treated as exclusively for conservation purposes"
           within the meaning of § 170(h)(1) "unless the conservation purpose is
           protected in perpetuity." We’ll call this the "protected-in-perpetuity"
           requirement.


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               To sum up then: The Code permits taxpayers to claim deductions for
           charitable contributions, including contributions of land. If a landowner
           donates less than its entire interest in a piece of property, the Code allows a
           deduction, as relevant here, where the landowner makes a "qualified
           conservation contribution." To qualify—again, as relevant for our purposes
           — a grant must be a "qualified real property interest" and "exclusively for
           conservation purposes." To constitute a "qualified real property interest," the
           grant must satisfy § 170(h)(2)(C)’s granted-in-perpetuity requirement, and to
           be "exclusively for conservation purposes," the grant must satisfy
           § 170(h)(5)(A)’s protected-in-perpetuity requirement.

       The Eleventh Circuit Court of Appeals confirmed in another recent case that the

contribution need only satisfy one of a number of different conservation purposes. Champion's

Retreat Golf Founders, LLC v. Commissioner, 959 F.3d 1033 (11th Cir. 2020).                Equally

important, the Eleventh Circuit held that the Conservation Deed need only protect that one

conservation purpose "BETTER" than having no deed. Certainly true here.

       Congress encourages conservation easements for a very good reason.            Conservation

easements actually ensure conservation much better than outright gifts of land because

conservation easements require perpetual restrictions against development.         By contrast, a

charity receiving an outright gift of undeveloped land can turnaround, sell the land to a developer

with no restrictions, and use the sales proceeds to pay salaries and other charitable expenses.

That congressional encouragement formed the heart of the Eleventh Circuit invalidating Treas.

Reg. § 1.170A-14(g)(6) in Hewitt v. Commissioner, 21 F.4th 1336, 1352 (11th Cir. 2021).

       Congress encourages conservation by recognizing as a deduction every dollar of value

lost from barring mining or any other development of that land forevermore. Every President

from Teddy Roosevelt through Ronald Reagan, Bill Clinton, Barack Obama, and Donald Trump

to Joe Biden's recent 30/30 initiative have recognized how important that conservation remains

to all of us. Any understatement of the full value discourages the conservation that Congress

tries to encourage and that we and all other species so badly need. Conservation only matters to

those who need clean air to breathe, clean water to drink, and farm fresh food to eat.

                                                 4
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       On each of its four contributions, Log Creek more than met all three requirements stated

by the law. That is, Section 170(h) defines a "Qualified Conservation Contribution" as the

transfer of a "Qualified Real Property Interest" to a "Qualified Organization" "Exclusively for

[one or more of four] Conservation Purpose[s]." Log Creek did that and more:

       (i)     "Qualified Real Property Interest." As the statute and the Eleventh Circuit Court
               of Appeals precedent in Pine Mountain establish, "Qualified Real Property
               Interest" only requires "a [one] restriction (in perpetuity)." Each of the four Log
               Creek Conservation Deeds impose at least 12 separate sets of restrictions – plus
               overarching prohibitions against any exercise of any retained right that may
               adversely affect the conservation purposes. Those restrictions, laid out in the
               legally enforceable Deeds of Conservation Easement, are perpetually binding
               under Georgia law.

       (ii)    "Qualified Organization." The statute defines this entity as, among other,
               charitable organizations under Internal Revenue Code Sections 501(c)(3) and
               509(a)(2). The IRS itself issued the IRS Exempt Organization Determination
               Letter specifically recognizing the Oconee River Land Trust (the charitable donee
               for each contribution), as qualifying under Sections 501(c)(3) and 509(a)(2). The
               Oconee River Land Trusts possesses the experience, expertise, and ability to
               ensure the perpetual protection of the vulnerable properties.

       (iii)   "Exclusively for Conservation Purposes." As the statute and Eleventh Circuit
               precedent in Champions Retreat establish, the Conservation Deed must only
               protect (in perpetuity) one or more of four listed conservation purposes. Of
               relevance here, all four Log Creek Conservation Deeds protect "relatively natural
               habitat for plants, wildlife, and similar ecosystems," scenic open space, and open
               space that furthers any one of many "Federal, State, or local conservation
               policies." Satisfaction of any one purpose or policy satisfies the statute.

       Five documents attached to this return for the 2018 Conservation Contribution satisfy all

elements of Code Section 170(h) and its regulations. They include the Conservation Deed (Ex.

A), the initial Environmental Study (Ex. B), the Appraisal and underlying geological data (Ex.

C), the "Letter of Acknowledgement" from the Oconee River Land Trust (Ex. D), and the Form

8283 Appraisal Summary included as part of the IRS return form.




                                                5
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Those documents, previously given to the IRS at least twice, prove the enormous 2018 mining

development value that Log Creek, the Townleys, and their children's children's children

sacrificed forevermore. The fair market value of what they contributed to the Oconee River

Land Trust on the date of that contribution was at least $46,399,000. With Congressional

encouragement, Log Creek should recognize a charitable deduction in that amount (or such

greater amount as the IRS, the Court, or the jury determines to be accurate). The law requires

recognition of that contribution and, under the law, Tony and Elizabeth overpaid their 2018

federal income taxes by $6,757,047 (or such greater amount that results from any greater value

determined by the IRS, District Court, or Jury). The Townleys hereby claim a refund of those

overpaid 2018 federal income taxes (plus interest as provided by law).            Subject to the

determination of a greater value, Tony and Elizabeth believe that their correct 2018 federal

income tax is $6,266,507 they also previously paid to the IRS.

       Congress encourages conservation but the IRS hates it. The IRS audited the conservation

easement reported. The Townleys and their family partnership simply asked the IRS to follow

the law and the facts that govern that contribution. The IRS came up with every excuse it could

to justify ignoring the contribution altogether, just as it has ZEROED out every other partnership

conservation contribution from coast to coast.   The Townleys and their advisors have made sure

that those excuses do not apply to the second set of reports. Those excuses remain inaccurate

and, in many instances, inconsistent. For example, the IRS second guesses the documentation of

the water resources despite the fact that the statute does not authorize that requirement, the

wildlife biologist prepared an environmental baseline report that the statute never required, that

complied with the permissive examples in the IRS's own regulation, and that the donor and

donee both certified as accurate. That information, and more, was provided to the Oconee River

Land Trust – whose representatives performed on-site inspections prior to the donation.


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        Moreover, the IRS documentation attack relies on an invalid regulation, Treas. Reg.

§ 1.170A-14(g)(5).     The regulation expressly (i) contradicts two parts of the Congressional

encouragement statute; (ii) violated the Administrative Procedures Act under the Eleventh

Circuit precedent in Hewitt, 21 F.4th at 1350-4 (on the theory the IRS is above that law); and

(iii) makes up hidden rules after the game is over, as an excuse for ignoring all of the

conservation contributions Congress encouraged.

        Worse yet, the IRS ignores the contribution altogether based on the continuing efforts to

improve the original appraisal (by implementing suggested changes from two appraisal reviews)

and to correct a slight intrusion into the highly protected 200 foot creek and pond buffer Special

Natural Areas.     Both instances prove the genuine commitment to conservation.         But most

remarkable, the IRS casts the original Georgia real estate appraiser (a Member of the Appraisal

Institute, the most respected appraisal institute in the nation) as not a "qualified appraiser"

because he relied on full-time qualified geologists -- while the IRS relies solely upon a Chicago

and Washington, D.C. appraiser who never set foot on this east Georgia property.

        The IRS questions the integrity of everyone who helped make the contribution possible,

but we must consider the credibility of how far the IRS goes to ignore the perpetual contribution

altogether at page 11 of the Revenue Agent's Report. There, the IRS represents, with no prior

question, for the first time:

         The baseline documentation report must be accompanied by a statement signed
         by the donor and a representative of the donee clearly referencing the
         documentation and in substance saying the baseline document is an accurate
         representation of the protected property at the time of donation. [IRS Reg.]
         § 1.170A-14(g)(5)(k)(D). Such a statement was not included in baseline
         documentation provided by Taxpayer. There was no acknowledgement from
         the donee in the baseline report. (Emphasis added).
That is simply not true. Here is the certification page in the baseline documentation report

received and certified by the Oconee River Land Trust on December 21, 2018:



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          The Townleys and Log Creek ask that the IRS reconsider its position because

conservation contributions must be encouraged by full recognition in order to encourage other

owners of forests and farms to restrict their land forever and protect greenspace for generations

to come. If the IRS fails to follow the law and the facts again, the Townleys must ask a Federal

District Court and a jury of unbiased honest Georgians to do the right thing: follow the law and

the facts to the accurate value – not a penny more and not a penny less.

          Should you have any questions relating to the contribution please call David D. Aughtry

who represents the Townleys and their family partnership at (404/658-5486). Thank you.




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       1             Case 3:22-cv-00107-CDL                                   AMENDED
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                                                                                                                                                                                       651118

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2018
                                                                    For calendar year 2018, or tax year
                                                                                                                           Final K-1        X Amended K-1       OMB No. 1545-0123
                                                                                                                         Part III Partner's Share of Current Year Income,
Internal Revenue Service                                                                                                             Deductions, Credits, and Other Items
                          beginning                                 ending                                       1 Ordinary business income (loss)           15 Credits
Partner's Share of Income, Deductions,                                                                                                     -18,891.
Credits, etc.                          | See separate instructions.                                              2 Net rental real estate income (loss)
                                                                                                                                                             16 Foreign transactions
                                                                                                                 3 Other net rental income (loss)
   Part I           Information About the Partnership
  A Partnership's employer identification number                                                                 4 Guaranteed payments


  B Partnership's name, address, city, state, and ZIP code                                                       5 Interest income
                                                                                                                                                   841.
  LOG CREEK, LLLP                                                                                             6a Ordinary dividends
  1280 SNOWS MILL RD.                                                                                                                                        17 Alternative min tax (AMT) items
  BOGART, GA 30622                                                                                            6b Qualified dividends
  C IRS Center where partnership filed return
  E-FILE                                                                                                      6c Dividend equivalents
                                                                                                                                                             18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                7 Royalties                                     nondeductible expenses
                                                                                                                                                            C*                            2.
                                                                                                                 8 Net short-term capital gain (loss)
   Part II          Information About the Partner
  E Partner's identifying number                                                                              9a Net long-term capital gain (loss)           19 Distributions

  F Partner's name, address, city, state, and ZIP code                                                        9b Collectibles (28%) gain (loss)
                                                                                                                                                             20 Other information
  TONY D TOWNLEY                                                                                              9c Unrecaptured sec 1250 gain                 A                             841.
  1280 SNOWS MILL RD
  BOGART, GA 30622                                                                                            10 Net section 1231 gain (loss)
  G X General partner or LLC                                        Limited partner or other LLC                                               5,993.
             member-manager                                         member                                    11 Other income (loss)
  H    X Domestic partner                                           Foreign partner
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~
  J Partner's share of profit, loss, and capital:                                                             12 Section 179 deduction
                     Beginning                                           Ending
    Profit              1.0000000 %                                          1.0000000 % 13 Other deductions
      Loss                 1.0000000 %                                       1.0000000 % A                     3.
      Capital              1.0000000 %                                       1.0000000 % C               463,990.
  K Partner's share of liabilities:
                                          Beginning                               Ending                      14 Self-employment earnings (loss)
      Nonrecourse  $                                        $
      Qualified nonrecourse
      financing  $                                         $                                                         *See attached statement for additional information.
      Recourse  $                 18,041,748. $                          18,106,589.
  L Partner's capital account analysis:
    Beginning capital account ~~~~~~~~~~ $                                          413,888.
      Capital contributed during the year     ~~~~~~ $                              142,000.
                                                                                                              For IRS Use Only




      Current year increase (decrease) ~~~~~~~~ $                                   -15,068.
      Withdrawals & distributions ~~~~~~~~~~ $ (                                                          )
      Ending capital account ~~~~~~~~~~~~ $                                         540,820.
       X Tax basis                          GAAP                             Section 704(b) book
             Other (explain)
  M Did the partner contribute property with a built-in gain or loss?
             Yes                        X No
             If "Yes," attach statement (see instructions)
811261 12-11-18 LHA      For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                     www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2018
                                                                                                                                                                                            1
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                                                                                                                                                                                       651118

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2018
                                                                    For calendar year 2018, or tax year
                                                                                                                           Final K-1        X Amended K-1       OMB No. 1545-0123
                                                                                                                         Part III Partner's Share of Current Year Income,
Internal Revenue Service                                                                                                             Deductions, Credits, and Other Items
                          beginning                                 ending                                       1 Ordinary business income (loss)           15 Credits
Partner's Share of Income, Deductions,                                                                                                     -18,890.
Credits, etc.                          | See separate instructions.                                              2 Net rental real estate income (loss)
                                                                                                                                                             16 Foreign transactions
                                                                                                                 3 Other net rental income (loss)
   Part I           Information About the Partnership
  A Partnership's employer identification number                                                                 4 Guaranteed payments


  B Partnership's name, address, city, state, and ZIP code                                                       5 Interest income
                                                                                                                                                   840.
  LOG CREEK, LLLP                                                                                             6a Ordinary dividends
  1280 SNOWS MILL RD.                                                                                                                                        17 Alternative min tax (AMT) items
  BOGART, GA 30622                                                                                            6b Qualified dividends                        A                             -1.
  C IRS Center where partnership filed return
  E-FILE                                                                                                      6c Dividend equivalents
                                                                                                                                                             18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                7 Royalties                                     nondeductible expenses
                                                                                                                                                            C*                            2.
                                                                                                                 8 Net short-term capital gain (loss)
   Part II          Information About the Partner
  E Partner's identifying number                                                                              9a Net long-term capital gain (loss)           19 Distributions

  F Partner's name, address, city, state, and ZIP code                                                        9b Collectibles (28%) gain (loss)
                                                                                                                                                             20 Other information
  ELIZABETH A TOWNLEY                                                                                         9c Unrecaptured sec 1250 gain                 A                             840.
  1280 SNOWS MILL RD
  BOGART, GA 30622                                                                                            10 Net section 1231 gain (loss)
  G X General partner or LLC                                        Limited partner or other LLC                                               5,992.
             member-manager                                         member                                    11 Other income (loss)
  H    X Domestic partner                                           Foreign partner
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~
  J Partner's share of profit, loss, and capital:                                                             12 Section 179 deduction
                     Beginning                                           Ending
    Profit              1.0000000 %                                          1.0000000 % 13 Other deductions
      Loss                 1.0000000 %                                       1.0000000 % A                     3.
      Capital              1.0000000 %                                       1.0000000 % C               463,990.
  K Partner's share of liabilities:
                                          Beginning                               Ending                      14 Self-employment earnings (loss)
      Nonrecourse  $                                        $
      Qualified nonrecourse
      financing  $                                         $                                                         *See attached statement for additional information.
      Recourse  $                         41,748. $                             110,821.
  L Partner's capital account analysis:
    Beginning capital account ~~~~~~~~~~ $                                          413,883.
      Capital contributed during the year     ~~~~~~ $                              142,000.
                                                                                                              For IRS Use Only




      Current year increase (decrease) ~~~~~~~~ $                                   -15,068.
      Withdrawals & distributions ~~~~~~~~~~ $ (                                                          )
      Ending capital account ~~~~~~~~~~~~ $                                         540,815.
       X Tax basis                          GAAP                             Section 704(b) book
             Other (explain)
  M Did the partner contribute property with a built-in gain or loss?
             Yes                        X No
             If "Yes," attach statement (see instructions)
811261 12-11-18 LHA      For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                     www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2018
                                                                                                                                                                                            2
       3             Case 3:22-cv-00107-CDL                                   AMENDED
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                                                                                                                                                                                       651118

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2018
                                                                    For calendar year 2018, or tax year
                                                                                                                           Final K-1        X Amended K-1       OMB No. 1545-0123
                                                                                                                         Part III Partner's Share of Current Year Income,
Internal Revenue Service                                                                                                             Deductions, Credits, and Other Items
                          beginning                                 ending                                       1 Ordinary business income (loss)           15 Credits
Partner's Share of Income, Deductions,                                                                                                   -925,644.
Credits, etc.                          | See separate instructions.                                              2 Net rental real estate income (loss)
                                                                                                                                                             16 Foreign transactions
                                                                                                                 3 Other net rental income (loss)
   Part I           Information About the Partnership
  A Partnership's employer identification number                                                                 4 Guaranteed payments


  B Partnership's name, address, city, state, and ZIP code                                                       5 Interest income
                                                                                                                                             41,191.
  LOG CREEK, LLLP                                                                                             6a Ordinary dividends
  1280 SNOWS MILL RD.                                                                                                                                        17 Alternative min tax (AMT) items
  BOGART, GA 30622                                                                                            6b Qualified dividends                        A                          -16.
  C IRS Center where partnership filed return
  E-FILE                                                                                                      6c Dividend equivalents
                                                                                                                                                             18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                7 Royalties                                     nondeductible expenses
                                                                                                                                                            C*                            94.
                                                                                                                 8 Net short-term capital gain (loss)
   Part II          Information About the Partner
  E Partner's identifying number                                                                              9a Net long-term capital gain (loss)           19 Distributions

  F Partner's name, address, city, state, and ZIP code                                                        9b Collectibles (28%) gain (loss)
                                                                                                                                                             20 Other information
  TONY D TOWNLEY                                                                                              9c Unrecaptured sec 1250 gain                 A                       41,191.
  1280 SNOWS MILL RD
  BOGART, GA 30622                                                                                            10 Net section 1231 gain (loss)
  G          General partner or LLC                           X Limited partner or other LLC                                               293,645.
             member-manager                                         member                                    11 Other income (loss)
  H    X Domestic partner                                           Foreign partner
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~
  J Partner's share of profit, loss, and capital:                                                             12 Section 179 deduction
                     Beginning                                           Ending
    Profit           49.0000000 %                                        49.0000000 % 13 Other deductions
      Loss              49.0000000 %                                     49.0000000 % A                   147.
      Capital           49.0000000 %                                     49.0000000 % C        22,735,510.
  K Partner's share of liabilities:
                                          Beginning                               Ending                      14 Self-employment earnings (loss)
      Nonrecourse  $                                         $
      Qualified nonrecourse
      financing  $                                          $                                                        *See attached statement for additional information.
      Recourse  $                                        0. $                                   0.
  L Partner's capital account analysis:
    Beginning capital account ~~~~~~~~~~ $                                   20,280,407.
      Capital contributed during the year     ~~~~~~ $                        6,958,000.
                                                                                                              For IRS Use Only




      Current year increase (decrease) ~~~~~~~~ $                              -738,331.
      Withdrawals & distributions ~~~~~~~~~~ $ (                                                          )
      Ending capital account ~~~~~~~~~~~~ $                                  26,500,076.
       X Tax basis                          GAAP                             Section 704(b) book
             Other (explain)
  M Did the partner contribute property with a built-in gain or loss?
             Yes                        X No
             If "Yes," attach statement (see instructions)
811261 12-11-18 LHA      For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                     www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2018
                                                                                                                                                                                            3
       4             Case 3:22-cv-00107-CDL                                   AMENDED
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                                                                                                                                                                                       651118

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                2018
                                                                    For calendar year 2018, or tax year
                                                                                                                           Final K-1        X Amended K-1       OMB No. 1545-0123
                                                                                                                         Part III Partner's Share of Current Year Income,
Internal Revenue Service                                                                                                             Deductions, Credits, and Other Items
                          beginning                                 ending                                       1 Ordinary business income (loss)           15 Credits
Partner's Share of Income, Deductions,                                                                                                   -925,644.
Credits, etc.                          | See separate instructions.                                              2 Net rental real estate income (loss)
                                                                                                                                                             16 Foreign transactions
                                                                                                                 3 Other net rental income (loss)
   Part I           Information About the Partnership
  A Partnership's employer identification number                                                                 4 Guaranteed payments


  B Partnership's name, address, city, state, and ZIP code                                                       5 Interest income
                                                                                                                                             41,190.
  LOG CREEK, LLLP                                                                                             6a Ordinary dividends
  1280 SNOWS MILL RD.                                                                                                                                        17 Alternative min tax (AMT) items
  BOGART, GA 30622                                                                                            6b Qualified dividends                        A                          -17.
  C IRS Center where partnership filed return
  E-FILE                                                                                                      6c Dividend equivalents
                                                                                                                                                             18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                7 Royalties                                     nondeductible expenses
                                                                                                                                                            C*                            95.
                                                                                                                 8 Net short-term capital gain (loss)
   Part II          Information About the Partner
  E Partner's identifying number                                                                              9a Net long-term capital gain (loss)           19 Distributions

  F Partner's name, address, city, state, and ZIP code                                                        9b Collectibles (28%) gain (loss)
                                                                                                                                                             20 Other information
  ELIZABETH A TOWNLEY                                                                                         9c Unrecaptured sec 1250 gain                 A                       41,190.
  1280 SNOWS MILL RD
  BOGART, GA 30622                                                                                            10 Net section 1231 gain (loss)
  G          General partner or LLC                           X Limited partner or other LLC                                               293,644.
             member-manager                                         member                                    11 Other income (loss)
  H    X Domestic partner                                           Foreign partner
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~
  J Partner's share of profit, loss, and capital:                                                             12 Section 179 deduction
                     Beginning                                           Ending
    Profit           49.0000000 %                                        49.0000000 % 13 Other deductions
      Loss              49.0000000 %                                     49.0000000 % A                   147.
      Capital           49.0000000 %                                     49.0000000 % C        22,735,510.
  K Partner's share of liabilities:
                                          Beginning                               Ending                      14 Self-employment earnings (loss)
      Nonrecourse  $                                         $
      Qualified nonrecourse
      financing  $                                          $                                                        *See attached statement for additional information.
      Recourse  $                                        0. $                                   0.
  L Partner's capital account analysis:
    Beginning capital account ~~~~~~~~~~ $                                   20,280,406.
      Capital contributed during the year     ~~~~~~ $                        6,958,000.
                                                                                                              For IRS Use Only




      Current year increase (decrease) ~~~~~~~~ $                              -738,332.
      Withdrawals & distributions ~~~~~~~~~~ $ (                                                          )
      Ending capital account ~~~~~~~~~~~~ $                                  26,500,074.
       X Tax basis                          GAAP                             Section 704(b) book
             Other (explain)
  M Did the partner contribute property with a built-in gain or loss?
             Yes                        X No
             If "Yes," attach statement (see instructions)
811261 12-11-18 LHA      For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                     www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2018
                                                                                                                                                                                            4
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                        Department of the Treasury - Internal Revenue Service
Form
       1040 U.S. Individual Income Tax Return                                           (99)

                                                                                                   2018
                                                                                                                       EXTENSION GRANTED TO 10/15/19
                                                                                                                             OMB No. 1545-0074
                                                                                                                                                     IRS Use Only - Do not write or staple in this space.

              Single X Married filing jointly
Filing
status:                                                 Married filing separately           Head of household         Qualifying widow(er)
 Your first name and initial                                                    Last name                                                                            Your social security number
TONY D.                                                                     TOWNLEY
 Your standard deduction:               Someone can claim you as a dependent                    You were born before January 2, 1954                     You are blind
 If joint return, spouse's first name and initial                               Last name                                                                         Spouse's social security number
ELIZABETH A.                                                                TOWNLEY
 Spouse standard deduction:           Someone can claim your spouse as a dependent                      Spouse was born before January 2, 1954                         X Full-year health care coverage
                                                                                                                                                                            or exempt (see inst.)
   Spouse is blind           Spouse itemizes on a separate return or you were dual-status alien
 Home address (number and street). If you have a P.O. box, see instructions.                                                                        Apt. no.         Presidential Election Campaign.
1280 SNOWS MILL ROAD                                                                                                                                                 (see inst.)
                                                                                                                                                                                     You     Spouse
 City, town or post office, state, and ZIP code. If you have a foreign address, attach Schedule 6.                                                                   If more than four dependents,
BOGART, GA                      30622                                                                                                                                see inst. and u here |
 Dependents (see instructions):                                                   (2) Social security number       (3) Relationship to you                     (4) u if qualifies for (see inst.):
                                                                                                                                                       Child tax credit            Credit for other dependents
 (1) First name                                       Last name
C                          G               TOWNLEY                                                              DAUGHTER                                     X




Sign                Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true,
                    correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here                                                                                                                                                                      If the IRS sent you an Identity



                    =
                         Your signature                                                       Date              Your occupation
                                                                                                                                                                          Protection PIN,
Joint return?
See instructions.
                                                                                                               EXECUTIVE                                                  enter it here
Keep a copy for          Spouse's signature. If a joint return, both must sign.               Date              Spouse's occupation                                       If the IRS sent you an Identity
your records.                                                                                                                                                             Protection PIN,
                                                                                                                                                                          enter it here

Paid     Preparer's name                                             Preparer's signature                             PTIN                          Firm's EIN
                                                                                                                                                                                       Check if:
Preparer
Use Only BRIDGET J. DUNK                                            BRIDGET J. DUNK                                                                                                    X    3rd Party Designee

                                                                                                                                      Phone no.                                             Self-employed

Firm's name         |BENNETT THRASHER LLP                                                                                            770-396-2200
                     3300 RIVERWOOD PARKWAY, #700
Firm's address      |ATLANTA, GA 30339
LHA For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                                                             Form 1040 (2018)




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Form 1040 (2018)       TONY D. & ELIZABETH A. TOWNLEY                                                                                                         Page 2

                        1        Wages, salaries, tips, etc. Attach Form(s) W-2                                    1
                        2a       Tax-exempt interest ~~~~              2a                   88,541. b Taxable interest ~~~~~               2b    2,501,137.
Attach Form(s)
W-2. Also attach        3a       Qualified dividends ~~~~              3a                   64,908. b Ordinary dividends ~~~~              3b      126,700.
Form(s) W-2G and
1099-R if tax was       4a       IRAs, pensions, and annuities         4a                                       b Taxable amount ~~~~~     4b
withheld.
                        5a       Social security benefits ~~          5a                                        b Taxable amount ~~~~~     5b
                        6        Total income. Add lines 1 through 5. Add any amount from Schedule 1, line 22          41,725,003.          6    44,352,840.
                        7        Adjusted gross income. If you have no adjustments to income, enter the amount from line 6; otherwise,
Standard
Deduction for -                  subtract Schedule 1, line 36, from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     7    44,318,207.
¥ Single or married     8        Standard deduction or itemized deductions (from Schedule A) ~~~~~~~~~~~~~~~~~                              8    22,169,104.
  filing separately,
  $12,000               9        Qualified business income deduction (see instructions) ~~~~~~~~~~~~~~~~~~~~~                               9     4,133,169.
¥ Married filing        10       Taxable income. Subtract lines 8 and 9 from line 7. If zero or less, enter -0-               10    18,015,934.
   jointly or
   Qualifying           11
                                         (see
                                 a Tax inst)       6,353,121. any from: 1 8814 2 4972 3
                                                                             (check if            Form(s)
                                                                                                           )
                                                                                                                Form


                                 b Add any amount from Schedule 2 and check here ~~~~~~~~~~~~~~~~~~~~~ | X                                        6,353,121.
   widow(er),
   $24,000                                                                                                                                 11
¥ Head of               12       a Child tax credit/credit for other dependents                                                      |X
                                                                                             b Add any amount from Sch. 3 and check here   12       298,036.
  household,
  $18,000               13       Subtract line 12 from line 11. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~                          13     6,055,085.
¥ If you checked        14       Other taxes. Attach Schedule 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           14       211,422.
   any box under
   Standard             15       Total tax. Add lines 13 and 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           15     6,266,507.
   deduction,
   see instructions.    16       Federal income tax withheld from Forms W-2 and 1099 ~~~~~~~~~~~~~~~~~~~~~                                 16
                        17                         a EIC (see inst.)
                                 Refundable credits:                                     b Sch 8812               c Form 8863
                                 Add any amount from Schedule 5             12,271,465.                     ~~~~~~~~~~~~~~~~               17    12,271,465.
                        18       Add lines 16 and 17. These are your total payments                                 18    12,271,465.
                        19If line 18 is more than line 15, subtract line 15 from line 18. This is the amount you overpaid             19     6,004,958.
Refund               20 a Amount of line 19 you want refunded to you. If Form 8888 is attached, check here  |                         20a
Direct deposit?     | b Routing number                                                       | c Type:         Checking      Savings
See instructions.
                    |        d   Account number
                        21       Amount of line 19 you want applied to your 2019 estimated tax              |
                                                                                                           21           6,004,958.
Amount You              22       Amount you owe. Subtract line 18 from line 15. For details on how to pay, see instructions ~~~~ |         22
Owe            23    Estimated tax penalty (see instructions)                                    |    23
Go to www.irs.gov/Form1040 for instructions and the latest information.                                                                              Form 1040 (2018)




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SCHEDULE 1                                                                                                                            OMB No. 1545-0074
                                    Additional Income and Adjustments to Income
(Form 1040)
(Rev. January 2020)
Department of the Treasury
                                                              | Attach to Form 1040.                                                      201801
                                                                                                                                          Attachment
Internal Revenue Service               | Go to www.irs.gov/Form1040 for instructions and the latest information.                          Sequence No.

Name(s) shown on Form 1040                                                                                                     Your social security number
TONY D. & ELIZABETH A. TOWNLEY
Additional 1-9b                                                      STATEMENT 6
                              Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               1-9b
            10                Taxable refunds, credits, or offsets of state and local income taxes    STATEMENT 7
                                                                                                      ~~~~~~~~~~~~             10       1,390,170.
Income
                        11    Alimony received ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           11
                        12    Business income or (loss). Attach Schedule C or C-EZ                          12        -244,627.
                        13    Capital gain or (loss). Attach Schedule D if required. If not required, check here     |         13       1,418,351.
                        14    Other gains or (losses). Attach Form 4797 ~~~~~~~~~~~~~~~~~~~~~~~~~                              14           2,518.
                        15a   Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               15b
                        16a   Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               16b
                        17    Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E ~~   17     38,228,197.
                        18    Farm income or (loss). Attach Schedule F ~~~~~~~~~~~~~~~~~~~~~~~~~                               18        -58,871.
                        19    Unemployment compensation        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  19
                        20a   Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20b
                        21    Other income. List type and amount         |     STATEMENT 5                                     21           989,265.
                        22    Combine the amounts in the far right column. If you don't have any adjustments to
                              income, enter here and include on Form 1040, line 6. Otherwise, go to line 23             22     41,725,003.
Adjustments             23    Educator expenses ~~~~~~~~~~~~~~~~~~~~~                                23
to Income               24    Certain business expenses of reservists, performing artists,
                              and fee-basis government officials. Attach Form 2106 ~~~~              24
                        25    Health savings account deduction. Attach Form 8889 ~~~~                25
                        26    Moving expenses for members of the Armed Forces.
                              Attach Form 3903 ~~~~~~~~~~~~~~~~~~~~~                                 26
                        27    Deductible part of self-employment tax. Attach Schedule SE ~           27            34,311.
                        28    Self-employed SEP, SIMPLE, and qualified plans ~~~~~~                  28
                        29    Self-employed health insurance deduction       ~~~~~~~~~               29              322.


                                                                                 " "
                        30    Penalty on early withdrawal of savings                      30
                        31a   Alimony paid   b Recipient's SSN |                                  31a
                        32    IRA deduction ~~~~~~~~~~~~~~~~~~~~~~~                                  32
                        33    Student loan interest deduction ~~~~~~~~~~~~~~~                        33
                        34    Tuition and fees. Attach Form 8917 ~~~~~~~~~~~~~                       34
                        35    Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~            35
                        36    Add lines 23 through 35                                         36              34,633.
LHA       For Paperwork Reduction Act Notice, see your tax return instructions.                                                  Schedule 1 (Form 1040) 2018




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SCHEDULE 2                                                                                                                 OMB No. 1545-0074
                                                                          Tax
(Form 1040)
Department of the Treasury
                                                             | Attach to Form 1040.                                           201802
                                                                                                                            Attachment
Internal Revenue Service              | Go to www.irs.gov/Form1040 for instructions and the latest information.             Sequence No.

Name(s) shown on Form 1040                                                                                         Your social security number
TONY D. & ELIZABETH A. TOWNLEY
Tax                 38-44    Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    38-44
                        45   Alternative minimum tax. Attach Form 6251 ~~~~~~~~~~~~~~~~~~~~~~~~                     45                       0.
                        46   Excess advance premium tax credit repayment. Attach Form 8962      ~~~~~~~~~~~~        46
                        47   Add the amounts in the far right column. Enter here and include on Form 1040,
                             line 11                                      47                       0.
LHA       For Paperwork Reduction Act Notice, see your tax return instructions.                                      Schedule 2 (Form 1040) 2018




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SCHEDULE 3                                                                                                                        OMB No. 1545-0074
                                                        Nonrefundable Credits
(Form 1040)
Department of the Treasury
                                                             | Attach to Form 1040.                                                  201803
                                                                                                                                     Attachment
Internal Revenue Service              | Go to www.irs.gov/Form1040 for instructions and the latest information.                      Sequence No.

Name(s) shown on Form 1040                                                                                               Your social security number
TONY D. & ELIZABETH A. TOWNLEY
Nonrefundable 48             Foreign tax credit. Attach Form 1116 if required ~~~~~~~~~~~~~~~~~~~~~                     48                          58.
Credits                 49   Credit for child and dependent care expenses. Attach Form 2441 ~~~~~~~~~~~~                49
                        50   Education credits from Form 8863, line 19 ~~~~~~~~~~~~~~~~~~~~~~~~                         50
                        51   Retirement savings contributions credit. Attach Form 8880   ~~~~~~~~~~~~~~~                51
                        52   Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          52
                        53   Residential energy credit. Attach Form 5695                         53
                        54   Other credits from Form      a X 3800     b     8801     c                                 54             297,978.
                        55   Add the amounts in the far right column. Enter here and include on Form 1040, line 12    55             298,036.
LHA       For Paperwork Reduction Act Notice, see your tax return instructions.                                              Schedule 3 (Form 1040) 2018




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SCHEDULE 4                                                                                                                             OMB No. 1545-0074
                                                                       Other Taxes
(Form 1040)
Department of the Treasury
                                                                 | Attach to Form 1040.                                                   201804
                                                                                                                                        Attachment
Internal Revenue Service                  | Go to www.irs.gov/Form1040 for instructions and the latest information.                     Sequence No.

Name(s) shown on Form 1040                                                                                                   Your social security number
TONY D. & ELIZABETH A. TOWNLEY
Other                   57       Self-employment tax. Attach Schedule SE ~~~~~~~~~~~~~~~~~~~~~~~                            57                 68,622.
Taxes                   58       Unreported social security and Medicare tax from:          Form a        4137   b   8919   58
                        59       Additional tax on IRAs, other qualified retirement plans, and other tax-favored
                                 accounts. Attach Form 5329 if required ~~~~~~~~~~~~~~~~~~~~~~~~                            59
                        60 a     Household employment taxes. Attach Schedule H ~~~~~~~~~~~~~~~~~~~                          60a
                             b   Repayment of first-time homebuyer credit from Form 5405. Attach Form 5405 if
                                 required ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           60b
                        61       Health care: individual responsibility (see instructions) ~~~~~~~~~~~~~~~~~                61
                        62       Taxes from:    a X Form 8959       b X Form 8960
                                 c    Instructions; enter code(s)      SEE STATEMENT            9                           62               142,800.
                        63       Section 965 net tax liability installment from Form
                                 965-A  ~~~~~~~~~~~~~~~~~~~~~~~~~                              63
                        64       Add the amounts in the far right column. These are your total other taxes. Enter
                                 here and on Form 1040, line 14                                64               211,422.
LHA       For Paperwork Reduction Act Notice, see your tax return instructions.                                                   Schedule 4 (Form 1040) 2018




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SCHEDULE 5                                                                                                                       OMB No. 1545-0074
                                           Other Payments and Refundable Credits
(Form 1040)
Department of the Treasury
                                                               | Attach to Form 1040.                                               201805
                                                                                                                                    Attachment
Internal Revenue Service                | Go to www.irs.gov/Form1040 for instructions and the latest information.                   Sequence No.

Name(s) shown on Form 1040                                                                                             Your social security number
TONY D. & ELIZABETH A. TOWNLEY
Other                   65       Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     65
Payments                66                                                                        STMT 10
                                 2018 estimated tax payments and amount applied from 2017 return ~~~~~~~~~           66         12,271,465.
                        67 a     Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    67a
and
                             b   Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    67b
Refundable              68-69    Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    68-69
Credits                 70       Net premium tax credit. Attach Form 8962     ~~~~~~~~~~~~~~~~~~~~~                  70
                        71       Amount paid with request for extension to file (see instructions) ~~~~~~~~~~~       71
                        72       Excess social security and tier 1 RRTA tax withheld ~~~~~~~~~~~~~~~~~               72
                        73       Credit for federal tax on fuels. Attach Form 4136                 73
                        74       Credits from Form:  a      2439 b        Reserved      c      8885    d             74
                        75       Add the amounts in the far right column. These are your total other payments
                                 and refundable credits. Enter here and include on Form 1040, line 17        75         12,271,465.
LHA       For Paperwork Reduction Act Notice, see your tax return instructions.                                             Schedule 5 (Form 1040) 2018




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SCHEDULE A                                                           Itemized Deductions                                                                        OMB No. 1545-0074



                                                                                                                                                                 2018
(Form 1040)
                                              | Go to www.irs.gov/ScheduleA for instructions and the latest information.
(Rev. January 2020)
                                                                     | Attach to Form 1040.                                                                     Attachment
Department of the Treasury
Internal Revenue Service       (99)    Caution: If you are claiming a net qualified disaster loss on Form 4684, see the instructions for line 16.               Sequence No.   07
Name(s) shown on Form 1040                                                                                                                           Your social security number


TONY D. & ELIZABETH A. TOWNLEY
Medical                        Caution: Do not include expenses reimbursed or paid by others.
and                    1       Medical and dental expenses (see instructions) ~~~~~~~~~~~~~~~~~                                    1
Dental                 2       Enter amount from Form 1040, line 7 ~~~~~~~~~~  2
Expenses               3       Multiply line 2 by 7.5% (0.075) ~~~~~~~~~~~~~~~~~~~~~~~~~~                        3
                       4       Subtract line 3 from line 1. If line 3 is more than line 1, enter -0-                                   4
Taxes You              5       State and local taxes.
Paid                         a State and local income taxes or general sales taxes. You may
                               include either income taxes or general sales taxes on line 5a,
                               but not both. If you elect to include general sales taxes instead
                                                                   SEE STATEMENT 11 |
                               of income taxes, check this box ~~~~~~~~~~~~~~~~~~~~                                                5a 1,819,741.
                             b State and local real estate taxes (see instructions) ~~~~~~~~~~~~~~~~                               5b        59,758.
                             c State and local personal property taxes ~~~~~~~~~~~~~~~~~~~~~                                       5c
                             d Add lines 5a through 5c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                5d 1,879,499.
                             e Enter the smaller of line 5d or $10,000 ($5,000 if married filing
                               separately) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5e        10,000.
                       6       Other taxes. List type and amount |
                                                11111111111111111111
                                                                                   6
                               1111111111111111111111111111111111111                                                                                                   10,000.
                       7       Add lines 5e and 6                                                                 7
Interest You            8      Home mortgage interest and points. If you didn't use all of your
Paid                           home mortgage loan(s) to buy, build, or improve your home,
Caution: Your                  see instructions and check this box ~~~~~~~~~~~~~~~~~~ |
mortgage interest
deduction may be
                             a Home mortgage interest and points reported to you on Form
limited (see                   1098. See instructions if limited ~~~~~~~~~~~~~~~~~~~~~~~~~                                         8a
instructions).
                             b Home mortgage interest not reported to you on Form 1098. If
                               paid to the person from whom you bought the home, see
                               instructions and show that person's name, identifying no., and
                               address |
                                    11111111111111111111111111111111
                               1111111111111111111111111111111111111
                                                                                                                                   8b
                               1111111111111111111111111111111111111
                             c Points not reported to you on Form 1098. See instructions for
                               special rules ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    8c
                             d Mortgage insurance premiums (see instructions) ~~~~~~~~~~~~~~~~                                     8d
                             e Add lines 8a through 8d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8e
                       9       Investment interest. Attach Form 4952 if required. See
                               instructions  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    9
                      10       Add lines 8e and 9                                                                 10
Gifts to              11       Gifts by cash or check. If you made any gift of $250 or more,
Charity                        see instructions   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 11        70,734.               STMT 12
If you made a         12       Other than by cash or check. If any gift of $250 or more, see
gift and got a                 instructions. You must attach Form 8283 if over $500 ~~~~~~~~~~~~~~                                  46,399,000.
                                                                                                                                   12
benefit for it,
see instructions.     13       Carryover from prior year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~     13
                      14       Add lines 11 through 13                                                                22,159,104.
                                                                                                                                                           14
Casualty and          15       Casualty and theft loss(es) from a federally declared disaster (other than net qualified
Theft Losses                   disaster losses). Attach Form 4684 and enter the amount from line 18 of that form. See
                               instructions 
                                                                                                                 15
Other                 16       Other - from list in instructions. List type and amount |
Itemized                                                 111111111111111111111
Deductions                     11111111111111111111111111111111111111111111111
                                                                                                                                                           16
Total                 17       Add the amounts in the far right column for lines 4 through 16. Also, enter this amount on
Itemized                       Form 1040, line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 22,169,104.
                                                                                                                                                           17
Deductions            18       If you elect to itemize deductions even though they are less than your standard
                               deduction, check here                                                        |
LHA    819501 01-28-20         For Paperwork Reduction Act Notice, see the Instructions for Form 1040.                                              Schedule A (Form 1040) 2018
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                                       Schedule A - Charitable Contributions Worksheet Page 1
NAME

TONY D. & ELIZABETH A. TOWNLEY
                                                                       50% of AGI     22,159,104.                                  AGI   44,318,207.
                      100%         60%           50%           30%                Appreciated          Appreciated           Total             Total
 Year                                                                                                                    Contributions     Contributions
                      Limit        Limit         Limit         Limit           Property 30% Limit   Property 20% Limit     Allowed          Carryover
2006 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2007 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2008 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2009 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2010 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
       CRP C/O ~


2011 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
       CRP C/O ~


2012 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
       CRP C/O 




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                                       Schedule A - Charitable Contributions Worksheet Page 2
NAME

TONY D. & ELIZABETH A. TOWNLEY
                                                                       50% of AGI     22,159,104.                                  AGI   44,318,207.
                      100%         60%           50%           30%                Appreciated          Appreciated           Total             Total
 Year                                                                                                                    Contributions     Contributions
                      Limit        Limit         Limit         Limit           Property 30% Limit   Property 20% Limit     Allowed          Carryover
2013 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 


2014 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 


2015 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 


2016 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 


2017 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 




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                                        Schedule A - Charitable Contributions Worksheet Page 3
NAME

TONY D. & ELIZABETH A. TOWNLEY
                                                                         50% of AGI     22,159,104.                                    AGI   44,318,207.
                       100%         60%           50%            30%                Appreciated          Appreciated             Total             Total
 Year                                                                                                                        Contributions     Contributions
                       Limit        Limit         Limit          Limit           Property 30% Limit   Property 20% Limit       Allowed          Carryover
2018 Contributions                  70,734. 46,399,000.
 Less: Allowed ~                    70,734. 22,088,370.                   0.                     0.                   0. 22,159,104.
 Less: NOL Absorb.
       NOL Abs. CRP
 Less: and Disaster
       Carryover ~                                                                                                                           24,310,630.
       CRP C/O                              24,310,630.
        Disaster C/O
  Charitable contributions to Schedule A, Line 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                    22,159,104.
                                                                                                                                             24,310,630.




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Schedule A                   Charitable Contributions Limitation
NAME TONY  D. & ELIZABETH A.  TOWNLEY

60% Contributions
 1. 60% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          26,590,924.
 2. Contributions qualifying for 60% limit ~~~~~~~~~~~~~~~~~~~~~~~~~                              70,734.
 3. Allowable 60% contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         70,734.

50% Contributions
 4. 50% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          22,159,104.
 5. Contributions qualifying for 50% limit ~~~~~~~~~~~~~~~~~~~~~~~~~
 6. Allowable 50% contributions (lesser of Line 4 - Line 3 or Line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~                        0.

30% Contributions
 7. Remaining 50% limit (Line 4 less Lines 3 and 6) ~~~~~~              22,088,370.
 8. Less capital gain property - special 30% limits ~~~~~~
 9. Balance of 50% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    22,088,370.
10. 30% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          13,295,462.
11. Contributions qualifying for 30% limit ~~~~~~~~~~~~~~~~~~~~~~~~~
12. Allowable 30% contributions (lesser of Line 9, 10 or 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             0.

30% Special Contributions
13. 30% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          13,295,462.
14. Contributions qualifying for 30% special limit ~~~~~~~~~~~~~~~~~~~~~
15. Remaining 50% limit (Line 4 less the sum of Lines 3, 6 and 12) ~~~~~~~~~~~~               22,088,370.
16. Allowable 30% special contribution (lesser of Line 13, 14 or 15) ~~~~~~~~~~~~~~~~~~~~~~~~~~                         0.

20% Contributions
17. 20% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           8,863,641.
18. 30% of AGI ~~~~~~~~~~~~~~~~~~~~~~~                                  13,295,462.
19. Allowed 30% regular contributions ~~~~~~~~~~~~
20. Line 18 less Line 19 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    13,295,462.
21. Allowed 30% special contributions ~~~~~~~~~~~~
22. Line 18 less Line 21 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    13,295,462.
23. Remaining 50% limit (Line 4 less the sum of Lines 3, 6, 12, and 16) ~~~~~~~~~~            22,088,370.
24. Contributions subject to the 20% limitation ~~~~~~~~~~~~~~~~~~~~~~
25. Allowable 20% contributions (lesser of Line 17, 20, 22, 23 or 24) ~~~~~~~~~~~~~~~~~~~~~~~~~                         0.

50% and 100% Conservation Real Property Contributions
26. Remaining 50% limit (Line 4 less the sum of Lines 3, 6, 12, 16 and 25)   ~~~~~~~~         22,088,370.
27. Conservation real property contribution subject to 50% limit    ~~~~~~~~~~~~~             46,399,000.
28. Allowable 50% conservation real property contribution (lesser of Line 26 or 27) ~~~~~~~~~~~~~~~~~~       22,088,370.
29. Remaining 100% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     22,159,103.
30. Conservation real property contribution subject to 100% limit    ~~~~~~~~~~~~
31. Allowable 100% conservation real property contribution (lesser of Line 29 or 30)   ~~~~~~~~~~~~~~~~~                0.

Qualified Disaster Contributions
32. Remaining 100% of AGI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     22,159,103.
33. Qualified disaster contributions subject to 100% limit ~~~~~~~~~~~~~~~~~
34. Allowable qualified disaster contributions (lesser of Line 32 or 33) ~~~~~~~~~~~~~~~~~~~~~~~~~                      0.

35. Total 2018 contributions allowed on Schedule A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         22,159,104.
36. Total prior year carryovers allowed on Schedule A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


37. Total charitable contributions to Schedule A, Line 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                    22,159,104.




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SCHEDULE B                                                                                                                                       OMB No. 1545-0074
                                                     Interest and Ordinary Dividends
(Form 1040)
Department of the Treasury
                                          | Go to www.irs.gov/ScheduleB for instructions and the latest information.                                2018
                                                                                                                                                  Attachment
                                                                                                                                                       08
Internal Revenue Service   (99)                                         | Attach to Form 1040.                                                    Sequence No.
Name(s) shown on return                                                                                                                  Your social security number


TONY D. & ELIZABETH A. TOWNLEY
Part I    1 List name of payer. If any interest is from a seller-financed mortgage and the buyer used the                                               Amount
                              property as a personal residence, see the instructions and list this interest first. Also, show that
Interest
                              buyer's social security number and address |
                              SEE STATEMENT 13                                                                                                    2,518,687.




                                                                                                                                          1


Note: If you
received a Form
1099-INT,
Form 1099-OID,
or substitute
statement from
a brokerage firm,            SUBTOTAL FOR LINE 1                                                                                                  2,518,687.
list the firm's
name as the                  TAX-EXEMPT INTEREST                                                    SEE STATEMENT 14                                -15,363.
payer and enter              NOMINEE, OID, OR OTHER INTEREST                                        SEE STATEMENT 15                                 -2,187.
the total interest
shown on that            2    Add the amounts on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2       2,501,137.
form.
                         3    Excludable interest on series EE and I U.S. savings bonds issued after 1989.
                              Attach Form 8815 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      3
                         4    Subtract line 3 from line 2. Enter the result here and on Form 1040, line 2b                  |    4       2,501,137.
                        Note: If line 4 is over $1,500, you must complete Part III.                                                                      Amount
Part II                  5 List name of payer |
                             VANGUARD          #9138                                                                                                   122,349.
Ordinary                     FROM K-1          - PLUCKED CHICKEN, INC.                                                                                   3,528.
Dividends
                             FROM K-1          - CLUCKZ HOLDINGS, LLC                                                                                      124.
                             FROM K-1          - ZAXBY'S OPERATING COMPANY, LP (TDT)                                                                       660.
                             FROM K-1          - CLUCKZ HOLDINGS, LLC (SECG)                                                                                39.


                                                                                                                                          5
Note: If you
received a Form
1099-DIV or
substitute
statement from
a brokerage firm,
list the firm's
name as the
payer and enter
the ordinary
dividends shown
on that form.

                         6    Add the amounts on line 5. Enter the total here and on Form 1040, line 3b                     |    6            126,700.
                        Note: If line 6 is over $1,500, you must complete Part III.
Part III                You must complete this part if you (a) had over $1,500 of taxable interest or ordinary dividends; (b) had a
                                                                                                                                                              Yes      No
                        foreign account; or (c) received a distribution from, or were a grantor of, or a transferor to, a foreign trust.
Foreign                  7a At any time during 2018, did you have a financial interest in or signature authority over a financial account (such
Accounts                      as a bank account, securities account, or brokerage account) located in a foreign country? See instructions ~~~                          X
and                           If "Yes," are you required to file FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR),
Trusts                        to report that financial interest or signature authority? See FinCEN Form 114 and its instructions for filing
                              requirements and exceptions to those requirements ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                          b If you are required to file FinCEN Form 114, enter the name of the foreign country where the financial account
                             is located ~~~~~~~~~~~~~~ |
                         8    During 2018, did you receive a distribution from, or were you the grantor of, or transferor to, a foreign trust?
827501 10-24-18               If "Yes," you may have to file Form 3520. See instructions                                                    X
LHA      For Paperwork Reduction Act Notice, see your tax return instructions.                                                       Schedule B (Form 1040) 2018
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SCHEDULE D                                                           Capital Gains and Losses                                                  OMB No. 1545-0074
(Form 1040)
Department of the Treasury
                                                              | Attach to Form 1040 or Form 1040NR.
                                              | Go to www.irs.gov/ScheduleD for instructions and the latest information.                        2018
                                                                                                                                                 Attachment
Internal Revenue Service (99)
                                               | Use Form 8949 to list your transactions for lines 1b, 2, 3, 8b, 9, and 10.                      Sequence No.   12
Name(s) shown on return                                                                                                              Your social security number


TONY D. & ELIZABETH A. TOWNLEY
 Part I        Short-Term Capital Gains and Losses - Generally Assets Held One Year or Less (see instructions)
See instructions for how to figure the amounts to                                                                          (g)                   (h) Gain or (loss)
enter on the lines below.                                                         (d)                (e)              Adjustments              Subtract column (e)
                                                                               Proceeds             Cost          to gain or loss from         from column (d) and
This form may be easier to complete if you round off                         (sales price)    (or other basis)    Form(s) 8949, Part I,         combine the result
cents to whole dollars.                                                                                            line 2, column (g)             with column (g)
1a      Totals for all short-term transactions reported on Form 1099-B
        for which basis was reported to the IRS and for which you have
        no adjustments (see instructions). However, if you choose to
        report all these transactions on Form 8949, leave this line blank
        and go to line 1b   
1b      Totals for all transactions reported on Form(s)
        8949 with Box A checked                                     705,197.           749,295.                                            <44,098.>
 2      Totals for all transactions reported on Form(s)
        8949 with Box B checked 
 3      Totals for all transactions reported on Form(s)
        8949 with Box C checked                                   2,521,947.       3,484,833.                                            <962,886.>

 4      Short-term gain from Form 6252 and short-term gain or (loss) from Forms 4684, 6781, and 8824 ~~~~~~~~                         4
 5      Net short-term gain or (loss) from partnerships, S corporations, estates, and trusts
                                                 SEE STATEMENT 17
        from Schedule(s) K-1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            5                <2,101.>
 6      Short-term capital loss carryover. Enter the amount, if any, from line 8 of your Capital Loss
        Carryover Worksheet in the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   6    (                          )
 7      Net short-term capital gain or (loss). Combine lines 1a through 6 in column (h). If you have any long-term
        capital gains or losses, go to Part II below. Otherwise, go to Part III on page 2                            7        <1,009,085.
 Part II Long-Term Capital Gains and Losses - Generally Assets Held More Than One Year (see instructions)
See instructions for how to figure the amounts to                                                                           (g)                  (h) Gain or (loss)
enter on the lines below.                                                         (d)                (e)               Adjustments             Subtract column (e)
                                                                               Proceeds             Cost           to gain or loss from        from column (d) and
This form may be easier to complete if you round off                         (sales price)    (or other basis)    Form(s) 8949, Part II,        combine the result
cents to whole dollars.                                                                                             line 2, column (g)            with column (g)
8a      Totals for all long-term transactions reported on Form 1099-B
        for which basis was reported to the IRS and for which you have
        no adjustments (see instructions). However, if you choose to
        report all these transactions on Form 8949, leave this line blank
        and go to line 8b   
8b      Totals for all transactions reported on Form(s)
        8949 with Box D checked                                   6,754,956.       5,014,387.                                         1,740,569.
 9      Totals for all transactions reported on Form(s)
        8949 with Box E checked 
10      Totals for all transactions reported on Form(s)
        8949 with Box F checked 
11      Gain from Form 4797, Part I; long-term gain from Forms 2439 and 6252; and long-term gain or (loss)
                                                      SEE STATEMENT 16
        from Forms 4684, 6781, and 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      11              691,578.
                                                                                    SEE STATEMENT 18
12      Net long-term gain or (loss) from partnerships, S corporations, estates, and trusts from Schedule(s) K-1 ~~~~~               12                <4,711.>

13      Capital gain distributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       13
14      Long-term capital loss carryover. Enter the amount, if any, from line 13 of your Capital Loss Carryover
        Worksheet in the instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      14 (                             )
15      Net long-term capital gain or (loss). Combine lines 8a through 14 in column (h). Then go to
        Part III on page 2                                                            15         2,427,436.
LHA      For Paperwork Reduction Act Notice, see your tax return instructions.                                                    Schedule D (Form 1040) 2018

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Schedule D (Form 1040) 2018           TONY D. & ELIZABETH A. TOWNLEY                                                                      Page   2
 Part III         Summary


16    Combine lines 7 and 15 and enter the result         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             16        1,418,351.

      ¥     If line 16 is a gain, enter the amount from line 16 on Schedule 1 (Form 1040), line 13, or Form
            1040NR, line 14. Then go to line 17 below.
      ¥     If line 16 is a loss, skip lines 17 through 20 below. Then go to line 21. Also be sure to complete
            line 22.
      ¥     If line 16 is zero, skip lines 17 through 21 below and enter -0- on Schedule 1 (Form 1040), line
            13, or Form 1040NR, line 14. Then go to line 22.


17    Are lines 15 and 16 both gains?
          X Yes. Go to line 18.
              No. Skip lines 18 through 21, and go to line 22.


18    If you are required to complete the 28% Rate Gain Worksheet (see instructions), enter the
      amount, if any, from line 7 of that worksheet       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           J   18


19    If you are required to complete the Unrecaptured Section 1250 Gain Worksheet (see
      instructions), enter the amount, if any, from line 18 of that worksheet    SEE STATEMENT 19
                                                                                 ~~~~~~~~~~~~~~~~                J   19


20    Are lines 18 and 19 both zero or blank?
          X Yes. Complete the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
              for Form 1040, line 11a (or in the instructions for Form 1040NR, line 42). Don't complete lines
              21 and 22 below.


              No. Complete the Schedule D Tax Worksheet in the instructions. Don't complete lines 21
              and 22 below.


21    If line 16 is a loss, enter here and on Schedule 1 (Form 1040), line 13, or Form 1040NR, line 14,


                                                                   p
      the smaller of:

                                                                   m
                                                                   o
      ¥     The loss on line 16; or                                    ~~~~~~~~~~~~~~~~~~~~~~~~                      21   (                          )
      ¥     ($3,000), or if married filing separately, ($1,500)


      Note: When figuring which amount is smaller, treat both amounts as positive numbers.


22    Do you have qualified dividends on Form 1040, line 3a, or Form 1040NR, line 10b?


              Yes. Complete the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
              for Form 1040, line 11a (or in the instructions for Form 1040NR, line 42).


              No. Complete the rest of Form 1040 or Form 1040NR.


                                                                                                                      Schedule D (Form 1040) 2018




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                                         Sales and Other Dispositions of Capital Assets                                                                               OMB No. 1545-0074

Form      8949                             | Go to www.irs.gov/Form8949 for instructions and the latest information.
                                                                                                                                                                          2018
Department of the Treasury                                                                                                                                               Attachment
Internal Revenue Service             | File with your Schedule D to list your transactions for lines 1b, 2, 3, 8b, 9, and 10 of Schedule D.                              Sequence No.   12A
Name(s) shown on return                                                                                                                                           Social security number or
                                                                                                                                                                  taxpayer identification no.
TONY D. & ELIZABETH A. TOWNLEY
Before you check Box A, B, or C below, see whether you received any Form(s) 1099-B or substitute statement(s) from your broker. A substitute
statement will have the same information as Form 1099-B. Either will show whether your basis (usually your cost) was reported to the IRS by your
broker and may even tell you which box to check.
 Part I Short-Term. Transactions involving capital assets you held 1 year or less are generally short-term (see instructions). For long-term
           transactions, see page 2.
           Note: You may aggregate all short-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS and for which no adjustments or
           codes are required. Enter the totals directly on Schedule D, line 1a; you aren't required to report these transactions on Form 8949 (see instructions).
You must check Box A, B, or C below. Check only one box. If more than one box applies for your short-term transactions, complete a separate Form 8949, page 1, for each applicable box.
If you have more short-term transactions than will fit on this page for one or more of the boxes, complete as many forms with the same box checked as you need.
    X (A) Short-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS (see Note above)
        (B) Short-term transactions reported on Form(s) 1099-B showing basis wasn't reported to the IRS
        (C) Short-term transactions not reported to you on Form 1099-B
1                 (a)                                   (b)                   (c)                    (d)                     (e)       Adjustment, if any, to gain or          (h)
                                                                                                  Proceeds             Cost or other   loss. If you enter an amount Gain or (loss).
        Description of property                   Date acquired          Date sold or                                                  in column  (g), enter a code in
      (Example: 100 sh. XYZ Co.)                  (Mo., day, yr.)        disposed of            (sales price)          basis. See the                                  Subtract column (e)
                                                                                                                                       column (f). See instructions.
                                                                        (Mo., day, yr.)                              Note below and                                    from column (d) &
                                                                                                                     see Column (e) in     (f)             (g)          combine the result
                                                                                                                                                       Amount of
                                                                                                                      the instructions Code(s)         adjustment        with column (g)
    VANGUARD #9138 -
    SEE ATTACHMENT   VARIOUS 04/13/18 705,197. 749,295. M                                                                                                               0. <44,098.>




2 Totals. Add the amounts in columns (d), (e), (g), and (h) (subtract
  negative amounts). Enter each total here and include on your
     Schedule D, line 1b (if Box A above is checked), line 2 (if Box B
     above is checked), or line 3 (if Box C above is checked)                         |       705,197. 749,295.                                                                <44,098.>
Note: If you checked Box A above but the basis reported to the IRS was incorrect, enter in column (e) the basis as reported to the IRS, and enter an
adjustment in column (g) to correct the basis. See Column (g) in the separate instructions for how to figure the amount of the adjustment.
823011 11-28-18      LHA For Paperwork Reduction Act Notice, see your tax return instructions.                                                                              Form 8949 (2018)
                      Case 3:22-cv-00107-CDL                                     AMENDED
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                                         Sales and Other Dispositions of Capital Assets                                                                               OMB No. 1545-0074

Form      8949                             | Go to www.irs.gov/Form8949 for instructions and the latest information.
                                                                                                                                                                          2018
Department of the Treasury                                                                                                                                               Attachment
Internal Revenue Service             | File with your Schedule D to list your transactions for lines 1b, 2, 3, 8b, 9, and 10 of Schedule D.                              Sequence No.   12A
Name(s) shown on return                                                                                                                                           Social security number or
                                                                                                                                                                  taxpayer identification no.
TONY D. & ELIZABETH A. TOWNLEY
Before you check Box A, B, or C below, see whether you received any Form(s) 1099-B or substitute statement(s) from your broker. A substitute
statement will have the same information as Form 1099-B. Either will show whether your basis (usually your cost) was reported to the IRS by your
broker and may even tell you which box to check.
 Part I Short-Term. Transactions involving capital assets you held 1 year or less are generally short-term (see instructions). For long-term
           transactions, see page 2.
           Note: You may aggregate all short-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS and for which no adjustments or
           codes are required. Enter the totals directly on Schedule D, line 1a; you aren't required to report these transactions on Form 8949 (see instructions).
You must check Box A, B, or C below. Check only one box. If more than one box applies for your short-term transactions, complete a separate Form 8949, page 1, for each applicable box.
If you have more short-term transactions than will fit on this page for one or more of the boxes, complete as many forms with the same box checked as you need.
        (A) Short-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS (see Note above)
        (B) Short-term transactions reported on Form(s) 1099-B showing basis wasn't reported to the IRS
    X (C) Short-term transactions not reported to you on Form 1099-B
1                 (a)                                   (b)                   (c)                    (d)                     (e)       Adjustment, if any, to gain or          (h)
                                                                                                  Proceeds             Cost or other   loss. If you enter an amount Gain or (loss).
        Description of property                   Date acquired          Date sold or                                                  in column  (g), enter a code in
      (Example: 100 sh. XYZ Co.)                  (Mo., day, yr.)        disposed of            (sales price)          basis. See the                                  Subtract column (e)
                                                                                                                                       column (f). See instructions.
                                                                        (Mo., day, yr.)                              Note below and                                    from column (d) &
                                                                                                                     see Column (e) in     (f)             (g)          combine the result
                                                                                                                                                       Amount of
                                                                                                                      the instructions Code(s)         adjustment        with column (g)
    EAT HOLDINGS, LLC 04/23/18 12/04/18 2521947. 3484833.                                                                                                                      <962886.>




2 Totals. Add the amounts in columns (d), (e), (g), and (h) (subtract
  negative amounts). Enter each total here and include on your
     Schedule D, line 1b (if Box A above is checked), line 2 (if Box B
     above is checked), or line 3 (if Box C above is checked)                         |       2521947. 3484833.                                                                <962886.>
Note: If you checked Box A above but the basis reported to the IRS was incorrect, enter in column (e) the basis as reported to the IRS, and enter an
adjustment in column (g) to correct the basis. See Column (g) in the separate instructions for how to figure the amount of the adjustment.
823011 11-28-18      LHA For Paperwork Reduction Act Notice, see your tax return instructions.                                                                              Form 8949 (2018)
                      Case 3:22-cv-00107-CDL                                     AMENDED
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Form 8949 (2018)                                                                                                                  Attachment Sequence No. 12A                           Page 2
Name(s) shown on return. Name and SSN or taxpayer identification no. not required if shown on page 1                                                             Social security number or
                                                                                                                                                                 taxpayer identification no.
TONY D. & ELIZABETH A. TOWNLEY
Before you check Box D, E, or F below, see whether you received any Form(s) 1099-B or substitute statement(s) from your broker. A substitute
statement will have the same information as Form 1099-B. Either will show whether your basis (usually your cost) was reported to the IRS by your
broker and may even tell you which box to check.
 Part II Long-Term. Transactions involving capital assets you held more than 1 year are generally long-term (see instructions). For short-term transactions,
           see page 1.
           Note: You may aggregate all long-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS and for which no adjustments or
           codes are required. Enter the totals directly on Schedule D, line 8a; you aren't required to report these transactions on Form 8949 (see instructions).
You must check Box D, E, or F below. Check only one box. If more than one box applies for your long-term transactions, complete a separate Form 8949, page 2, for each applicable box.
If you have more long-term transactions than will fit on this page for one or more of the boxes, complete as many forms with the same box checked as you need.
    X (D) Long-term transactions reported on Form(s) 1099-B showing basis was reported to the IRS (see Note above)
        (E) Long-term transactions reported on Form(s) 1099-B showing basis wasn't reported to the IRS
        (F) Long-term transactions not reported to you on Form 1099-B
1                 (a)                                   (b)                   (c)                    (d)                     (e)       Adjustment, if any, to gain or          (h)
                                                                                                  Proceeds             Cost or other   loss. If you enter an amount Gain or (loss).
        Description of property                   Date acquired          Date sold or                                                  in column  (g), enter a code in
      (Example: 100 sh. XYZ Co.)                  (Mo., day, yr.)        disposed of            (sales price)          basis. See the                                  Subtract column (e)
                                                                                                                                       column (f). See instructions.
                                                                        (Mo., day, yr.)                              Note below and                                    from column (d) &
                                                                                                                     see Column (e) in     (f)             (g)          combine the result
                                                                                                                                                       Amount of
                                                                                                                      the instructions Code(s)         adjustment        with column (g)
    VANGUARD #9138 -
    SEE ATTACHMENT   VARIOUS 04/13/18 6754956. 5014387. M                                                                                                                0. 1740569.




2 Totals. Add the amounts in columns (d), (e), (g), and (h) (subtract
  negative amounts). Enter each total here and include on your
     Schedule D, line 8b (if Box D above is checked), line 9 (if Box E
     above is checked), or line 10 (if Box F above is checked)                        |       6754956. 5014387.                                                                1740569.
Note: If you checked Box D above but the basis reported to the IRS was incorrect, enter in column (e) the basis as reported to the IRS, and enter an
adjustment in column (g) to correct the basis. See Column (g) in the separate instructions for how to figure the amount of the adjustment.
823012 11-28-18                                                                                                                                                              Form 8949 (2018)
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                      Case 3:22-cv-00107-CDL                                      AMENDED
                                                                                 Document 1-5 Filed 10/28/22                                             Page 35 of 163
Schedule E (Form 1040) 2018                                                                                                                       Attachment Sequence No. 13                    Page 2
Name(s) shown on return. Do not enter name and social security number if shown on page 1.
                                                                                                                                                                       Your social security number

TONY D. & ELIZABETH A. TOWNLEY
Caution: The IRS compares amounts reported on your tax return with amounts shown on Schedule(s) K-1.
 Part II    Income or Loss From Partnerships and S Corporations - Note: If you report a loss, receive a distribution, dispose of
                  stock, or receive a loan repayment from an S corporation, you must check the box in column (e) on line 28 and attach the required basis
                  computation. If you report a loss from an at-risk activity for which any amount is not at risk, you must check the box in column (f) on
                  line 28 and attach Form 6198 (see instructions).
27     Are you reporting any loss not allowed in a prior year due to the at-risk, excess farm loss, or basis limitations, a prior year
       unallowed loss from a passive activity (if that loss was not reported on Form 8582), or unreimbursed partnership expenses? If
       you answered "Yes," see instructions before completing this section  X Yes                                                                                      No
                                                                          (b) Enter P for (c) Check        (d) Employer        (e) Check if                                               (f) Check if
28                                (a) Name                                 partnership; S if foreign                         basis computation                                            any amount is
                                                                         for S corporation partnership identification number     is required                                                not at risk

 A         SEE STATEMENT 23
 B
 C
 D
                              Passive Income and Loss                                                                               Nonpassive Income and Loss
                  (g) Passive loss allowed                          (h) Passive income                (i) Nonpassive loss             (j) Section 179 expense            (k) Nonpassive income
              (attach Form 8582 if required)                        from Schedule K-1                 from Schedule K-1              deduction from Form 4562              from Schedule K-1
 A
 B
 C
 D
29a    Totals ~~~~                                                                                                                                                           43,117,618.
   b   Totals ~~~~                           13,391.                                                    4,797,540.
30     Add columns (h) and (k) of line 29a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      30 43,117,618.
31     Add columns (g), (i), and (j) of line 29b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 31 ( 4,810,931. )
32     Total partnership and S corporation income or (loss). Combine lines 30 and 31                                                                    32 38,306,687.
 Part III Income or Loss From Estates and Trusts
                                                                                                                                                                                 (b) Employer
33                                                                               (a) Name                                                                                    identification number

 A     ELIZABETH A. TOWNLEY TRUST
 B     TONY D. TOWNLEY TRUST
                                          Passive Income and Loss                                                                               Nonpassive Income and Loss
               (c) Passive deduction or loss allowed                                      (d) Passive income                        (e) Deduction or loss                   (f) Other income from
                   (attach Form 8582 if required)                                         from Schedule K-1                          from Schedule K-1                          Schedule K-1

 A                                                                          0.
 B                                                                          0.
34a    Totals ~~~~~~~
   b   Totals ~~~~~~~
35     Add columns (d) and (f) of line 34a               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        35
36     Add columns (c) and (e) of line 34b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      36     (                           )
37     Total estate and trust income or (loss). Combine lines 35 and 36                                                                          37
 Part IV Income or Loss From Real Estate Mortgage Investment Conduits (REMICs) - Residual Holder
                                                                     (b) Employer                    (c) Excess inclusion   (d) Taxable income                                (e) Income from
38                      (a) Name                                                                   from Schedules Q, line      (net loss) from
                                                                 identification number               2c (see instructions)                                                  Schedules Q, line 3b
                                                                                                                           Schedules Q, line 1b



39     Combine columns (d) and (e) only. Enter the result here and include in the total on line 41 below                                                       39
 Part V        Summary

                                                                                                                                                                 9
40     Net farm rental income or (loss) from Form 4835 . Also, complete line 42 below ~~~~~~~~~~~~~~~~~                                                                40
41     Total income or (loss). Combine lines 26, 32, 37, 39, and 40. Enter the result here and on Schedule 1 (Form 1040), line 17, or Form 1040NR, line 18          41    38,228,197.
42     Reconciliation of farming and fishing income. Enter your gross farming and fishing income
       reported on Form 4835, line 7; Schedule K-1 (Form 1065), box 14, code B; Schedule K-1
       (Form 1120S), box 17, code AC; and Schedule K-1 (Form 1041), box 14, code F (see instructions)                          42                    1,108.
43     Reconciliation for real estate professionals. If you were a real estate
       professional (see instructions), enter the net income or (loss) you reported
       anywhere on Form 1040 or Form 1040NR from all rental real estate activities
       in which you materially participated under the passive activity loss rules                                         43
821501 10-18-18                                                                                                                                                      Schedule E (Form 1040) 2018
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SCHEDULE SE                                                                                                                                      OMB No. 1545-0074

                                                              Self-Employment Tax
(Form 1040)
Department of the Treasury      | Go to www.irs.gov/ScheduleSE for instructions and the latest information.                                       2018
                                                                                                                                                 Attachment
Internal Revenue Service   (99)
                                                 | Attach to Form 1040 or Form 1040NR.                                                           Sequence No.   17
Name of person with self-employment income (as shown on Form 1040 or Form 1040NR) Social security number of


                                                                                                                                     9
                                                                                                     person with self-employment
TONY D. TOWNLEY                                                                                      income 
Before you begin: To determine if you must file Schedule SE, see the instructions.
May I Use Short Schedule SE or Must I Use Long Schedule SE?
Note: Use this flowchart only if you must file Schedule SE. If unsure, see Who Must File Schedule SE in the instructions.

                                                               Did you receive wages or tips in 2018?


                                      <                          <                                                      <
                                          No                                                                                Yes



                                                                               9                                                                                   9
     Are you a minister, member of a religious order, or Christian                          Was the total of your wages and tips subject to social security Yes
     Science practitioner who received IRS approval not to be taxed      Yes                or railroad retirement (tier 1) tax plus your net earnings from
     on earnings from these sources, but you owe self-employment                            self-employment more than $128,400?
     tax on other earnings?


                                      <                                                                                 <
                                          No                                                                                No


                                                                               9                                                                                   9
     Are you using one of the optional methods to figure your net        Yes                Did you receive tips subject to social security or Medicare      Yes
     earnings (see instructions)?                                                           tax that you didn't report to your employer?



                                      <                                                                                 <
                                          No                                                                                No


                                                                               9 :                                                                                 9
     Did you receive church employee income (see instructions)           Yes          No    Did you report any wages on Form 8919, Uncollected Social        Yes
     reported on Form W-2 of $108.28 or more?                                               Security and Medicare Tax on Wages?


                                      <                                                                                                                            <
                                          No

                  You may use Short Schedule SE below                                   9                You must use Long Schedule SE on page 2


Section A-Short Schedule SE. Caution: Read above to see if you can use Short Schedule SE.
1a Net farm profit or (loss) from Schedule F, line 34, and farm partnerships, Schedule K-1
   (Form 1065), box 14, code A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                   STMT 27                                    1a              -76,308.
 b If you received social security retirement or disability benefits, enter the amount of Conservation Reserve
   Program payments included on Schedule F, line 4b, or listed on Schedule K-1 (Form 1065), box 20, code AH ~~                        1b
 2 Net profit or (loss) from Schedule C, line 31; Schedule C-EZ, line 3; Schedule K-1 (Form 1065), box 14, code A
   (other than farming); and Schedule K-1 (Form 1065-B), box 9, code J1. Ministers and members of religious orders,
    see instructions for types of income to report on this line. See instructions for other income to report        STMT 26 2
                                                                                                                     ~~~~~                       2,044,111.
 3 Combine lines 1a, 1b, and 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               3         1,967,803.
 4 Multiply line 3 by 92.35% (0.9235). If less than $400, you don't owe self-employment tax; don't file this
    schedule unless you have an amount on line 1b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 |     4         1,817,266.
    Note: If line 4 is less than $400 due to Conservation Reserve Program payments on line 1b, see instructions.


    B
 5 Self-employment tax. If the amount on line 4 is:
     $128,400 or less, multiply line 4 by 15.3% (0.153). Enter the result here and on Schedule 4 (Form


    B
    1040), line 57, or Form 1040NR, line 55
      More than $128,400, multiply line 4 by 2.9% (0.029). Then, add $15,921.60 to the result.
    Enter the total here and on Schedule 4 (Form 1040), line 57, or Form 1040NR, line 55 ~~~~~~~~~~~~                                  5                  68,622.
 6 Deduction for one-half of self-employment tax.
   Multiply line 5 by 50% (0.50). Enter the result here and on
   Schedule 1 (Form 1040), line 27, or Form 1040NR, line 27                            6                 34,311.
LHA For Paperwork Reduction Act Notice, see your tax return instructions.                                                            Schedule SE (Form 1040) 2018




824501 10-18-18
                     Case 3:22-cv-00107-CDL                     AMENDED
                                                               Document 1-5 Filed 10/28/22                          Page 38 of 163

       3800                                               General Business Credit                                                     OMB No. 1545-0895

Form
Department of the Treasury
Internal Revenue Service (99)
                                      | Go to www.irs.gov/Form3800 for instructions and the latest information.
                                     | You must attach all pages of Form 3800, pages 1, 2, and 3, to your tax return.
                                                                                                                                        201822
                                                                                                                                         Attachment
                                                                                                                                         Sequence No.
Name(s) shown on return                                                                                                    Identifying number


TONY D. & ELIZABETH A. TOWNLEY
 Part I Current Year Credit for Credits Not Allowed Against Tentative Minimum Tax (TMT)
        (See instructions and complete Part(s) III before Parts I and II.)
 1     General business credit from line 2 of all Parts III with box A checked                        1                19,219.
 2     Passive activity credits from line 2 of all Parts III with box B checked ~~~~~~~           2
 3     Enter the applicable passive activity credits allowed for 2018. See instructions       ~~~~~~~~~~~~~~~~~             3
 4     Carryforward of general business credit to 2018. Enter the amount from line 2 of Part III with
       box C checked. See instructions for statement to attach ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
 5     Carryback of general business credit from 2019. Enter the amount from line 2 of Part III with
       box D checked ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       5
 6     Add lines 1, 3, 4, and 5                                                 6                19,219.
 Part II       Allowable Credit
 7     Regular tax before credits:


                                                                                                    p
       ¥ Individuals. Enter the sum of the amounts from Form 1040, line 11a, and Schedule 2

                                                                                                    n
                                                                                                    n
         (Form 1040), line 46, or the sum of the amounts from Form 1040NR, lines 42 and 44


                                                                                                    m
       ¥ Corporations. Enter the amount from Form 1120, Schedule J, Part I, line 2; or the               ~~~~~~~~~~~        7         6,353,121.

                                                                                                    n
         applicable line of your return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~

                                                                                                    n
                                                                                                    o
       ¥ Estates and trusts. Enter the sum of the amounts from Form 1041, Schedule G,
         lines 1a and 1b; or the amount from the applicable line of your return ~~~~~~~~


                                                                                              p
                                                                                              n
 8     Alternative minimum tax:


                                                                                              m
       ¥ Individuals. Enter the amount from Form 6251, line 11 ~~~~~~~~~~~


                                                                                              n
                                                                                              o
       ¥ Corporations. Enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ~~~~~~~~~~~~~~~           8
       ¥ Estates and trusts. Enter the amount from Schedule I (Form 1041), line 56        ~


 9     Add lines 7 and 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    9         6,353,121.

10 a Foreign tax credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10a               58.
   b Certain allowable credits (see instructions) ~~~~~~~~~~~~~~~~~~~~
                                                                 10b
     c Add lines 10a and 10b      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             10c                          58.

11     Net income tax. Subtract line 10c from line 9. If zero, skip lines 12 through 15 and enter -0- on line 16   ~~~~~   11         6,353,063.

12     Net regular tax. Subtract line 10c from line 7. If zero or less, enter -0- ~~~~~~~          12     6,353,063.

                                                                                                          1,582,016.

                                                                                              p
13     Enter 25% (0.25) of the excess, if any, of line 12 over $25,000. See instructions ~~        13


                                                                                              n
14     Tentative minimum tax:


                                                                                              n
       ¥ Individuals. Enter the amount from Form 6251, line 9     ~~~~~~~~~~~

                                                                                              m
                                                                                                          4,294,740.

                                                                                              n
       ¥ Corporations. Enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        14


                                                                                              n
       ¥ Estates and trusts. Enter the amount from Schedule I


                                                                                              o
          (Form 1041), line 54    ~~~~~~~~~~~~~~~~~~~~~~~~~~~
15     Enter the greater of line 13 or line 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      15         4,294,740.

16     Subtract line 15 from line 11. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            16         2,058,323.

17     Enter the smaller of line 6 or line 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       17                19,219.
       C corporations: See the line 17 instructions if there has been an ownership change, acquisition,
       or reorganization.
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                       Form 3800 (2018)




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Form 3800 (2018)                                                                                                                                Page 2
 Part II     Allowable Credit (continued)
Note: If you are not required to report any amounts on line 22 or 24 below, skip lines 18 through 25 and enter -0- on line 26.


18   Multiply line 14 by 75% (0.75). See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18


19   Enter the greater of line 13 or line 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              19


20   Subtract line 19 from line 11. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    20


21   Subtract line 17 from line 20. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    21


22   Combine the amounts from line 3 of all Parts III with box A, C, or D checked       ~~~~~~~~~~~~~~~~~~                       22


23   Passive activity credit from line 3 of all Parts III with box B checked ~~~~~~~~     23
24   Enter the applicable passive activity credit allowed for 2018. See instructions ~~~~~~~~~~~~~~~~~~                          24
25   Add lines 22 and 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          25
26   Empowerment zone and renewal community employment credit allowed. Enter the
     smaller of line 21 or line 25 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   26                0.

27   Subtract line 13 from line 11. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    27   4,771,047.

28   Add lines 17 and 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          28       19,219.

29   Subtract line 28 from line 27. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    29   4,751,828.

30   Enter the general business credit from line 5 of all Parts III with box A checked ~~~~~~~~~~~~~~~~~                         30     278,759.


31   Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                31



32   Passive activity credits from line 5 of all Parts III with box B checked ~~~~~~~            32


33   Enter the applicable passive activity credits allowed for 2018. See instructions    ~~~~~~~~~~~~~~~~~                       33


34   Carryforward of business credit to 2018. Enter the amount from line 5 of Part III with box C checked
     and line 6 of Part III with box G checked. See instructions for statement to attach ~~~~~~~~~~~~~~~~                        34


35   Carryback of business credit from 2019. Enter the amount from line 5 of Part III with box D checked.
     See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           35


36   Add lines 30, 33, 34, and 35 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     36     278,759.

37   Enter the smaller of line 29 or line 36 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               37     278,759.

38   Credit allowed for the current year. Add lines 28 and 37.
     Report the amount from line 38 (if smaller than the sum of Part I, line 6, and Part II, lines 25 and 36,


                                                                                                            p
     see instructions) as indicated below or on the applicable line of your return.

                                                                                                            n
                                                                                                            m
     ¥ Individuals. Schedule 3 (Form 1040), line 54, or Form 1040NR, line 51 ~~~~~~~~~~~~

                                                                                                            n
                                                                                                            o
     ¥ Corporations. Form 1120, Schedule J, Part I, line 5c ~~~~~~~~~~~~~~~~~~~~                                ~~~~~~
     ¥ Estates and trusts. Form 1041, Schedule G, line 2b                                                    38     297,978.
                                                                                                                                       Form 3800 (2018)




814402 01-16-19
                     Case 3:22-cv-00107-CDL                      AMENDED
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Form 3800 (2018)                                                                                                                                          Page 3
Name(s) shown on return                                                                                                           Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A             General Business Credit From a Non-Passive Activity             E           Reserved
B             General Business Credit From a Passive Activity                 F           Reserved
C             General Business Credit Carryforwards                           G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                       | X
                                         (a) Description of credit                                               (b)                             (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed      If claiming the credit from a
for each pass-through entity.                                                                    pass-through entity, enter the EIN Enter the appropriate amount

 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765)    ~~~~~~~~~~~~~~~~~~~                         1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                            1d
    e    Disabled access (Form 8826) (see instructions for limitation) ~~~~~~~~~~~                 1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1i
    j    Small employer pension plan startup costs (Form 8881) (see instructions for limitation)   1j
    k    Employer-provided child care facilities and services (Form 8882) (see instructions
         for limitation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        1k                                                  19,219.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                     1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                             1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                         1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                 1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                         1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                              1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                    1s
    t    Enhanced oil recovery credit (Form 8830) ~~~~~~~~~~~~~~~~~~~~                             1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                               1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                      1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                          1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                               1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                 1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                    1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                    1aa
    bb General credits from an electing large partnership (Schedule K-1 (Form 1065-B)) ~           1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain
       other credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I    ~~~         2                                                 19,219.
3        Enter the amount from Form 8844 here and on the applicable line of Part II      ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                       4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                                4b                                              278,759.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                              4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                         4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                        4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                           4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                  4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II    ~~~         5                                             278,759.
6        Add lines 2, 3, and 5 and enter here and on the applicable line of Part II             6                                             297,978.
814403 01-16-19                                                                                                                                  Form 3800 (2018)
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Name(s) shown on return                                                                                                           Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A       X     General Business Credit From a Non-Passive Activity             E           Reserved
B             General Business Credit From a Passive Activity                 F           Reserved
C             General Business Credit Carryforwards                           G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                       |
                                         (a) Description of credit                                               (b)                             (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed      If claiming the credit from a
for each pass-through entity.                                                                    pass-through entity, enter the EIN Enter the appropriate amount

 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765)    ~~~~~~~~~~~~~~~~~~~                         1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                            1d
    e    Disabled access (Form 8826) (see instructions for limitation) ~~~~~~~~~~~                 1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1i
    j    Small employer pension plan startup costs (Form 8881) (see instructions for limitation)   1j
    k    Employer-provided child care facilities and services (Form 8882) (see instructions
         for limitation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        1k                                                  15,585.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                     1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                             1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                         1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                 1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                         1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                              1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                    1s
    t    Enhanced oil recovery credit (Form 8830) ~~~~~~~~~~~~~~~~~~~~                             1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                               1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                      1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                          1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                               1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                 1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                    1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                    1aa
    bb General credits from an electing large partnership (Schedule K-1 (Form 1065-B)) ~           1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain
       other credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I    ~~~         2                                                 15,585.
3        Enter the amount from Form 8844 here and on the applicable line of Part II      ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                       4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                                4b                                              226,047.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                              4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                         4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                        4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                           4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                  4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II    ~~~         5                                             226,047.
6        Add lines 2, 3, and 5 and enter here and on the applicable line of Part II             6                                             241,632.
814403 01-16-19                                                                                                                                  Form 3800 (2018)
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TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A       X     General Business Credit From a Non-Passive Activity             E           Reserved
B             General Business Credit From a Passive Activity                 F           Reserved
C             General Business Credit Carryforwards                           G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                       |
                                         (a) Description of credit                                               (b)                             (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed      If claiming the credit from a
for each pass-through entity.                                                                    pass-through entity, enter the EIN Enter the appropriate amount

 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765)    ~~~~~~~~~~~~~~~~~~~                         1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                            1d
    e    Disabled access (Form 8826) (see instructions for limitation) ~~~~~~~~~~~                 1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1i
    j    Small employer pension plan startup costs (Form 8881) (see instructions for limitation)   1j
    k    Employer-provided child care facilities and services (Form 8882) (see instructions
         for limitation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        1k                                                    549.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                     1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                             1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                         1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                 1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                         1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                              1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                    1s
    t    Enhanced oil recovery credit (Form 8830) ~~~~~~~~~~~~~~~~~~~~                             1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                               1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                      1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                          1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                               1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                 1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                    1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                    1aa
    bb General credits from an electing large partnership (Schedule K-1 (Form 1065-B)) ~           1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain
       other credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I    ~~~         2                                                   549.
3        Enter the amount from Form 8844 here and on the applicable line of Part II      ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                       4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                                4b                                                  7,954.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                              4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                         4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                        4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                           4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                  4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II    ~~~         5                                                 7,954.
6        Add lines 2, 3, and 5 and enter here and on the applicable line of Part II             6                                                 8,503.
814403 01-16-19                                                                                                                                  Form 3800 (2018)
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Name(s) shown on return                                                                                                           Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A       X     General Business Credit From a Non-Passive Activity             E           Reserved
B             General Business Credit From a Passive Activity                 F           Reserved
C             General Business Credit Carryforwards                           G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                       |
                                         (a) Description of credit                                               (b)                             (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed      If claiming the credit from a
for each pass-through entity.                                                                    pass-through entity, enter the EIN Enter the appropriate amount

 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765)    ~~~~~~~~~~~~~~~~~~~                         1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                            1d
    e    Disabled access (Form 8826) (see instructions for limitation) ~~~~~~~~~~~                 1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1i
    j    Small employer pension plan startup costs (Form 8881) (see instructions for limitation)   1j
    k    Employer-provided child care facilities and services (Form 8882) (see instructions
         for limitation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        1k                                                  2,911.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                     1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                             1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                         1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                 1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                         1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                              1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                    1s
    t    Enhanced oil recovery credit (Form 8830) ~~~~~~~~~~~~~~~~~~~~                             1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                               1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                      1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                          1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                               1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                 1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                    1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                    1aa
    bb General credits from an electing large partnership (Schedule K-1 (Form 1065-B)) ~           1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain
       other credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I    ~~~         2                                                 2,911.
3        Enter the amount from Form 8844 here and on the applicable line of Part II      ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                       4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                                4b                                                  42,233.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                              4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                         4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                        4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                           4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                  4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II    ~~~         5                                                 42,233.
6        Add lines 2, 3, and 5 and enter here and on the applicable line of Part II             6                                                 45,144.
814403 01-16-19                                                                                                                                  Form 3800 (2018)
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Form 3800 (2018)                                                                                                                                          Page 3
Name(s) shown on return                                                                                                           Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part III General Business Credits or Eligible Small Business Credits (see instructions)
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B             General Business Credit From a Passive Activity                 F           Reserved
C             General Business Credit Carryforwards                           G           Eligible Small Business Credit Carryforwards
D             General Business Credit Carrybacks                             H          Reserved
I       If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
     Parts III with box A or B checked. Check here if this is the consolidated Part III                                       |
                                         (a) Description of credit                                               (b)                             (c)
Note: On any line where the credit is from more than one source, a separate Part III is needed      If claiming the credit from a
for each pass-through entity.                                                                    pass-through entity, enter the EIN Enter the appropriate amount

 1a Investment (Form 3468, Part II only) (attach Form 3468) ~~~~~~~~~~~~~                     1a
  b Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1b
    c    Increasing research activities (Form 6765)    ~~~~~~~~~~~~~~~~~~~                         1c
    d    Low-income housing (Form 8586, Part I only) ~~~~~~~~~~~~~~~~~~                            1d
    e    Disabled access (Form 8826) (see instructions for limitation) ~~~~~~~~~~~                 1e
    f    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       1f
    g    Indian employment (Form 8845) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   1g
    h    Orphan drug (Form 8820) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1h
    i    New markets (Form 8874) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1i
    j    Small employer pension plan startup costs (Form 8881) (see instructions for limitation)   1j
    k    Employer-provided child care facilities and services (Form 8882) (see instructions
         for limitation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        1k                                                    174.
    l    Biodiesel and renewable diesel fuels (attach Form 8864) ~~~~~~~~~~~~~                     1l
    m Low sulfur diesel fuel production (Form 8896) ~~~~~~~~~~~~~~~~~~                             1m
    n Distilled spirits (Form 8906) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    1n
    o    Nonconventional source fuel (carryforward only) ~~~~~~~~~~~~~~~~~                         1o
    p    Energy efficient home (Form 8908) ~~~~~~~~~~~~~~~~~~~~~~~                                 1p
    q    Energy efficient appliance (carryforward only) ~~~~~~~~~~~~~~~~~~                         1q
    r    Alternative motor vehicle (Form 8910) ~~~~~~~~~~~~~~~~~~~~~~                              1r
    s    Alternative fuel vehicle refueling property (Form 8911) ~~~~~~~~~~~~~~                    1s
    t    Enhanced oil recovery credit (Form 8830) ~~~~~~~~~~~~~~~~~~~~                             1t
    u    Mine rescue team training (Form 8923) ~~~~~~~~~~~~~~~~~~~~~                               1u
    v    Agricultural chemicals security (carryforward only) ~~~~~~~~~~~~~~~~                      1v
    w    Employer differential wage payments (Form 8932) ~~~~~~~~~~~~~~~~                          1w
    x    Carbon oxide sequestration (Form 8933) ~~~~~~~~~~~~~~~~~~~~                               1x
    y    Qualified plug-in electric drive motor vehicle (Form 8936)   ~~~~~~~~~~~~                 1y
    z    Qualified plug-in electric vehicle (carryforward only) ~~~~~~~~~~~~~~~                    1z
    aa Employee retention (Form 5884-A) ~~~~~~~~~~~~~~~~~~~~~~~                                    1aa
    bb General credits from an electing large partnership (Schedule K-1 (Form 1065-B)) ~           1bb
    zz Other. Oil and gas production from marginal wells (Form 8904) and certain
       other credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                  1zz
2        Add lines 1a through 1zz and enter here and on the applicable line of Part I    ~~~         2                                                   174.
3        Enter the amount from Form 8844 here and on the applicable line of Part II      ~~~         3
4a       Investment (Form 3468, Part III) (attach Form 3468) ~~~~~~~~~~~~~~~                       4a
    b    Work opportunity (Form 5884)     ~~~~~~~~~~~~~~~~~~~~~~~~~                                4b                                                  2,525.
    c    Biofuel producer (Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4c
    d    Low-income housing (Form 8586, Part II) ~~~~~~~~~~~~~~~~~~~~                              4d
    e    Renewable electricity, refined coal, and Indian coal production (Form 8835)     ~~~       4e
    f    Employer social security and Medicare taxes paid on certain employee
         tips (Form 8846) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4f
    g    Qualified railroad track maintenance (Form 8900) ~~~~~~~~~~~~~~~~                         4g
    h    Small employer health insurance premiums (Form 8941) ~~~~~~~~~~~~~                        4h
    i    Increasing research activities (Form 6765) ~~~~~~~~~~~~~~~~~~~~                           4i
    j    Employer credit for paid family and medical leave (Form 8994) ~~~~~~~~~~                  4j
    z    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4z
5        Add lines 4a through 4z and enter here and on the applicable line of Part II    ~~~         5                                                 2,525.
6        Add lines 2, 3, and 5 and enter here and on the applicable line of Part II             6                                                 2,699.
814403 01-16-19                                                                                                                                  Form 3800 (2018)
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                                                                    Sales of Business Property                                                           OMB No. 1545-0184


        4797                                                                                                                                              2018
                                                      (Also Involuntary Conversions and Recapture Amounts
Form                                                            Under Sections 179 and 280F(b)(2))
                                                                    | Attach to your tax return.
Department of the Treasury                                                                                                                                Attachment
Internal Revenue Service                  | Go to www.irs.gov/Form4797 for instructions and the latest information.                                       Sequence No.   27
Name(s) shown on return                                                                                                                          Identifying number


TONY D. & ELIZABETH A. TOWNLEY
 1 Enter the gross proceeds from sales or exchanges reported to you for 2018 on Form(s) 1099-B or 1099-S
   (or substitute statement) that you are including on line 2, 10, or 20                                               1
 Part I            Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From
                   Other Than Casualty or Theft-Most Property Held More Than 1 Year (see instructions)
                                                                                                         (e) Depreciation    (f) Cost or other           (g) Gain or (loss)
 2                 (a) Description              (b) Date acquired    (c) Date sold     (d) Gross sales       allowed or          basis, plus
                      of property                 (mo., day, yr.)    (mo., day, yr.)        price                                                        Subtract (f) from the
                                                                                                          allowable since    improvements and
                                                                                                                                                          sum of (d) and (e)
                                                                                                             acquisition       expense of sale

 SEE STATEMENT 28                                                                                                                                           599,697.




 3      Gain, if any, from Form 4684, line 39~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        3
 4      Section 1231 gain from installment sales from Form 6252, line 26 or 37 ~~~~~~~~~~~~~~~~~~~~~~                                       4
 5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~                                         5
 6      Gain, if any, from line 32, from other than casualty or theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          6                91,881.
 7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows ~~~~~~~~~~                          7               691,578.
        Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
        line 10, or Form 1120S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
        Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
        from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
        1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
        the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

 8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~                                       8
 9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
        line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
        capital gain on the Schedule D filed with your return. See instructions                                       9

 Part II           Ordinary Gains and Losses (see instructions)
10      Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
TIMBER                                        09/12/18 12/01/18                         73,322.                                70,804.                           2,518.




11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            11        (                           )
12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        12
13      Gain, if any, from line 31~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            13
14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                14
15      Ordinary gain from installment sales from Form 6252, line 25 or 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                        15
16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~                                          16
17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             17                    2,518.
18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
        a and b below. For individual returns, complete lines a and b below.
     a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter
       the loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property
        used as an employee.) Identify as from "Form 4797, line 18a." See instructions              ~~~~~~~~~~~~~~~~~                      18a
     b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on
       Schedule 1 (Form 1040), line 14                                                            18b                   2,518.
 LHA      For Paperwork Reduction Act Notice, see separate instructions.                                                                                  Form 4797 (2018)




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Form 4797 (2018) TONY            D. & ELIZABETH A. TOWNLEY                                                                                        Page 2

 Part III       Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255                            (see instructions)

                                                                                                             (b) Date acquired         (c) Date sold
19     (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:                                    (mo., day, yr.)        (mo., day, yr.)
  A       820 AGRICULTURE DR                                                                                 06/18/14              08/01/18
  B
  C
  D


                                                                   9
       These columns relate to the properties on
       lines 19A through 19D.                                            Property A        Property B           Property C              Property D
20     Gross sales price (Note: See line 1 before completing.)     20    335,000.
21     Cost or other basis plus expense of sale ~~~~               21    262,283.
22     Depreciation (or depletion) allowed or allowable ~          22     19,164.
23     Adjusted basis. Subtract line 22 from line 21 ~~            23    243,119.
24     Total gain. Subtract line 23 from line 20              24     91,881.
25     If section 1245 property:
     a Depreciation allowed or allowable from line 22 ~            25a
     b Enter the smaller of line 24 or 25a                  25b
26     If section 1250 property: If straight line depreciation
       was used, enter -0- on line 26g, except for a corporation
       subject to section 291.

     a Additional depreciation after 1975. See instructions    ~   26a
     b Applicable percentage multiplied by the smaller
       of line 24 or line 26a. See instructions ~~~~~              26b

     c Subtract line 26a from line 24. If residential rental
       property or line 24 isn't more than line 26a, skip
       lines 26d and 26e ~~~~~~~~~~~~~~~                           26c
     d Additional depreciation after 1969 and before 1976 ~~       26d
     e Enter the smaller of line 26c or 26d ~~~~~~                 26e


  f Section 291 amount (corporations only) ~~~~                26f
  g Add lines 26b, 26e, and 26f                      26g
27 If section 1252 property: Skip this section if you didn't
    dispose of farmland or if this form is being completed for
    a partnership.
  a Soil, water, and land clearing expenses ~~~~~ 27a
  b Line 27a multiplied by applicable percentage ~~~~~ 27b
  c Enter the smaller of line 24 or 27b                 27c
28 If section 1254 property:
  a Intangible drilling and development costs, expenditures
    for development of mines and other natural deposits,
    mining exploration costs, and depletion. See instructions 28a
  b Enter the smaller of line 24 or 28a  28b
29 If section 1255 property:
  a Applicable percentage of payments excluded
    from income under section 126. See instructions            29a
  b Enter the smaller of line 24 or 29a. See instructions      29b

Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~                       30          91,881.

31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13 ~~~~~~~~~              31
32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
       from other than casualty or theft on Form 4797, line 6 
                                                                                         32      91,881.
 Part IV Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
               (see instructions)
                                                                                                               (a) Section             (b) Section
                                                                                                                   179                  280F(b)(2)
33     Section 179 expense deduction or depreciation allowable in prior years ~~~~~~~~~~~               33
34     Recomputed depreciation. See instructions              ~~~~~~~~~~~~~~~~~~~~~~~~                  34
35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report      35
818012 12-10-18                                                                                                                     Form 4797 (2018)
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       6251                                  Alternative Minimum Tax - Individuals                                                         OMB No. 1545-0074

Form

Department of the Treasury             | Go to www.irs.gov/Form6251 for instructions and the latest information.                             2018
                                                                                                                                            Attachment
Internal Revenue Service (99)
                                                           | Attach to Form 1040 or Form 1040NR.                                            Sequence No.   32
Name(s) shown on Form 1040 or Form 1040NR                                                                                          Your social security number

TONY D. & ELIZABETH A. TOWNLEY
 Part I Alternative Minimum Taxable Income
 1      Enter the amount from Form 1040, line 10, if more than zero. If Form 1040, line 10, is zero, subtract lines 8
        and 9 of Form 1040 from line 7 of Form 1040 and enter the result here. (If less than zero, enter as a
        negative amount.)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      1      18,015,934.
 2 a If filing Schedule A (Form 1040), enter the taxes from Schedule A, line 7; otherwise, enter the amount from
     Form 1040, line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              2a         10,000.
     b Tax refund from Schedule 1 (Form 1040), line 10 or line 21 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                       2b     -1,390,170.
     c Investment interest expense (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~                                    2c
     d Depletion (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            2d
     e Net operating loss deduction from Schedule 1 (Form 1040), line 21. Enter as a positive amount ~~~~~~~                       2e
     f Alternative tax net operating loss deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2f
     g Interest from specified private activity bonds exempt from the regular tax ~~~~~~~~~~~~~~~~~~                               2g
     h Qualified small business stock, see instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            2h
      i Exercise of incentive stock options (excess of AMT income over regular tax income) ~~~~~~~~~~~~~                           2i
      j Estates and trusts (amount from Schedule K-1 (Form 1041), box 12, code A) ~~~~~~~~~~~~~~~~~                                2j
     k Disposition of property (difference between AMT and regular tax gain or loss) ~~~~~~~~~~~~~~~~                              2k
                                                                                                   STMT 31
   l Depreciation on assets placed in service after 1986 (difference between regular tax and AMT) ~~~~~~~~                         2l         -163,179.
                                                                                      SEE    STATEMENT
  m Passive activities (difference between AMT and regular tax income or loss) ~~~~~~~~~~~~~~~~~        29                         2m            3,038.
                                                                                  SEE STATEMENT 30
     n Loss limitations (difference between AMT and regular tax income or loss) ~~~~~~~~~~~~~~~~~~                                 2n         -699,621.
     o Circulation costs (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~~~~~~~                                        2o
     p Long-term contracts (difference between AMT and regular tax income) ~~~~~~~~~~~~~~~~~~~                                     2p
     q Mining costs (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2q
     r Research and experimental costs (difference between regular tax and AMT) ~~~~~~~~~~~~~~~~~                                  2r
     s Income from certain installment sales before January 1, 1987 ~~~~~~~~~~~~~~~~~~~~~~~~                                       2s
   t Intangible drilling costs preference ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2t
 3   Other adjustments, including income-based related adjustments ~~~~~~~~~~~~~~~~~~~~~~~                                         3
 4   Alternative minimum taxable income. Combine lines 1 through 3. (If married filing separately and line 4
     is more than $718,800, see instructions.)                                                   4      15,776,002.
 Part II          Alternative Minimum Tax (AMT)
 5      Exemption. (If you were under age 24 at the end of 2018, see instructions.)


                                                                                                                           p
        IF your filing status is ...                      AND line 4 is not over ... THEN enter on line 5 ...

                                                                                                                           n
                                                                                                                           n
                                                                                                                           m
        Single or head of household      ~~~~~~~~           $500,000 ~~~~~~~~~~ $70,300


                                                                                                                           n
                                                                                                                           n
        Married filing jointly or qualifying widow(er) ~ 1,000,000 ~~~~~~~~~~ 109,400                                          ~   5                            0.

                                                                                                                           o
        Married filing separately ~~~~~~~~~~               500,000 ~~~~~~~~~~                      54,700
        If line 4 is over the amount shown above for your filing status, see instructions.
 6      Subtract line 5 from line 4. If more than zero, go to line 7. If zero or less, enter -0- here and on lines 7, 9,
        and 11, and go to line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       6      15,776,002.

                                                                                                                           p
                                                                                                                           n
 7      ¥ If you are filing Form 2555 or 2555-EZ, see instructions for the amount to enter.



                                                                                                                           n
        ¥ If you reported capital gain distributions directly on Schedule 1 (Form 1040), line 13; you reported



                                                                                                                           m
          qualified dividends on Form 1040, line 3a; or you had a gain on both lines 15 and 16 of Schedule D


                                                                                                                           n
          (Form 1040) (as refigured for the AMT, if necessary), complete Part III on the back and enter the                                 4,294,798.
                                                                                                                               ~   7


                                                                                                                           n
          amount from line 40 here.



                                                                                                                           o
        ¥ All others: If line 6 is $191,100 or less ($95,550 or less if married filing separately), multiply line 6 by
          26% (0.26). Otherwise, multiply line 6 by 28% (0.28) and subtract $3,822 ($1,911 if married filing
          separately) from the result.
 8      Alternative minimum tax foreign tax credit (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                    8               58.
 9      Tentative minimum tax. Subtract line 8 from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          9        4,294,740.
10      Add Form 1040, line 11a (minus any tax from Form 4972), and Schedule 2 (Form 1040), line 46. Subtract
        from the result any foreign tax credit from Schedule 3 (Form 1040), line 48. If you used Schedule J to
        figure your tax on Form 1040, line 11a, refigure that tax without using Schedule J before completing this
        line (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       10       6,353,063.
11 AMT. Subtract line 10 from line 9. If zero or less, enter -0-. Enter here and on Schedule 2 (Form 1040), line 45               11               0.
LHA For Paperwork Reduction Act Notice, see your tax return instructions.                                                                      Form 6251 (2018)
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Form 6251 (2018)               TONY D. & ELIZABETH A. TOWNLEY                                                                                        Page   2
 Part III         Tax Computation Using Maximum Capital Gains Rates
                  Complete Part III only if you are required to do so by line 7 or by the Foreign Earned Income Tax Worksheet in the instructions.
12 Enter the amount from Form 6251, line 6. If you are filing Form 2555 or 2555-EZ, enter the amount from
   line 3 of the worksheet in the instructions for line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        12      15,776,002.
13 Enter the amount from line 6 of the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
   for Form 1040, line 11a, or the amount from line 13 of the Schedule D Tax Worksheet in the instructions
    for Schedule D (Form 1040), whichever applies (as refigured for the AMT, if necessary) (see instructions). If
    you are filing Form 2555 or 2555-EZ, see instructions for the amount to enter       ~~~~~~~~~~~~~~~~~                       13        1,483,259.
14 Enter the amount from Schedule D (Form 1040), line 19 (as refigured for the AMT, if necessary) (see
   instructions). If you are filing Form 2555 or 2555-EZ, see instructions for the amount to enter ~~~~~~~~~~                   14
15 If you did not complete a Schedule D Tax Worksheet for the regular tax or the AMT, enter the amount
   from line 13. Otherwise, add lines 13 and 14, and enter the smaller of that result or the amount from line
    10 of the Schedule D Tax Worksheet (as refigured for the AMT, if necessary). If you are filing Form 2555 or
    2555-EZ, see instructions for the amount to enter ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           15       1,483,259.
16 Enter the smaller of line 12 or line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                16       1,483,259.
17 Subtract line 16 from line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      17      14,292,743.
18 If line 17 is $191,100 or less ($95,550 or less if married filing separately), multiply line 17 by 26% (0.26). Otherwise,
   multiply line 17 by 28% (0.28) and subtract $3,822 ($1,911 if married filing separately) from the result ~~~~ |              18        3,998,146.


                                                                   p
19 Enter:


                                                                   m
   ¥ $77,200 if married filing jointly or qualifying widow(er),


                                                                   o
    ¥ $38,600 if single or married filing separately, or               ~~~~~~~~~~~~~~~~~~~~~~~~~~                               19              77,200.
    ¥ $51,700 if head of household.
20 Enter the amount from line 7 of the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
   for Form 1040, line 11a, or the amount from line 14 of the Schedule D Tax Worksheet in the instructions
    for Schedule D (Form 1040), whichever applies (as figured for the regular tax). If you did not complete
    either worksheet for the regular tax, enter the amount from Form 1040, line 10; if zero or less, enter -0-. If
    you are filing Form 2555 or 2555-EZ, see instructions for the amount to enter       ~~~~~~~~~~~~~~~~~                       20      16,532,675.
21 Subtract line 20 from line 19. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     21               0.
22 Enter the smaller of line 12 or line 13 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                22       1,483,259.
23 Enter the smaller of line 21 or line 22. This amount is taxed at 0% ~~~~~~~~~~~~~~~~~~~~~~~                                  23               0.
24 Subtract line 23 from line 22 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      24       1,483,259.


                                                                   p
25 Enter:

                                                                   n
                                                                   m
   ¥ $425,800 if single


                                                                   n
                                                                   o
   ¥ $239,500 if married filing separately                                                                                                    479,000.
   ¥ $479,000 if married filing jointly or qualifying widow(er) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      25
   ¥ $452,400 if head of household
26 Enter the amount from line 21 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      26                      0.
27 Enter the amount from line 7 of the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
   for Form 1040, line 11a, or the amount from line 19 of the Schedule D Tax Worksheet, whichever applies
    (as figured for the regular tax). If you did not complete either worksheet for the regular tax, enter the
    amount from Form 1040, line 10; if zero or less, enter -0-. If you are filing Form 2555 or Form 2555-EZ,
    see instructions for the amount to enter ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               27      16,532,675.
28 Add line 26 and line 27 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         28      16,532,675.
29 Subtract line 28 from line 25. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      29               0.
30 Enter the smaller of line 24 or line 29 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                30               0.
31 Multiply line 30 by 15% (0.15) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                     31
32 Add lines 23 and 30         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    32                      0.
    If lines 32 and 12 are the same, skip lines 33 through 37 and go to line 38. Otherwise, go to line 33.
33 Subtract line 32 from line 22 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      33        1,483,259.
34 Multiply line 33 by 20% (0.20) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                     34          296,652.
   If line 14 is zero or blank, skip lines 35 through 37 and go to line 38. Otherwise, go to line 35.
35 Add lines 17, 32, and 33 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         35
36 Subtract line 35 from line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      36
37 Multiply line 36 by 25% (0.25) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                     37
38 Add lines 18, 31, 34, and 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       38        4,294,798.
39 If line 12 is $191,100 or less ($95,550 or less if married filing separately), multiply line 12 by 26% (0.26).
    Otherwise, multiply line 12 by 28% (0.28) and subtract $3,822 ($1,911 if married filing separately) from the result         39        4,413,459.
40 Enter the smaller of line 38 or line 39 here and on line 7. If you are filing Form 2555 or 2555-EZ, do not
   enter this amount on line 7. Instead, enter it on line 4 of the worksheet in the instructions for line 7              40        4,294,798.
819591 11-16-18                                                                                                                            Form 6251 (2018)
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                                    Form 6251 - AMT Charitable Contributions Worksheet Page 1
NAME

TONY D. & ELIZABETH A. TOWNLEY
                                                                      50% of AGI     22,159,104.                                  AGI   44,318,207.
                      100%         60%          50%           30%                Appreciated          Appreciated           Total             Total
 Year                                                                                                                   Contributions     Contributions
                      Limit        Limit        Limit         Limit           Property 30% Limit   Property 20% Limit     Allowed          Carryover
2006 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2007 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2008 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2009 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
        CRP C/O ~

2010 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
       CRP C/O ~


2011 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
       CRP C/O ~


2012 Contributions
 Less: Allowed ~
 Less: NOL Abs. CRP
       CRP C/O 




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                                    Form 6251 - AMT Charitable Contributions Worksheet Page 2
NAME

TONY D. & ELIZABETH A. TOWNLEY
                                                                      50% of AGI     22,159,104.                                  AGI   44,318,207.
                      100%         60%          50%           30%                Appreciated          Appreciated           Total             Total
 Year                                                                                                                   Contributions     Contributions
                      Limit        Limit        Limit         Limit           Property 30% Limit   Property 20% Limit     Allowed          Carryover
2013 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 


2014 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 


2015 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
       NOL Abs. CRP
 Less: and MWD ~
       Carryover ~
       CRP C/O 


2016 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 


2017 Contributions
 Less: Allowed ~
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~
       CRP C/O 




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                                        Form 6251 - AMT Charitable Contributions Worksheet Page 3
NAME

TONY D. & ELIZABETH A. TOWNLEY
                                                                                 50% of AGI     22,159,104.                                    AGI   44,318,207.
                       100%            60%              50%              30%                Appreciated          Appreciated             Total             Total
 Year                                                                                                                                Contributions     Contributions
                       Limit           Limit            Limit            Limit           Property 30% Limit   Property 20% Limit       Allowed          Carryover
2018 Contributions                     70,734. 46,399,000.
 Less: Allowed ~                       70,734. 22,088,370.                                                                         22,159,104.
 Less: NOL Absorb.
 Less: NOL Abs. CRP
       Carryover ~                                                                                                                                   24,310,630.
       CRP C/O                                  24,310,630.
        Disaster C/O
        AMT charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    22,159,104. 24,310,630.
  Less: Charitable contributions allowed under regular tax calculation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                22,159,104.
        Charitable contributions adjustment to Form 6251, line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




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                                             ALTERNATIVE MINIMUM TAX RECONCILIATION REPORT

 Name(s)                                                                                                                                  Social Security Number

TONY D. & ELIZABETH A. TOWNLEY
                                                                                                   Adjustment
  Form
  Name        Description                Income                                                                                                 Form 6251
                                                      Form 6251, Line 2k   Form 6251, Line 2l   Form 6251, Line 2m   Form 6251, Line 2n
                                                                                                                                             Other Adjustment
  K1- LOG CREEK, LLLP
       * REGULAR INCOME                 -925,644.
          DEPR ADJ                           -16.                                      -16.
       * AMT NET INCOME                 -925,660.                                      -16.

  K1- LOG CREEK, LLLP
       * REGULAR INCOME                 -925,644.
          DEPR ADJ                           -17.                                      -17.
       * AMT NET INCOME                 -925,661.                                      -17.

  K1- CLUCKZ HOLDINGS, LLC
       * REGULAR INCOME                1,229,179.
          DEPR ADJ                       -24,617.                              -24,617.
       * AMT NET INCOME                1,204,562.                              -24,617.

  K1- ZAXBY'S OPERATING COMP
      ANY, LP (TDT)
       * REGULAR INCOME                6,529,485.
          DEPR ADJ                      -130,712.                             -130,712.
       * AMT NET INCOME                6,398,773.                             -130,712.

  K1- CLUCKZ HOLDINGS, LLC (
      SECG)
       * REGULAR INCOME                  390,240.
          DEPR ADJ                        -7,816.                                -7,816.
       * AMT NET INCOME                  382,424.                                -7,816.




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                                              ALTERNATIVE MINIMUM TAX RECONCILIATION REPORT

 Name(s)                                                                                                                                   Social Security Number

TONY D. & ELIZABETH A. TOWNLEY
                                                                                                    Adjustment
  Form
  Name         Description                Income                                                                                                 Form 6251
                                                       Form 6251, Line 2k   Form 6251, Line 2l   Form 6251, Line 2m   Form 6251, Line 2n
                                                                                                                                              Other Adjustment
  K1- LOG CREEK, LLLP
       * REGULAR INCOME                   -18,890.
          DEPR ADJ                             -1.                                        -1.
       * AMT NET INCOME                   -18,891.                                        -1.

K-1- PLUCKED CHICKEN, INC.
      * REGULAR INCOME                35,991,492.
         BASIS ALLOWED               -35,991,492.                                                                      -35991492.
         AMT BASIS ALLOWED            35,291,871.                                                                     35,291,871.
         AMT BASIS ADJ                   699,621.
         AMT ADJUSTMENTS                -699,621.
      * AMT NET INCOME                35,291,871.                                                                        -699,621.

    E- FRAZER CREEK INVESTMEN
       TS, LLC - VARIOUS (FRA
        * REGULAR INCOME                 -185,500.
           AMT DEPR ADJ                      -122.                                                        -122.
           PAL DISALLOWED                  -5,833.                                                      -5,833.
        * AMT NET INCOME                 -191,455.                                                      -5,955.

4797 820 AGRICULTURE DR
      * REGULAR GAIN/LOSS                  91,881.
         REGULAR BASIS                    243,119.                                                   243,119.
         AMT BASIS                       -243,119.                                                  -243,119.
      * AMT NET GAIN/LOSS                  91,881.




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                                              ALTERNATIVE MINIMUM TAX RECONCILIATION REPORT

 Name(s)                                                                                                                                      Social Security Number

TONY D. & ELIZABETH A. TOWNLEY
                                                                                                       Adjustment
  Form
  Name         Description                Income                                                                                                    Form 6251
                                                          Form 6251, Line 2k   Form 6251, Line 2l   Form 6251, Line 2m   Form 6251, Line 2n
                                                                                                                                                 Other Adjustment
    E- EAT HOLDINGS, LLC - 75
       5 NORTH HWY 29, ATHENS
        * REGULAR INCOME                  107,010.
        * AMT NET INCOME                  107,010.

  K1- LAND WARRIORS, LLC
       * REGULAR INCOME                     -4,400.
          PAL CARRYOVER                      5,155.                                                         5,155.
          AMT PAL CARRYOVER                 -4,879.                                                        -4,879.
          PAL DISALLOWED                      -274.                                                          -274.
       * AMT NET INCOME                     -4,398.                                                             2.

  K1- TOWNLEY FAMILY PARTNER
      SHIP, LLLP
       * REGULAR INCOME                            -90.
          PAL CARRYOVER                             96.                                                          96.
          AMT PAL CARRYOVER                        -96.                                                         -96.
          PAL DISALLOWED                            -6.                                                          -6.
          AMT PAL DISALLOWED                        96.                                                          96.
       * AMT NET INCOME                              0.                                                          90.

  K1- TOWNLEY FAMILY PARTNER
      SHIP, LLLP
       * REGULAR INCOME                     -4,496.
          PAL CARRYOVER                      4,776.                                                         4,776.
          AMT PAL CARRYOVER                 -4,776.                                                        -4,776.
          PAL DISALLOWED                      -280.                                                          -280.
          AMT PAL DISALLOWED                 4,776.                                                         4,776.
       * AMT NET INCOME                          0.                                                         4,496.




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                                                  ALTERNATIVE MINIMUM TAX RECONCILIATION REPORT

 Name(s)                                                                                                                                       Social Security Number

TONY D. & ELIZABETH A. TOWNLEY
                                                                                                        Adjustment
  Form
  Name             Description                Income                                                                                                 Form 6251
                                                           Form 6251, Line 2k   Form 6251, Line 2l   Form 6251, Line 2m   Form 6251, Line 2n
                                                                                                                                                  Other Adjustment
  K1- TOWNLEY FAMILY PARTNER
      SHIP, LLLP
       * REGULAR INCOME                         -4,405.
          PAL CARRYOVER                          4,680.                                                      4,680.
          AMT PAL CARRYOVER                     -4,680.                                                     -4,680.
          PAL DISALLOWED                          -275.                                                       -275.
          AMT PAL DISALLOWED                     4,680.                                                      4,680.
       * AMT NET INCOME                              0.                                                      4,405.


           ** TOTAL ADJ & PREF **                                                  -163,179.                 3,038.          -699,621.




819911
08-07-18
                     Case 3:22-cv-00107-CDL                      AMENDED
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         8959
                                                                                                                                      OMB No. 1545-0074
                                                         Additional Medicare Tax
                                                                                                                                       2018
Form
                                        | If any line does not apply to you, leave it blank. See separate instructions.
Department of the Treasury                         | Attach to Form 1040, 1040NR, 1040-PR, or 1040-SS.                                Attachment
Internal Revenue Service                                                                                                              Sequence No. 71
                                        | Go to www.irs.gov/Form8959 for instructions and the latest information.
Name(s) shown on return                                                                                                   Your social security number
TONY D. & ELIZABETH A. TOWNLEY
 Part I Additional Medicare Tax on Medicare Wages
  1 Medicare wages and tips from Form W-2, box 5. If you have
    more than one Form W-2, enter the total of the amounts
      from box 5       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       1
  2 Unreported tips from Form 4137, line 6 ~~~~~~~~~~~~~~~~~~~~~                                 2
  3 Wages from Form 8919, line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      3
  4 Add lines 1 through 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4
  5 Enter the following amount for your filing status:
      Married filing jointly ~~~~~~~~~~~~~~                 $250,000
      Married filing separately ~~~~~~~~~~~~                $125,000
      Single, Head of household, or Qualifying widow(er) $200,000 ~~~~~~~~~~~               5
  6 Subtract line 5 from line 4. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   6
  7 Additional Medicare Tax on Medicare wages. Multiply line 6 by 0.9% (0.009). Enter here and go to Part II             7
 Part II          Additional Medicare Tax on Self-Employment Income
  8 Self-employment income from Schedule SE (Form 1040),
    Section A, line 4, or Section B, line 6. If you had a loss, enter
      -0- (Form 1040-PR and Form 1040-SS filers, see instructions.)     ~~~~~~~~~~               8      1,817,266.
  9 Enter the following amount for your filing status:
    Married filing jointly ~~~~~~~~~~~~~~                   $250,000
      Married filing separately ~~~~~~~~~~~~                $125,000
      Single, Head of household, or Qualifying widow(er) $200,000 ~~~~~~~~~~~                    9          250,000.
10 Enter the amount from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     10
11 Subtract line 10 from line 9. If zero or less, enter -0- ~~~~~~~~~~~~~~~~             11   250,000.
12 Subtract line 11 from line 8. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   12     1,567,266.
13 Additional Medicare Tax on self-employment income. Multiply line 12 by 0.9% (0.009). Enter
      here and go to Part III                                                    13            14,105.
 Part III         Additional Medicare Tax on Railroad Retirement Tax Act (RRTA) Compensation
14 Railroad retirement (RRTA) compensation and tips from
   Form(s) W-2, box 14 (see instructions) ~~~~~~~~~~~~~~~~~~~~~~                                14
15 Enter the following amount for your filing status:
   Married filing jointly ~~~~~~~~~~~~~~                    $250,000
      Married filing separately ~~~~~~~~~~~~                $125,000
      Single, Head of household, or Qualifying widow(er) $200,000 ~~~~~~~~~~~             15
16 Subtract line 15 from line 14. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   16
17 Additional Medicare Tax on railroad retirement (RRTA) compensation. Multiply line 16 by
      0.9% (0.009). Enter here and go to Part IV                                          17
 Part IV          Total Additional Medicare Tax
18 Add lines 7, 13, and 17. Also include this amount on Schedule 4 (Form 1040), line 62 (check
   box a) (Form 1040NR, 1040-PR, and 1040-SS filers, see instructions), and go to Part V                         18            14,105.
 Part V           Withholding Reconciliation
19 Medicare tax withheld from Form W-2, box 6. If you have more than
   one Form W-2, enter the total of the amounts from box 6 ~~~~~~~~~~~~~                        19
20 Enter the amount from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     20
21 Multiply line 20 by 1.45% (0.0145). This is your regular
   Medicare tax withholding on Medicare wages ~~~~~~~~~~~~~~~~~~                                 21
22 Subtract line 21 from line 19. If zero or less, enter -0-. This is your Additional Medicare Tax
   withholding on Medicare wages ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     22
23 Additional Medicare Tax withholding on railroad retirement (RRTA) compensation from Form
   W-2, box 14 (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   23
24 Total Additional Medicare Tax withholding. Add lines 22 and 23. Also include this
   amount with federal income tax withholding on Form 1040, line 16 (Form 1040NR, 1040-PR,
      and 1040-SS filers, see instructions)                                             24
823111 11-30-18     LHA      For Paperwork Reduction Act Notice, see your tax return instructions.                                      Form 8959 (2018)
                      Case 3:22-cv-00107-CDL                       AMENDED
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                                                       Net Investment Income Tax -
          8960
                                                                                                                                        OMB No. 1545-2227



                                                                                                                                         2018
Form
                                                      Individuals, Estates, and Trusts
Department of the Treasury
                                                                    | Attach to your tax return.                                        Attachment
Internal Revenue Service (99)            | Go to www.irs.gov/Form8960 for instructions and the latest information.                      Sequence No. 72

Name(s) shown on your tax return                                                                                        Your social security number or EIN
TONY D. & ELIZABETH A. TOWNLEY
 Part I Investment Income Section 6013(g) election (see instructions)
                                                      Section 6013(h) election (see instructions)
                                                      Regulations section 1.1411-10(g) election (see instructions)
  1       Taxable interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1      2,501,137.
  2       Ordinary dividends (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2        126,700.
  3       Annuities (see instructions)                                                 3
  4a      Rental real estate, royalties, partnerships, S corporations, trusts,
          etc. (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     4a    38,228,197.
      b   Adjustment for net income or loss derived in the ordinary course of
          a non-section 1411 trade or business (see instructions)     4b -38,320,078.
                                                                       STATEMENT 32
                                                                       ~~~~~~~~~~~~
      c   Combine lines 4a and 4b                                                     4c         -91,881.
  5a      Net gain or loss from disposition of property (see instructions)    ~~~~~~~~~             5a      1,420,869.
      b   Net gain or loss from disposition of property that is not subject to
          net investment income tax (see instructions) ~~~~~~~~~~~~~~~~~~                           5b        -602,215.
      c   Adjustment from disposition of partnership interest or S corporation
          stock (see instructions)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~     5c
      d   Combine lines 5a through 5c      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             5d         818,654.
  6       Adjustments to investment income for certain CFCs and PFICs (see instructions) ~~~~~~~~~~~~~~~                        6
  7       Other modifications to investment income (see instructions)                 SEE STATEMENT 33
                                                                             ~~~~~~~~~~~~~~~~~~~~~~~~~                          7         42,100.
  8       Total investment income. Combine lines 1, 2, 3, 4c, 5d, 6, and 7                               8      3,396,710.
 Part II         Investment Expenses Allocable to Investment Income and Modifications
  9a      Investment interest expenses (see instructions)      ~~~~~~~~~~~~~~~~                     9a
      b   State, local, and foreign income tax (see instructions)    ~~~~~~~~~~~~~                  9b               10,000.
      c   Miscellaneous investment expenses (see instructions) ~~~~~~~~~~~~~
                                                                 9c
      d   Add lines 9a, 9b, and 9c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  9d            10,000.
10        Additional modifications (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        10
11        Total deductions and modifications. Add lines 9d and 10                                    11            10,000.
 Part III        Tax Computation
12        Net investment income. Subtract Part II, line 11, from Part I, line 8. Individuals, complete
          lines 13-17. Estates and trusts, complete lines 18a-21. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~                  12     3,386,710.
          Individuals:
13        Modified adjusted gross income (see instructions) ~~~~~~~~~~~~~~~                         13    44,318,207.
14        Threshold based on filing status (see instructions) ~~~~~~~~~~~~~~~                       14       250,000.
15        Subtract line 14 from line 13. If zero or less, enter -0- ~~~~~~~~~~~~~~
                                                                          15                              44,068,207.
16        Enter the smaller of line 12 or line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         16     3,386,710.
17        Net investment income tax for individuals. Multiply line 16 by 3.8% (0.038). Enter here and
          include on your tax return (see instructions)      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17          128,695.
          Estates and Trusts:
18a       Net investment income (line 12 above) ~~~~~~~~~~~~~~~~~~~~~                               18a
      b   Deductions for distributions of net investment income and
          deductions under section 642(c) (see instructions) ~~~~~~~~~~~~~~~                        18b
      c   Undistributed net investment income. Subtract line 18b from 18a (see
          instructions). If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~                          18c
19a       Adjusted gross income (see instructions)       ~~~~~~~~~~~~~~~~~~~                        19a
      b   Highest tax bracket for estates and trusts for the year (see
          instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          19b
      c   Subtract line 19b from line 19a. If zero or less, enter -0- ~~~~~~~~~~~~~
                                                                             19c
20        Enter the smaller of line 18c or line 19c    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      20
21        Net investment income tax for estates and trusts. Multiply line 20 by 3.8% (0.038). Enter here
          and include on your tax return (see instructions)                                       21
LHA       For Paperwork Reduction Act Notice, see your tax return instructions.                                                           Form 8960 (2018)


823121 01-09-19
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        8582                                        Passive Activity Loss Limitations
                                                                                                                                              OMB No. 1545-1008



                                                                                                                                               2018
Form
                                                                     | See separate instructions.
Department of the Treasury                                     | Attach to Form 1040 or Form 1041.                                            Attachment
Internal Revenue Service (99)
                                         | Go to www.irs.gov/Form8582 for instructions and the latest information.                            Sequence No.   88
Name(s) shown on return                                                                                                             Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part I 2018 Passive Activity Loss Caution: Complete Worksheets 1, 2, and 3 before completing Part I.
Rental Real Estate Activities With Active Participation (For the definition of active participation, see
Special Allowance for Rental Real Estate Activities in the instructions.)
 1a Activities with net income (enter the amount from Worksheet 1,
    column (a)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 1a             198,891.
     b Activities with net loss (enter the amount from Worksheet 1,
       column (b)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              1b    (        191,333.)
     c Prior years' unallowed losses (enter the amount from Worksheet
       1, column (c)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1c    (                       )
     d Combine lines 1a, 1b, and 1c                                                        1d                 7,558.
Commercial Revitalization Deductions From Rental Real Estate Activities
 2a Commercial revitalization deductions from Worksheet 2, column (a) ~~~~~~                      2a    (                       )
     b Prior year unallowed commercial revitalization deductions from
       Worksheet 2, column (b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                       2b (           )
  c Add lines 2a and 2b                                                                2c    (                        )
All Other Passive Activities
 3a Activities with net income (enter the amount from Worksheet 3,
    column (a)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3a                     481.
     b Activities with net loss (enter the amount from Worksheet 3,
       column (b)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3b    (                       )
  c Prior years' unallowed losses (enter the amount from Worksheet 3,
    column (c)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3c (            14,707.)
  d Combine lines 3a, 3b, and 3c                                                            3d             -14,226.
 4 Combine lines 1d, 2c, and 3d. If this line is zero or more, stop here and include this form with your return; all
       losses are allowed, including any prior year unallowed losses entered on line 1c, 2b, or 3c. Report the losses on
       the forms and schedules normally used         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4               -6,668.
       If line 4 is a loss and:   ¥ Line 1d is a loss, go to Part II.
                                  ¥ Line 2c is a loss (and line 1d is zero or more), skip Part II and go to Part III.
                                  ¥ Line 3d is a loss (and lines 1d and 2c are zero or more), skip Parts II and III and go to line 15.
 Caution: If your filing status is married filing separately and you lived with your spouse at any time during the year, do not complete
 Part II or Part III. Instead, go to line 15.
 Part II       Special Allowance for Rental Real Estate Activities With Active Participation
               Note: Enter all numbers in Part II as positive amounts. See instructions for an example.
 5     Enter the smaller of the loss on line 1d or the loss on line 4                                      5
 6     Enter $150,000. If married filing separately, see instructions     ~~~~~~~~~                6
 7     Enter modified adjusted gross income, but not less than zero (see instructions)             7
       Note: If line 7 is greater than or equal to line 6, skip lines 8 and
       9, enter -0- on line 10. Otherwise, go to line 8.
 8     Subtract line 7 from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                8
 9     Multiply line 8 by 50% (0.50). Do not enter more than $25,000. If married filing separately, see instructions       ~~        9
10     Enter the smaller of line 5 or line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  10
       If line 2c is a loss, go to Part III. Otherwise, go to line 15.
 Part III Special Allowance for Commercial Revitalization Deductions From Rental Real Estate Activities
               Note: Enter all numbers in Part III as positive amounts. See the example for Part II in the instructions.
11     Enter $25,000 reduced by the amount, if any, on line 10. If married filing separately, see instructions          ~~~~~       11
12     Enter the loss from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       12
13     Reduce line 12 by the amount on line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  13
14     Enter the smallest of line 2c (treated as a positive amount), line 11, or line 13                           14
 Part IV Total Losses Allowed
15     Add the income, if any, on lines 1a and 3a and enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~                                     15             199,372.
16     Total losses allowed from all passive activities for 2018. Add lines 10, 14, and 15. See instructions
                                                                                      SEE STATEMENT 43
       to find out how to report the losses on your tax return                                          16             199,372.
LHA     819761 01-09-19    For Paperwork Reduction Act Notice, see instructions.                                                                Form 8582 (2018)
                  Case 3:22-cv-00107-CDL                    AMENDED
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Form 8582 (2018) TONY D. & ELIZABETH A. TOWNLEY                                                                                                       Page 2
Caution: The worksheets must be filed with your tax return. Keep a copy for your records.
Worksheet 1 - For Form 8582, Lines 1a, 1b, and 1c (See instructions.)
                                                               Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss         (c) Unallowed
                                                                                                                        (d) Gain              (e) Loss
                                                        (line 1a)           (line 1b)           loss (line 1c)




                                                    SEE ATTACHED STATEMENT FOR WORKSHEET 1
Total. Enter on Form 8582, lines 1a,
1b, and 1c        |     198,891. -191,333.
Worksheet 2 - For Form 8582, Lines 2a and 2b (See instructions.)
                                                         (a) Current year                  (b) Prior year
                  Name of activity                                                                                                 (c) Overall loss
                                                       deductions (line 2a)        unallowed deductions (line 2b)




Total. Enter on Form 8582, lines 2a
and 2b                      |
Worksheet 3 - For Form 8582, Lines 3a, 3b, and 3c (See instructions.)
                                                               Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss         (c) Unallowed
                                                                                                                        (d) Gain              (e) Loss
                                                        (line 3a)           (line 3b)           loss (line 3c)




                                                    SEE ATTACHED STATEMENT FOR WORKSHEET 3
Total. Enter on Form 8582, lines 3a,
3b, and 3c        |          481.                    -14,707.
Worksheet 4 - Use this worksheet if an amount is shown on Form 8582, line 10 or 14 (See instructions.)
                                                  Form or schedule
                                                                                                                                           (d) Subtract
                                                   and line number                                                     (c) Special
                  Name of activity                                           (a) Loss                (b) Ratio                              column (c)
                                                  to be reported on                                                    allowance
                                                                                                                                         from column (a)
                                                  (see instructions)




Total                                |
Worksheet 5 - Allocation of Unallowed Losses (See instructions.)
                                                        Form or schedule
                                                         and line number
                  Name of activity                                                       (a) Loss                 (b) Ratio           (c) Unallowed loss
                                                        to be reported on
                                                        (see instructions)




                                                      SEE ATTACHED STATEMENT FOR WORKSHEET 5

Total                                    |             113,678. 1.000000000                                    6,668.
819762 01-09-19                                                                                                                            Form 8582 (2018)
                   Case 3:22-cv-00107-CDL                  AMENDED
                                                          Document 1-5 Filed 10/28/22                         Page 60 of 163
             TONY D. & ELIZABETH A. TOWNLEY
Form 8582 (2018)                                                                                                                            Page 3
Worksheet 6 - Allowed Losses (See instructions.)
                                                       Form or schedule
                                                        and line number
                    Name of activity                                              (a) Loss               (b) Unallowed loss     (c) Allowed loss
                                                       to be reported on
                                                       (see instructions)




                                                    SEE ATTACHED STATEMENT FOR WORKSHEET 6

Total                |         14,707.               835.          13,872.
Worksheet 7 - Activities With Losses Reported on Two or More Forms or Schedules (See instructions.)
Name of activity:                                                                                               (d) Unallowed
                                                         (a)                (b)              (c) Ratio                           (e) Allowed loss
                                                                                                                     loss

Form or schedule and line number
to be reported on (see
instructions): ~~~~~~~~~~~~~~~~
1a Net loss plus prior year unallowed
   loss from form or schedule ~~~~~~ |
 b Net income from form or
   schedule ~~~~~~~~~~~~~~~                  |


 c Subtract line 1b from line 1a. If zero or less, enter -0-  |
Form or schedule and line number
to be reported on (see
instructions): ~~~~~~~~~~~~~~~~
1a Net loss plus prior year unallowed
   loss from form or schedule ~~~~~~ |
 b Net income from form or
   schedule ~~~~~~~~~~~~~~~                  |


 c Subtract line 1b from line 1a. If zero or less, enter -0-  |
Form or schedule and line number
to be reported on (see
instructions): ~~~~~~~~~~~~~~~~
1a Net loss plus prior year unallowed
   loss from form or schedule ~~~~~~ |
 b Net income from form or
   schedule ~~~~~~~~~~~~~~~                  |
                                                    SEE ATTACHED STATEMENT FOR WORKSHEET 7
 c Subtract line 1b from line 1a. If zero or less, enter -0-  |
                                               OVERALL
Total                              |      191,333. 1.0000000                            5,833.        185,500.
                                                                                                                                   Form 8582 (2018)




819763 01-09-19
                     Case 3:22-cv-00107-CDL                          AMENDED
                                                                    Document 1-5 Filed 10/28/22                           Page 61 of 163
                                                            ALTERNATIVE MINIMUM TAX

        8582                                        Passive Activity Loss Limitations
                                                                                                                                              OMB No. 1545-1008



                                                                                                                                               2018
Form
                                                                     | See separate instructions.
Department of the Treasury                                     | Attach to Form 1040 or Form 1041.                                            Attachment
Internal Revenue Service (99)
                                         | Go to www.irs.gov/Form8582 for instructions and the latest information.                            Sequence No.   88
Name(s) shown on return                                                                                                             Identifying number

TONY D. & ELIZABETH A. TOWNLEY
 Part I 2018 Passive Activity Loss Caution: Complete Worksheets 1, 2, and 3 before completing Part I.
Rental Real Estate Activities With Active Participation (For the definition of active participation, see
Special Allowance for Rental Real Estate Activities in the instructions.)
 1a Activities with net income (enter the amount from Worksheet 1,
    column (a)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 1a             198,891.
     b Activities with net loss (enter the amount from Worksheet 1,
       column (b)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              1b    (        191,455.)
     c Prior years' unallowed losses (enter the amount from Worksheet
       1, column (c)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1c    (                       )
     d Combine lines 1a, 1b, and 1c                                                        1d                 7,436.
Commercial Revitalization Deductions From Rental Real Estate Activities
 2a Commercial revitalization deductions from Worksheet 2, column (a) ~~~~~~                      2a    (                       )
     b Prior year unallowed commercial revitalization deductions from
       Worksheet 2, column (b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                       2b (           )
  c Add lines 2a and 2b                                                                2c    (                        )
All Other Passive Activities
 3a Activities with net income (enter the amount from Worksheet 3,
    column (a)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3a                     481.
     b Activities with net loss (enter the amount from Worksheet 3,
       column (b)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3b    (                       )
  c Prior years' unallowed losses (enter the amount from Worksheet 3,
    column (c)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3c (              4,879.)
  d Combine lines 3a, 3b, and 3c                                                            3d               -4,398.
 4 Combine lines 1d, 2c, and 3d. If this line is zero or more, stop here and include this form with your return; all
       losses are allowed, including any prior year unallowed losses entered on line 1c, 2b, or 3c. Report the losses on
       the forms and schedules normally used         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4                 3,038.
       If line 4 is a loss and:   ¥ Line 1d is a loss, go to Part II.
                                  ¥ Line 2c is a loss (and line 1d is zero or more), skip Part II and go to Part III.
                                  ¥ Line 3d is a loss (and lines 1d and 2c are zero or more), skip Parts II and III and go to line 15.
 Caution: If your filing status is married filing separately and you lived with your spouse at any time during the year, do not complete
 Part II or Part III. Instead, go to line 15.
 Part II       Special Allowance for Rental Real Estate Activities With Active Participation
               Note: Enter all numbers in Part II as positive amounts. See instructions for an example.
 5     Enter the smaller of the loss on line 1d or the loss on line 4                                      5
 6     Enter $150,000. If married filing separately, see instructions     ~~~~~~~~~                6
 7     Enter modified adjusted gross income, but not less than zero (see instructions)             7
       Note: If line 7 is greater than or equal to line 6, skip lines 8 and
       9, enter -0- on line 10. Otherwise, go to line 8.
 8     Subtract line 7 from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                8
 9     Multiply line 8 by 50% (0.50). Do not enter more than $25,000. If married filing separately, see instructions       ~~        9
10     Enter the smaller of line 5 or line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  10
       If line 2c is a loss, go to Part III. Otherwise, go to line 15.
 Part III Special Allowance for Commercial Revitalization Deductions From Rental Real Estate Activities
               Note: Enter all numbers in Part III as positive amounts. See the example for Part II in the instructions.
11     Enter $25,000 reduced by the amount, if any, on line 10. If married filing separately, see instructions          ~~~~~       11
12     Enter the loss from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       12
13     Reduce line 12 by the amount on line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  13
14     Enter the smallest of line 2c (treated as a positive amount), line 11, or line 13                           14
 Part IV Total Losses Allowed
15     Add the income, if any, on lines 1a and 3a and enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~                                     15
16     Total losses allowed from all passive activities for 2018. Add lines 10, 14, and 15. See instructions
       to find out how to report the losses on your tax return                                          16
LHA     819761 01-09-19    For Paperwork Reduction Act Notice, see instructions.                                                                Form 8582 (2018)
                  Case 3:22-cv-00107-CDL                    AMENDED
                                                           Document 1-5 Filed 10/28/22                            Page 62 of 163
                                  ALTERNATIVE MINIMUM TAX
Form 8582 (2018) TONY D. & ELIZABETH A. TOWNLEY                                                                                                       Page 2
Caution: The worksheets must be filed with your tax return. Keep a copy for your records.
Worksheet 1 - For Form 8582, Lines 1a, 1b, and 1c (See instructions.)
                                                               Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss         (c) Unallowed
                                                                                                                        (d) Gain              (e) Loss
                                                        (line 1a)           (line 1b)           loss (line 1c)




                                                      SEE ATTACHED STATEMENT FOR WORKSHEET 1
Total. Enter on Form 8582, lines 1a,
1b, and 1c        |     198,891. -191,455.
Worksheet 2 - For Form 8582, Lines 2a and 2b (See instructions.)
                                                         (a) Current year                  (b) Prior year
                  Name of activity                                                                                                 (c) Overall loss
                                                       deductions (line 2a)        unallowed deductions (line 2b)




Total. Enter on Form 8582, lines 2a
and 2b                      |
Worksheet 3 - For Form 8582, Lines 3a, 3b, and 3c (See instructions.)
                                                               Current year                         Prior years               Overall gain or loss
                  Name of activity
                                                    (a) Net income        (b) Net loss         (c) Unallowed
                                                                                                                        (d) Gain              (e) Loss
                                                        (line 3a)           (line 3b)           loss (line 3c)




                                                      SEE ATTACHED STATEMENT FOR WORKSHEET 3
Total. Enter on Form 8582, lines 3a,
3b, and 3c        |          481.                      -4,879.
Worksheet 4 - Use this worksheet if an amount is shown on Form 8582, line 10 or 14 (See instructions.)
                                                  Form or schedule
                                                                                                                                           (d) Subtract
                                                   and line number                                                     (c) Special
                  Name of activity                                           (a) Loss                (b) Ratio                              column (c)
                                                  to be reported on                                                    allowance
                                                                                                                                         from column (a)
                                                  (see instructions)




Total                                |
Worksheet 5 - Allocation of Unallowed Losses (See instructions.)
                                                        Form or schedule
                                                         and line number
                  Name of activity                                                       (a) Loss                 (b) Ratio           (c) Unallowed loss
                                                        to be reported on
                                                        (see instructions)




Total                                    |
819762 01-09-19                                                                                                                            Form 8582 (2018)
                            Case 3:22-cv-00107-CDL                                           AMENDED
                                                                                            Document 1-5 Filed 10/28/22                                               Page 63 of 163

            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE E- 1
                                                                                                                                                                                                 2018
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number

                                                                                                                           EAT HOLDINGS, LLC - 755
TONY D. & ELIZABETH A. TOWNLEY                                                                                             NORTH HWY 29, ATHENS, GA
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2017 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2019. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2018                                                    ~~~~~~~~~~~~~~                                17
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2018 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2018 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22                             0.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
816251 12-26-18          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2018)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 1-5 Filed 10/28/22                              Page 64 of 163

Form 4562 (2018)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2018 tax year:



                                                            ! !
43 Amortization of costs that began before your 2018 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
816252 12-26-18                                                                                                                                                    Form 4562 (2018)
                            Case 3:22-cv-00107-CDL                                           AMENDED
                                                                                            Document 1-5 Filed 10/28/22                                               Page 65 of 163

            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE F- 1
                                                                                                                                                                                                 2018
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



TONY D. & ELIZABETH A. TOWNLEY                                                   LOG CREEK TRUST
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2017 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2019. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2018                                                    ~~~~~~~~~~~~~~                                17
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2018 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2018 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22                             0.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
816251 12-26-18          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2018)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 1-5 Filed 10/28/22                              Page 66 of 163

Form 4562 (2018)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2018 tax year:



                                                            ! !
43 Amortization of costs that began before your 2018 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
816252 12-26-18                                                                                                                                                    Form 4562 (2018)
                            Case 3:22-cv-00107-CDL                                           AMENDED
                                                                                            Document 1-5 Filed 10/28/22                                               Page 67 of 163

            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE E- 2
                                                                                                                                                                                                 2018
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number

                                                                                                                           FRAZER CREEK
TONY D. & ELIZABETH A. TOWNLEY                                                                                             INVESTMENTS, LLC - VARIO
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2017 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2019. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2018                                                    ~~~~~~~~~~~~~~                                17             158,305.
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2018 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property                                                                                                                                                             17,028.
                                                                                   /          STATEMENT 47                                27.5 yrs.             MM                S/L
                                                                                   /                39 yrs.                                                     MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2018 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22             175,333.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
816251 12-26-18          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2018)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 1-5 Filed 10/28/22                              Page 68 of 163

Form 4562 (2018)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2018 tax year:



                                                            ! !
43 Amortization of costs that began before your 2018 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
816252 12-26-18                                                                                                                                                    Form 4562 (2018)
                            Case 3:22-cv-00107-CDL                                           AMENDED
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            4562                                                         Depreciation and Amortization                                                                                         OMB No. 1545-0172

Form


Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                     | Attach to your tax return. SCHEDULE C- 7
                                                                                                                                                                                                 2018
                                                                                                                                                                                                 Attachment
Internal Revenue Service   (99)                         | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                Sequence No. 179
Name(s) shown on return                                                                                                      Business or activity to which this form relates                  Identifying number



TONY D. & ELIZABETH A. TOWNLEY                                                   OTF MANAGEMENT, LLC
 Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
 1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
 2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
 3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
 5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
 6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




 7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
10 Carryover of disallowed deduction from line 13 of your 2017 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11


                                                                                                                                         9
12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
13 Carryover of disallowed deduction to 2019. Add lines 9 and 10, less line 12                                                                 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
 Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
14 Special depreciation allowance for qualified property (other than listed property) placed in service during
   the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
16 Other depreciation (including ACRS)                                                                                                          16
 Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2018                                                    ~~~~~~~~~~~~~~                                17                   2,534.
18                                                                                                           J
         If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                     Section B - Assets Placed in Service During 2018 Tax Year Using the General Depreciation System
                                                                           (b) Month and            (c) Basis for depreciation
                    (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service             only - see instructions)                 period


19a            3-year property
     b         5-year property
     c         7-year property
     d         10-year property
     e         15-year property
     f         20-year property
     g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                   /                                                      27.5 yrs.             MM                S/L
     h         Residential rental property
                                                                                   /                                                      27.5 yrs.             MM                S/L
                                                                                   /                                                       39 yrs.              MM                S/L
     i         Nonresidential real property
                                                                 /                                                 MM         S/L
                                   Section C - Assets Placed in Service During 2018 Tax Year Using the Alternative Depreciation System
20a            Class life                                                                                                                                                         S/L
  b            12-year                                                                                                                     12 yrs.                                S/L
  c            30-year                                                             /                                                       30 yrs.              MM                S/L
  d            40-year                                                             /                                                       40 yrs.              MM                S/L
 Part IV              Summary (See instructions.)
21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
         Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22                   2,534.
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                         23
816251 12-26-18          LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                       Form 4562 (2018)
                  Case 3:22-cv-00107-CDL                             AMENDED
                                                                    Document 1-5 Filed 10/28/22                              Page 70 of 163

Form 4562 (2018)                 TONY D. & ELIZABETH A. TOWNLEY                                                                                                                Page 2
 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
            entertainment, recreation, or amusement.)
            Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
            24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?              Yes              No 24b If "Yes," is the evidence written?                      Yes        No
              (a)                 (b)              (c)                (d)                      (e)             (f)          (g)             (h)                              (i)
      Type of property            Date          Business/                            Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                      Elected
                               placed in       investment           Cost or
     (list vehicles first)                                       other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                      section 179
                                service      use percentage                                 use only)
                                                                                                                                                                           cost
25 Special depreciation allowance for qualified listed property placed in service during the tax year and
   used more than 50% in a qualified business use                                                     25



                                      ! !
26 Property used more than 50% in a qualified business use:



                                      ! !
                                                          %



                                      ! !
                                                          %
                                                          %



                                      ! !
27 Property used 50% or less in a qualified business use:



                                      ! !
                                                          %                                                          S/L -



                                      ! !
                                                          %                                                          S/L -
                                                          %                                                          S/L -
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                            29
                                                         Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                      (a)              (b)               (c)               (d)                        (e)                     (f)
30 Total business/investment miles driven during the                Vehicle          Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
   year (don't include commuting miles) ~~~~~~~
31 Total commuting miles driven during the year ~
32 Total other personal (noncommuting) miles
    driven~~~~~~~~~~~~~~~~~~~~~
33 Total miles driven during the year.
   Add lines 30 through 32 ~~~~~~~~~~~~
34 Was the vehicle available for personal use                  Yes         No     Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
   during off-duty hours? ~~~~~~~~~~~~
35 Was the vehicle used primarily by a more
   than 5% owner or related person? ~~~~~~
36 Is another vehicle available for personal
   use? 
                            Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                Yes        No
   employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
    the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI Amortization
                      (a)                               (b)                (c)                    (d)         (e)                                                     (f)
                   Description of costs                Date amortization        Amortizable                 Code                 Amortization                  Amortization
                                                            begins               amount                    section           period or percentage              for this year




                                                            ! !
42 Amortization of costs that begins during your 2018 tax year:



                                                            ! !
43 Amortization of costs that began before your 2018 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    43
44 Total. Add amounts in column (f). See the instructions for where to report                                            44
816252 12-26-18                                                                                                                                                    Form 4562 (2018)
                     Case 3:22-cv-00107-CDL                      AMENDED
                                                                Document 1-5 Filed 10/28/22                     Page 71 of 163
                                         Limitation on Business Interest Expense
Form   8990
(December 2018)
                                                   Under Section 163(j)                                                             OMB No. 1545-0123
                                                                    | Attach to your tax return.
Department of the Treasury
Internal Revenue Service          | Go to www.irs.gov/Form8990 for instructions and the latest information.
Taxpayer name(s) shown on tax return                                                                                  Identification number
    TONY D. & ELIZABETH A. TOWNLEY
 Part I Computation of Allowable Business Interest Expense
 Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
 taxpayer is a partner or shareholder of a pass-through entity subject to 163(j).

Section I - Business Interest Expense
   1      Current year business interest expense (not including floor plan
          financing interest expense), before the section 163(j) limitation ~~~~~~~          1      2,059,942.
   2      Disallowed business interest expense carryforwards from prior
          years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                        2
   3      Partner's excess business interest expense treated as paid or
          accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~               3
   4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                            4
   5      Total business interest expense. Add lines 1 through 4  |                                5        2,059,942.
Section II - Adjusted Taxable Income
                                                                       Taxable Income

   6      Taxable income. See instructions                                           6      18,015,934.

                                 Additions (adjustments to be made if amounts are taken into account on line 6)

   7      Any item of loss or deduction which is not properly allocable to a
          trade or business of the taxpayer. See instructions   ~~~~~~~~~~~~                 7     22,159,104.
   8      Any business interest expense not from a pass-through entity. See
          instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 8      1,158,248.
   9      Amount of any net operating loss deduction under section 172         ~~~~~~        9
 10       Amount of any qualified business income deduction allowed under
          section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10     4,133,169.
 11       Deduction allowable for depreciation, amortization, or depletion
          attributable to a trade or business   ~~~~~~~~~~~~~~~~~~~~                         11        177,867.
 12       Amount of any loss or deduction items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     12     4,810,931.
 13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                            13
 14       Total current year partner's excess taxable income (Schedule A, line
          44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14     6,395,052.
 15       Total current year S corporation shareholder's excess taxable
          income (Schedule B, line 46, column (c))   ~~~~~~~~~~~~~~~~~
                                                                 15   1,054,822.
 16       Total. Add lines 7 through 15  |                                          16      39,889,193.

                                 Reductions (adjustments to be made if amounts are taken into account on line 6)

 17       Any item of income or gain which is not properly allocable to a trade
          or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                      17
 18       Any business interest income not from a pass-through entity. See instructions      18
 19       Amount of any income or gain items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     19    43,117,618.
 20       Other reductions. See instructions    ~~~~~~~~~~~~~~~~~~~~                         20
 21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                        21      43,117,618.
 22       Adjusted taxable income. Combine lines 6, 16, and 21. (If zero or less, enter -0-.)  |              22      14,787,509.
Section III - Business Interest Income
 23       Current year business interest income. See instructions ~~~~~~~~~~                 23        900,000.
 24       Excess business interest income from pass-through entities (total of
          Schedule A, line 44, column (g), and Schedule B, line 46, column (d))     ~~~      24
 25      Total. Add lines 23 and 24  |                                             25           900,000.
823211 01-02-19 LHA For Paperwork Reduction Act Notice, see the instructions.                                                    Form 8990 (12-2018)
                  Case 3:22-cv-00107-CDL                       AMENDED
                                                              Document 1-5 Filed 10/28/22                            Page 72 of 163

Form 8990 (12-2018)                                                                                                                                  Page 2

Section IV - 163(j) Limitation Calculations

                                                      Limitation on Business Interest Expense

 26      Multiply adjusted taxable income (line 22) by 30% (0.30). See
         instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        26       4,436,253.
 27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                             27         900,000.
 28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                      28
 29      Total. Add lines 26, 27, and 28  |                                                29          5,336,253.

                                                        Allowable Business Interest Expense

 30      Total current year business interest expense deduction. See instructions                              30          2,059,942.

                                                                      Carryforward

 31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31
 Part II     Partnership Pass-Through Items
 Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
 and are not carried forward by the partnership. See the instructions for more information.

                                                          Excess Business Interest Expense

 32      Excess business interest expense. Enter amount from line 31                                     32

                               Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

 33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
 34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
 35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
 36      Excess Taxable Income. Multiply line 35 by line 22                                        36

                                                          Excess Business Interest Income

 37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       37
 Part III S Corporation Pass-Through Items
 Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
 See the instructions for more information.

                                                                Excess Taxable Income

 38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
 39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
 40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
 41      Excess Taxable Income. Multiply line 40 by line 22                                        41

                                                          Excess Business Interest Income

 42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
         less, enter -0-.)                                                       42
                                                                                                                                      Form 8990 (12-2018)




823212 01-02-19
                                            Case 3:22-cv-00107-CDL                       AMENDED
                                                                                        Document 1-5 Filed 10/28/22                                   Page 73 of 163

Form 8990 (12-2018)                                                                                                                                                                                                             Page 3
 SCHEDULE A                Summary of Partner's Section 163(j) Excess Items
 Any taxpayer that owns an interest in a partnership subject to section 163(j) should complete Schedule A before completing Part I.
                                                                                Excess Business Interest Expense                         (f) Current year      (g) Current year     (h) Excess business             (i) Current year
                                                                                                                                              excess           excess business    interest expense treated      excess business interest
           (a) Name of partnership                 (b) EIN        (c) Current               (d) Prior                (e) Total                                                       as paid or accrued          expense carryforward
                                                                      year             year carryforward           ((c) plus (d))        taxable income         interest income
                                                                                                                                                                                      (lesser of (e) or (f))         ((e) minus (h))
         M&T AVIATION, LLC
 43                                        0.                                                         0.                            0.   126,631.                            0.                        0.                          0.
         ZAXBY'S OPERATING COMPANY, LP (TDT)
                                           0.                                                         0.                            0. 6,268,421.                            0.                        0.                          0.




 44      Total  |                                                                 6,395,052.                0.                                                                              0.
 SCHEDULE B             Summary of S Corporation Shareholder's Excess Taxable Income and Excess Business Interest Income
 Any taxpayer that is required to complete Part I and is a shareholder in an S corporation that has excess taxable income or excess business interest income should complete Schedule B
 before completing Part I.

                                     (a) Name of S corporation                                             (b) EIN                           (c) Current year excess                         (d) Current year excess
                                                                                                                                                  taxable income                            business interest income


 45      PLUCKED CHICKEN, INC.                                                                                                                              1,054,822.                                                             0.




 46      Total  |                                                                                                       1,054,822.                                                             0.
                                                                                                                                                                                                               Form 8990 (12-2018)




823213 01-02-19
                                  Case 3:22-cv-00107-CDL      AMENDED
                                                             Document 1-5 Filed 10/28/22           Page 74 of 163
TONY D. & ELIZABETH A. TOWNLEY                             Business Interest Expense
                                                                                       Business Interest   Business Interest   Limited Business      Disallowed
                                         Description                                                                                              Business Interest
                                                                                           Expense          Expense Ratio      Interest Expense       Expense

  OTF MANAGEMENT, LLC                                                                           7,166.           .003479               7,167.                 -1.
  EAT HOLDINGS, LLC                                                                                  0.
  FRAZER CREEK INVESTMENTS, LLC                                                                      0.
  LOG CREEK TRUST                                                                                    0.




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 7,166.              .0035              7,167.                 -1.

                                                                                                                                                       823301 01-25-19
               Case 3:22-cv-00107-CDL    AMENDED
                                        Document 1-5 Filed 10/28/22   Page 75 of 163




           STATEMENT OF DISCLOSURE OF ACTIVITY GROUPINGS PURSUANT TO IRC
           SEC. 469 AND REG. 1.469-4

           NAME: TONY D. TOWNLEY
           TAXPAYER ID NUMBER:


           FOR THE TAX YEAR ENDING DECEMBER 31, 2018

           THE TAXPAYER HEREBY CONFIRMS THEIR EXISTING ELECTION TO GROUP THE
           FOLLOWING ACTIVITIES AS A SINGLE ACTIVITY. THE ACTIVITIES THAT ARE
           GROUPED INTO ONE ACTIVITY CONSTITUTE AN APPROPRIATE ECONOMIC UNIT FOR
           THE MEASUREMENT OF GAIN OR LOSS FOR THE PURPOSES OF IRC SECTION 469.

           THE ACTIVITIES THAT ARE BEING GROUPED ARE AS FOLLOWS:

           NAME: PLUCKED CHICKEN, INC. - PLUCKED CHICKEN, INC.
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:


           NAME: LAND WARRIORS, LLC - LAND WARRIORS, LLC
           ADDRESS: 1280 SNOWS MILL RD, BOGART, GA 30622
           EIN:


           NAME: CLUCKZ HOLDINGS, LLC
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:


           NAME: M&T AVIATION, LLC
           ADDRESS: 1040 FOUNDERS BLVD, ATHENS, GA 30606
           EIN:


           NAME: ZAXBY'S OPERATING COMPANY, LP (TDT)
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:


           NAME: CLUCKZ HOLDINGS, LLC (SECG)
           ADDRESS: 1040 FOUNDERS BLVD., ATHENS, GA 30606
           EIN:




826340
04-01-18
               Case 3:22-cv-00107-CDL    AMENDED
                                        Document 1-5 Filed 10/28/22   Page 76 of 163




           STATEMENT OF DISCLOSURE OF ACTIVITY GROUPINGS PURSUANT TO IRC
           SEC. 469 AND REG. 1.469-4

           NAME: TONY D. TOWNLEY
           TAXPAYER ID NUMBER:


           FOR THE TAX YEAR ENDING DECEMBER 31, 2018

           THE TAXPAYER HEREBY CONFIRMS THEIR EXISTING ELECTION TO GROUP THE
           FOLLOWING ACTIVITIES AS A SINGLE ACTIVITY. THE ACTIVITIES THAT ARE
           GROUPED INTO ONE ACTIVITY CONSTITUTE AN APPROPRIATE ECONOMIC UNIT FOR
           THE MEASUREMENT OF GAIN OR LOSS FOR THE PURPOSES OF IRC SECTION 469.

           THE ACTIVITIES THAT ARE BEING GROUPED ARE AS FOLLOWS:

           NAME: OTF MANAGEMENT, LLC
           ADDRESS: 1280 SNOWS MILL RD, BOGART, GA 30622

           NAME: OGEECHEE TIMBER, LLC - OGEECHEE TIMBER, LLC
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: TOWNLEY FAMILY PARTNERSHIP, LLLP
           ADDRESS: 1280 SNOWS MILL ROAD, BOGART, GA 30622
           EIN:


           NAME: TOWNLEY FAMILY PARTNERSHIP, LLLP
           ADDRESS: 1280 SNOWS MILL ROAD, BOGART, GA 30622
           EIN:


           NAME: TOWNLEY FAMILY PARTNERSHIP, LLLP
           ADDRESS: 1280 SNOWS MILL ROAD, BOGART, GA 30622
           EIN:




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04-01-18
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           NAME: INTEREST EXPENSE - LOG CREEK

           NAME: INTEREST EXPENSE - TOWNLEY FAMILY PARTNERSHIP

           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: LOG CREEK, LLLP - LOG CREEK, LLLP
           ADDRESS: 1280 SNOWS MILL RD., BOGART, GA 30622
           EIN:


           NAME: INTEREST EXPENSE - OGEECHEE TIMBER




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FORM 1040                      TAX-EXEMPT INTEREST               STATEMENT 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF PAYER                                                               AMOUNT
}}}}}}}}}}}}}                                                           }}}}}}}}}}}}}}
VANGUARD #9138                                                                 15,363.
FROM K-1 - PLUCKED CHICKEN, INC.                                               69,936.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                                 2,461.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                             781.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 1040, LINE 2A                                                    88,541.
                                                                        ~~~~~~~~~~~~~~

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FORM 1040                      QUALIFIED DIVIDENDS               STATEMENT 4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                         ORDINARY       QUALIFIED
NAME OF PAYER                                            DIVIDENDS      DIVIDENDS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
VANGUARD #9138                                              122,349.        63,174.
FROM K-1 - PLUCKED CHICKEN, INC.                              3,528.         1,405.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                 124.            50.
FROM K-1 - ZAXBY'S OPERATING COMPANY,
LP (TDT)                                                         660.             263.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                            39.              16.
                                                                        }}}}}}}}}}}}}}
TOTAL INCLUDED IN FORM 1040, LINE 3A                                           64,908.
                                                                        ~~~~~~~~~~~~~~




                                                                     STATEMENT(S) 3, 4
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SCHEDULE 1                     MISCELLANEOUS INCOME              STATEMENT 5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
ZAXBY'S FRANCHISING LLC                                                      989,265.

                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE 1, LINE 21                                                 989,265.
                                                                       ~~~~~~~~~~~~~~




                                                                         STATEMENT(S) 5
         Case 3:22-cv-00107-CDL     AMENDED
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SCHEDULE 1             STATE AND LOCAL INCOME TAX REFUNDS        STATEMENT 6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                       2017           2016           2015
                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
                                  ALABAMA
GROSS STATE/LOCAL INC TAX REFUNDS         31,142.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   ALABAMA                    31,142.

                                     GEORGIA
GROSS STATE/LOCAL INC TAX REFUNDS          752,090.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   GEORGIA                   752,090.

                                     LOUISIANA
GROSS STATE/LOCAL INC TAX REFUNDS            8,825.
LESS: TAX PAID IN FOLLOWING YEAR
REFUNDS NOT RECEIVED IN 2018                 -8,825.
                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   LOUISIANA                       0.

                                     NORTH CAROLINA
GROSS STATE/LOCAL INC TAX REFUNDS           43,388.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   NORTH CAROLINA             43,388.

                                     SOUTH CAROLINA
GROSS STATE/LOCAL INC TAX REFUNDS          297,202.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   SOUTH CAROLINA            297,202.

                                                      ALABAMA
GROSS STATE/LOCAL INC TAX REFUNDS                                48,814.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   ALABAMA                                   48,814.

                                                      LOUISIANA
GROSS STATE/LOCAL INC TAX REFUNDS                             2,059.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   LOUISIANA                                  2,059.

                                                      NORTH CAROLINA
GROSS STATE/LOCAL INC TAX REFUNDS                           215,475.
LESS: TAX PAID IN FOLLOWING YEAR

                                      }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS   NORTH CAROLINA                           215,475.

                                                                           STATEMENT(S) 6
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                                     }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL NET TAX REFUNDS                    1,123,822.       266,348.
                                     ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                         STATEMENT(S) 6
          Case 3:22-cv-00107-CDL    AMENDED
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SCHEDULE 1         TAXABLE STATE AND LOCAL INCOME TAX REFUNDS    STATEMENT 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                       2017           2016           2015
                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NET TAX REFUNDS FROM STATE AND
 LOCAL INCOME TAX REFUNDS STMT.       1,123,822.       266,348.


LESS:REFUNDS-NO BENEFIT DUE TO AMT
      -SALES TAX BENEFIT REDUCTION

1    NET REFUNDS FOR RECALCULATION        1,123,822.         266,348.

2    TOTAL ITEMIZED DEDUCTIONS
      BEFORE PHASEOUT                  6,160,748.     3,618,990.
3    DEDUCTION NOT SUBJ TO PHASEOUT    1,684,362.       533,286.
4    NET REFUNDS FROM LINE 1           1,123,822.       266,348.
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
5   LINE 2 MINUS LINES 3 AND 4         3,352,564.     2,819,356.
6   MULT LN 5 BY APPL SEC. 68 PCT      2,682,051.     2,255,485.
7   PRIOR YEAR AGI                    38,440,343.    21,695,438.
8   ITEM. DED. PHASEOUT THRESHOLD        313,800.       311,300.
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
9   SUBTRACT LINE 8 FROM LINE 7       38,126,543.    21,384,138.
    (IF ZERO OR LESS, SKIP LINES
    10 THROUGH 15, AND ENTER
    AMOUNT FROM LINE 1 ON LINE 16)
10 MULT LN 9 BY APPL SEC. 68 PCT       1,143,796.       641,524.
11 ALLOWABLE ITEMIZED DEDUCTIONS       2,208,768.     2,177,832.
    (LINE 5 LESS THE LESSER OF
     LINE 6 OR LINE 10)
12 ITEM DED. NOT SUBJ TO PHASEOUT      1,684,362.       533,286.
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
13A TOTAL ADJ. ITEMIZED DEDUCTIONS     3,893,130.     2,711,118.
13B PRIOR YR. STD. DED. AVAILABLE         12,700.        12,600.
14 PRIOR YR. ALLOWABLE ITEM. DED.      5,016,952.     2,977,466.
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
15 SUBTRACT THE GREATER OF LINE
     13A OR LINE 13B FROM LINE 14      1,123,822.       266,348.
16 TAXABLE REFUNDS                     1,123,822.       266,348.
    (LESSER OF LINE 15 OR LINE 1)
17 ALLOWABLE PRIOR YR. ITEM. DED.      5,016,952.     2,977,466.
18 PRIOR YEAR STD. DED. AVAILABLE         12,700.        12,600.
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
19 SUBTRACT LINE 18 FROM LINE 17       5,004,252.     2,964,866.
20 LESSER OF LINE 16 OR LINE 19        1,123,822.       266,348.
21 PRIOR YEAR TAXABLE INCOME          33,423,391.    18,717,972.

22   AMOUNT TO INCLUDE ON SCHEDULE 1, LINE 10
     * IF LINE 21 IS -0- OR MORE, USE AMOUNT FROM LINE 20
     * IF LINE 21 IS A NEGATIVE AMOUNT, NET LINES 20 AND 21                  1,390,170.

     STATE AND LOCAL INCOME TAX REFUNDS PRIOR TO 2015
                                                                        }}}}}}}}}}}}}}
     TOTAL TO SCHEDULE 1, LINE 10                                           1,390,170.
                                                                        ~~~~~~~~~~~~~~




                                                                          STATEMENT(S) 7
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SCHEDULE 1   SELF-EMPLOYED HEALTH INSURANCE DEDUCTION WORKSHEET  STATEMENT 8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

 TONY D. TOWNLEY

 ZAXBY'S OPERATING COMPANY, LP (TDT)

 1   NONSPECIFIED HEALTH INSURANCE PAYMENTS                                        322.
                                                                         ~~~~~~~~~~~~~~
 2   NET PROFIT FROM TRADE OR BUSINESS UNDER WHICH INSURANCE
     PLAN IS ESTABLISHED                                                           813.

 3   TOTAL OF ALL NET PROFITS AND EARNED INCOME.
     S CORPORATIONS SKIP TO LINE 9                         2,288,738.

 4   DIVIDE LINE 2 BY LINE 3                                     .0004

 5   DEDUCTIBLE PORTION OF SELF-EMPLOYMENT TAX                34,311.
                                                       }}}}}}}}}}}}}}
 6   LINE 4 TIMES LINE 5                                                            12.
                                                                         }}}}}}}}}}}}}}
 7   LINE 2 MINUS LINE 6                                                           801.

 8   SELF-EMPLOYED SEP, SIMPLE, AND QUALIFIED PLANS ATTRIBUTABLE
     TO TRADE OR BUSINESS NAMED ABOVE                                                0.
                                                                         }}}}}}}}}}}}}}
 9   LINE 7 MINUS LINE 8. S CORPORATIONS ENTER WAGES RECEIVED                      801.

10   FORM 2555, LINE 45 ATTRIBUTABLE TO THE TRADE OR BUSINESS
     NAMED ABOVE
                                                                         }}}}}}}}}}}}}}
11   LINE 9 MINUS LINE 10                                                          801.
                                                                         ~~~~~~~~~~~~~~
12   SELF-EMPLOYED HEALTH INSURANCE DEDUCTION.      LESSER OF
     LINE 1 OR LINE 11                                                             322.
                                                                         ~~~~~~~~~~~~~~




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SCHEDULE 4                        OTHER TAXES                    STATEMENT 9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
FROM FORM 8959                                                                  14,105.
FROM FORM 8960                                                                 128,695.
                                                                         }}}}}}}}}}}}}}
TOTAL TO SCHEDULE 4, LINE 62                                                   142,800.
                                                                         ~~~~~~~~~~~~~~




                                                                      STATEMENT(S) 8, 9
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SCHEDULE 5               CURRENT YEAR ESTIMATES AND              STATEMENT 10
                     AMOUNT APPLIED FROM PREVIOUS YEAR
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
2ND QTR ESTIMATE PAYMENT - JOINT                                           4,220,000.
3RD QTR ESTIMATE PAYMENT - JOINT                                           3,000,000.
PRIOR YEAR OVERPAYMENT APPLIED - JOINT                                     5,051,465.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE 5, LINE 66                                              12,271,465.
                                                                       ~~~~~~~~~~~~~~




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SCHEDULE A               STATE AND LOCAL INCOME TAXES            STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                AMOUNT
}}}}}}}}}}}                                                            }}}}}}}}}}}}}}
FROM K-1 - PLUCKED CHICKEN, INC.                                             690,325.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                               23,543.
FROM K-1 - ZAXBY'S OPERATING COMPANY, LP (TDT)                               125,055.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                         7,474.
FROM K-1 - PLUCKED CHICKEN, INC.-ALABAMA                                      71,248.
FROM K-1 - CLUCKZ HOLDINGS LLC-ALABAMA                                         2,413.
FROM K-1 - CLUCKZ HOLDINGS LLC-ALABAMA                                            766.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-ALABAMA                               12,820.
FROM K-1 - PLUCKED CHICKEN, INC.-ARKANSAS                                      6,661.
FROM K-1 - CLUCKZ HOLDINGS LLC-ARKANSAS                                           227.
FROM K-1 - CLUCKZ HOLDINGS LLC-ARKANSAS                                            72.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-ARKANSAS                               1,206.
FROM K-1 - PLUCKED CHICKEN, INC.-KENTUCKY                                     13,361.
FROM K-1 - CLUCKZ HOLDINGS LLC-KENTUCKY                                           504.
FROM K-1 - CLUCKZ HOLDINGS LLC-KENTUCKY                                           160.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-KENTUCKY                               5,592.
FROM K-1 - CLUCKZ HOLDINGS LLC-MISSISSIPPI                                        228.
FROM K-1 - CLUCKZ HOLDINGS LLC-MISSISSIPPI                                         72.
FROM K-1 - PLUCKED CHICKEN, INC.-MISSISSIPPI                                  12,025.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-MISSISSIPPI                            2,001.
FROM K-1 - CLUCKZ HOLDINGS LLC-VIRGINIA                                           354.
FROM K-1 - CLUCKZ HOLDINGS LLC-VIRGINIA                                        1,116.
FROM K-1 - PLUCKED CHICKEN, INC.-VIRGINIA                                      1,361.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-VIRGINIA                               6,098.
VA STATE TAX PAYMENTS                                                             173.
FROM K-1 - ZAXBY'S OPERATING COMPANY LP-LOUISIANA                              8,281.
FROM K-1 - CLUCKZ HOLDINGS LLC-LOUISIANA                                       1,559.
FROM K-1 - CLUCKZ HOLDINGS LLC-LOUISIANA                                          495.
FROM K-1 - PLUCKED CHICKEN, INC.-LOUISIANA                                    37,133.
GEORGIA PRIOR YEAR OVERPAYMENT APPLIED                                       752,090.
GEORGIA PRIOR YEAR BALANCE DUE AND EXTENSION PAYMENTS                         35,328.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE A, LINE 5A                                               1,819,741.
                                                                       ~~~~~~~~~~~~~~




                                                                   STATEMENT(S) 10, 11
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SCHEDULE A                     CASH CONTRIBUTIONS                STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                     AMOUNT                  AMOUNT         AMOUNT
DESCRIPTION                       100% LIMIT               60% LIMIT      30% LIMIT
}}}}}}}}}}}                      }}}}}}}}}}}}}}          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
MISCELLANEOUS                                                         0.
FROM K-1 - PLUCKED CHICKEN, INC.                                54,387.
FROM K-1 - LOG CREEK, LLLP                                          147.
FROM K-1 - LOG CREEK, LLLP                                          147.
FROM K-1 - TOWNLEY FAMILY
PARTNERSHIP, LLLP                                                      34.
FROM K-1 - TOWNLEY FAMILY
PARTNERSHIP, LLLP                                                  1,682.
FROM K-1 - TOWNLEY FAMILY
PARTNERSHIP, LLLP                                                  1,649.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                    1,913.
FROM K-1 - ZAXBY'S OPERATING
COMPANY, LP (TDT)                                                  10,161.
FROM K-1 - CLUCKZ HOLDINGS, LLC
(SECG)                                                               608.
FROM K-1 - LOG CREEK, LLLP                                             3.
FROM K-1 - LOG CREEK, LLLP                                             3.

                                      }}}}}}}}}}}}}}     }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SUBTOTALS                                                       70,734.
                                      ~~~~~~~~~~~~~~     ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
TOTAL TO SCHEDULE A, LINE 11                                                   70,734.
                                                                        ~~~~~~~~~~~~~~




                                                                             STATEMENT(S) 12
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SCHEDULE B                      INTEREST INCOME                  STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF PAYER                                                              AMOUNT
}}}}}}}}}}}}}                                                          }}}}}}}}}}}}}}
AFB&T A DIVISION OF SYNOVUS BANK #6579                                            553.
AFB&T A DIVISION OF SYNOVUS BANK #4943                                             17.
AFB&T A DIVISION OF SYNOVUS BANK #2011                                            584.
AFB&T A DIVISION OF SYNOVUS BANK #4283                                         2,722.
AFB&T A DIVISION OF SYNOVUS BANK #5497                                             20.
AFB&T A DIVISION OF SYNOVUS BANK #6340 & #0467                                    159.
AFB&T A DIVISION OF SYNOVUS BANK #6358                                            141.
AFB&T A DIVISION OF SYNOVUS BANK #6366                                            141.
AFB&T A DIVISION OF SYNOVUS BANK #9768                                            605.
AFB&T A DIVISION OF SYNOVUS BANK #6633                                             31.
BRANCH BANKING & TRUST CO #0697                                                   469.
FIRST AMERICAN BANK & TRUST #8335                                                 987.
FIRST AMERICAN BANK & TRUST #8313 & #8324                                         567.
FIRST AMERICAN BANK & TRUST CO #8225                                              285.
LA DOR                                                                             31.
LOG CREEK, LLLP                                                              900,000.
OCONEE STATE BANK #6302                                                           256.
OCONEE STATE BANK #8425                                                           258.
OCONEE STATE BANK #8601                                                           258.
OCONEE STATE BANK #6969                                                           257.
PARKER CREEK PROPERTIES, LLC                                                  12,039.
STATE BANK AND TRUST COMPANY #3428                                                 64.
STATE BANK AND TRUST COMPANY #8239                                                261.
STATE BANK AND TRUST COMPANY #8259                                                259.
STATE BANK AND TRUST COMPANY #8279                                                258.
SYNOVUS BANK #2649                                                                 31.
US TREASURY                                                                  329,559.
VANGUARD #9138                                                                17,588.
FROM K-1 - PLUCKED CHICKEN, INC.                                           1,166,123.
FROM K-1 - LOG CREEK, LLLP                                                    41,191.
FROM K-1 - LOG CREEK, LLLP                                                    41,190.
FROM K-1 - TONY D. TOWNLEY TRUST                                                   17.
FROM K-1 - ELIZABETH A. TOWNLEY TRUST                                              17.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                                    10.
FROM K-1 - ZAXBY'S OPERATING COMPANY, LP (TDT)                                     55.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                              3.
FROM K-1 - LOG CREEK, LLLP                                                        840.
FROM K-1 - LOG CREEK, LLLP                                                        841.
                                                                       }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B , LINE 1                                               2,518,687.
                                                                       ~~~~~~~~~~~~~~

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SCHEDULE B                    TAX-EXEMPT INTEREST                STATEMENT 14
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF PAYER                                                              AMOUNT
}}}}}}}}}}}}}                                                          }}}}}}}}}}}}}}
VANGUARD #9138                                                                15,363.
                                                                       }}}}}}}}}}}}}}
TOTAL TAX-EXEMPT INTEREST TO SCHEDULE B, LINE 1                               15,363.
                                                                       ~~~~~~~~~~~~~~


                                                                   STATEMENT(S) 13, 14
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SCHEDULE B              NOMINEE, OID, OR OTHER INTEREST          STATEMENT 15
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                 TYPE OF
NAME OF PAYER                                   ADJUSTMENT          AMOUNT
}}}}}}}}}}}}}                              }}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}
VANGUARD #9138                             ABP ADJUSTMENT               2,187.
                                                                }}}}}}}}}}}}}}
TOTAL NOMINEE, OID, OR OTHER INTEREST TO SCHEDULE B, LINE 1             2,187.
                                                                ~~~~~~~~~~~~~~




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SCHEDULE D           NET LONG-TERM GAIN OR LOSS FROM FORMS       STATEMENT 16
                     4797, 2439, 6252, 4684, 6781 AND 8824
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION OF PROPERTY                                 GAIN OR LOSS        28% GAIN
}}}}}}}}}}}}}}}}}}}}}}}                                 }}}}}}}}}}}}      }}}}}}}}}}}}
FORM 4797                                                   691,578.
                                                        }}}}}}}}}}}}      }}}}}}}}}}}}
TOTAL TO SCHEDULE D, PART II, LINE 11                       691,578.
                                                        ~~~~~~~~~~~~      ~~~~~~~~~~~~

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SCHEDULE D              NET SHORT-TERM GAIN OR LOSS FROM         STATEMENT 17
                 PARTNERSHIPS, S CORPORATIONS, AND FIDUCIARIES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION OF ACTIVITY                                                   GAIN OR LOSS
}}}}}}}}}}}}}}}}}}}}}}}                                                   }}}}}}}}}}}}
PLUCKED CHICKEN, INC.                                                          -2,342.
CLUCKZ HOLDINGS, LLC                                                              -82.
ZAXBY'S OPERATING COMPANY, LP (TDT)                                              -437.
CLUCKZ HOLDINGS, LLC (SECG)                                                       -26.
PARKER CREEK PROPERTIES                                                           786.
                                                                          }}}}}}}}}}}}
TOTAL TO SCHEDULE D, PART I, LINE 5                                            -2,101.
                                                                          ~~~~~~~~~~~~


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SCHEDULE D              NET LONG-TERM GAIN OR LOSS FROM          STATEMENT 18
                 PARTNERSHIPS, S CORPORATIONS, AND FIDUCIARIES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION OF ACTIVITY                                  GAIN OR LOSS       28% GAIN
}}}}}}}}}}}}}}}}}}}}}}}                                  }}}}}}}}}}}}     }}}}}}}}}}}}
PLUCKED CHICKEN, INC.                                         -4,387.
CLUCKZ HOLDINGS, LLC                                            -154.
ZAXBY'S OPERATING COMPANY, LP (TDT)                             -819.
CLUCKZ HOLDINGS, LLC (SECG)                                      -49.
PARKER CREEK PROPERTIES                                          698.
                                                         }}}}}}}}}}}}     }}}}}}}}}}}}
TOTAL TO SCHEDULE D, PART II, LINE 12                         -4,711.
                                                         ~~~~~~~~~~~~     ~~~~~~~~~~~~



                                                         STATEMENT(S) 15, 16, 17, 18
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SCHEDULE D                UNRECAPTURED SECTION 1250 GAIN           STATEMENT 19
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 1. IF YOU HAVE A SECTION 1250 PROPERTY IN PART III OF FORM
    4797 FOR WHICH YOU MADE AN ENTRY IN PART I OF FORM 4797,
    ENTER THE SMALLER OF LINE 22 OR LINE 24 OF FORM 4797 FOR
    THAT PROPERTY. IF YOU DID NOT HAVE ANY SUCH PROPERTY, GO
    TO LINE 4                                                            19,164.
 2. ENTER THE AMOUNT FROM FORM 4797, LINE 26G, FOR THE
    PROPERTY FOR WHICH YOU MADE AN ENTRY ON LINE 1
                                                                    }}}}}}}}}}}}
 3. SUBTRACT LINE 2 FROM LINE 1                                          19,164.
 4. ENTER THE TOTAL UNRECAPTURED SECTION 1250 GAIN INCLUDED
    ON LINE 26 OR LINE 37 OF FORM(S) 6252 FROM INSTALLMENT
    SALES OF TRADE OR BUSINESS PROPERTY HELD MORE THAN 1 YEAR
 5. ENTER THE TOTAL OF ANY AMOUNTS REPORTED TO YOU ON A
    SCHEDULE K-1 FROM A PARTNERSHIP OR AN S CORPORATION AS
    "UNRECAPTURED SECTION 1250 GAIN"
                                                                    }}}}}}}}}}}}
 6. ADD LINES 3 THROUGH 5                                                19,164.
 7. ENTER THE SMALLER OF LINE 6 OR THE GAIN
    FROM FORM 4797, LINE 7                                   19,164.
 8. ENTER THE AMOUNT, IF ANY, FROM FORM 4797,
    LINE 8
 9. SUBTRACT LINE 8 FROM LINE 7. IF ZERO OR LESS, ENTER -0-              19,164.
10. ENTER THE AMOUNT OF ANY GAIN FROM THE SALE OR EXCHANGE OF
    AN INTEREST IN A PARTNERSHIP ATTRIBUTABLE TO UNRECAPTURED
    SECTION 1250 GAIN
11. ENTER THE TOTAL OF ANY AMOUNTS REPORTED TO YOU ON A
    SCHEDULE K-1, FORMS 1099-DIV, OR FORM 2439 AS "UNRECAPTURED
    SECTION 1250 GAIN" FROM AN ESTATE, TRUST, REAL ESTATE
    INVESTMENT TRUST, OR MUTUAL FUND (OR OTHER REGULATED
    INVESTMENT COMPANY)
12. ENTER THE TOTAL OF ANY UNRECAPTURED SECTION 1250 GAIN FROM SALES
    (INCLUDING INSTALLMENT SALES) OR OTHER DISPOSITIONS OF SECTION
    1250 PROPERTY HELD MORE THAN 1 YEAR FOR WHICH YOU DID NOT
    MAKE AN ENTRY IN PART I OF FORM 4797 FOR THE YEAR OF SALE
                                                                    }}}}}}}}}}}}
13. ADD LINES 9 THROUGH 12                                               19,164.
14. IF YOU HAD ANY SECTION 1202 GAIN OR COLLECTIBLE
    GAIN OR (LOSS), ENTER THE TOTAL OF LINES 1 THROUGH
    4 OF THE 28% RATE GAIN WORKSHEET
15. ENTER THE (LOSS), IF ANY, FROM SCH D, LINE 7.
    IF SCH D, LINE 7, IS ZERO OR A GAIN ENTER -0-        -1,009,085.
16. ENTER YOUR LONG-TERM CAPITAL LOSS CARRYOVERS FROM
    SCHEDULE D, LINE 14, AND SCHEDULE K-1 (FORM 1041),
    BOX 11, CODE C
17. COMBINE LINES 14 THROUGH 16. IF THE RESULT IS A (LOSS), ENTER
    IT AS A POSITIVE AMOUNT. IF THE RESULT IS ZERO OR A GAIN,
    ENTER -0-                                                         1,009,085.
                                                                    }}}}}}}}}}}}
18. SUBTRACT LINE 17 FROM LINE 13. IF ZERO OR LESS, ENTER -0-.
    IF MORE THAN ZERO, ENTER THE RESULT HERE AND ON SCHEDULE D,
    LINE 19                                                                   0.
                                                                    ~~~~~~~~~~~~




                                                                       STATEMENT(S) 19
         Case 3:22-cv-00107-CDL    AMENDED
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TONY D. & ELIZABETH A. TOWNLEY
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SCHEDULE E                       OTHER EXPENSES                  STATEMENT 20
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

EAT HOLDINGS, LLC - 755 NORTH HWY 29, ATHENS, GA 30601

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
BANK CHARGES                                                                       138.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1, LINE 19                                               138.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE E                       OTHER EXPENSES                  STATEMENT 21
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

FRAZER CREEK INVESTMENTS, LLC - VARIOUS (FRAZER CREEK), OCONEE COUNTY, GA 30

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
PEST CONTROL                                                                    6,559.
POSTAGE                                                                             59.
EQUIPMENT RENTAL                                                                   225.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1, LINE 19                                            6,843.
                                                                        ~~~~~~~~~~~~~~


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SCHEDULE E                        OTHER INCOME                   STATEMENT 22
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

FRAZER CREEK INVESTMENTS, LLC - VARIOUS (FRAZER CREEK), OCONEE COUNTY, GA 30

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
RENTAL FEES                                                                     1,220.
BANK CHARGE REVERSAL                                                                8.
RENTAL INCOME                                                                 301,197.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE E, PAGE 1                                                   302,425.
                                                                        ~~~~~~~~~~~~~~




                                                                STATEMENT(S) 20, 21, 22
         Case 3:22-cv-00107-CDL    AMENDED
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SCHEDULE E     INCOME OR (LOSS) FROM PARTNERSHIPS AND S CORPS    STATEMENT 23
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}


NAME
}}}}
EMP ID NO.
}}}}}}}}}}
                   ANY
      X   BASIS    NOT
      IF COMP       AT      PASSIVE    PASSIVE NONPASSIVE SEC. 179 NONPASSIVE
CODE FRN REQ       RISK      LOSS      INCOME      LOSS     DEDUCTION   INCOME
}}}   }}} }}}}}    }}}}   }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
OGEECHEE TIMBER,   LLC

 P                                                                                6,551.
PLUCKED CHICKEN, INC.

 S          X                                                                34882957.
LAND WARRIORS, LLC

 P                            4,400.
LOG CREEK, LLLP

 P                                                  925,644.
LOG CREEK, LLLP

 P                                                  925,644.
TOWNLEY FAMILY PARTNERSHIP, LLLP

 P                                                    17,674.
PRIOR YEAR PAL

 P                             90.
TOWNLEY FAMILY PARTNERSHIP, LLLP

 P                                                  883,710.
PRIOR YEAR PAL

 P                          4,496.
TOWNLEY FAMILY PARTNERSHIP, LLLP

 P                                                  866,036.
PRIOR YEAR PAL

 P                            4,405.
CLUCKZ HOLDINGS, LLC

 P                                                                          1,229,179.
M&T AVIATION, LLC

 P                                                                               79,206.
ZAXBY'S OPERATING COMPANY, LP (TDT)

 P                                                                          6,529,485.
CLUCKZ HOLDINGS, LLC (SECG)

P                                                                                390,240.



                                                                       STATEMENT(S) 23
         Case 3:22-cv-00107-CDL    AMENDED
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}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
INTEREST EXPENSE - LOG CREEK

 P                                                  568,920.
INTEREST EXPENSE - TOWNLEY FAMILY
PARTNERSHIP

 P                                                  570,769.
PARKER CREEK PROPERTIES, LLC

 P                                 0.
LOG CREEK, LLLP

 P                                                    18,891.
LOG CREEK, LLLP

 P                                                    18,890.
INTEREST EXPENSE - LAND WARRIORS

 P                                                       717.
INTEREST EXPENSE - OGEECHEE TIMBER

P                                                   645.
                        }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS TO SCH. E, LN. 29   13,391.            4,797,540.             43117618.
                        ~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~




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SCHEDULE F                       OTHER EXPENSES                  STATEMENT 24
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
LEGAL FEES                                                                     16,227.
BANK FEES                                                                           50.
REFORESTATION EXPENSE                                                          30,000.
SUPPLIES                                                                           234.
PROFESSIONAL FEES                                                              14,276.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE F, PART II, LINE 32                                          60,787.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE F                 OTHER INCOME - CASH METHOD            STATEMENT 25
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
HUNTING LEASE REVENUE                                                           5,968.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE F, PART I, LINE 8                                             5,968.
                                                                        ~~~~~~~~~~~~~~




                                                                STATEMENT(S) 23, 24, 25
         Case 3:22-cv-00107-CDL    AMENDED
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TONY D. & ELIZABETH A. TOWNLEY
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SCHEDULE SE                     NON-FARM INCOME                  STATEMENT 26
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
MANAGEMENT                                                                   -244,627.
OGEECHEE TIMBER, LLC                                                            6,551.
LAND WARRIORS, LLC                                                                 430.
CLUCKZ HOLDINGS, LLC                                                        1,291,679.
ZAXBY'S OPERATING COMPANY, LP (TDT)                                                813.
ZAXBY'S FRANCHISING LLC                                                       989,265.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE SE, LINE 2                                                2,044,111.
                                                                        ~~~~~~~~~~~~~~

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SCHEDULE SE                       FARM INCOME                    STATEMENT 27
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
TOWNLEY FAMILY PARTNERSHIP, LLLP                                              -17,437.
TIMBER                                                                        -58,871.
                                                                        }}}}}}}}}}}}}}
TOTAL TO SCHEDULE SE, LINE 1A                                                 -76,308.
                                                                        ~~~~~~~~~~~~~~




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FORM 4797               PROPERTY HELD MORE THAN ONE YEAR         STATEMENT 28
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                     DATE     DATE     SALES                 COST      GAIN
DESCRIPTION        ACQUIRED   SOLD     PRICE      DEPR.    OR BASIS   OR LOSS
}}}}}}}}}}}        }}}}}}}} }}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}}}
OGEECHEE TIMBER,
LLC                                                                          423.
LOG CREEK, LLLP                                                          293,645.
LOG CREEK, LLLP                                                          293,644.
LOG CREEK, LLLP                                                            5,992.
LOG CREEK, LLLP                                                            5,993.
                                       }}}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTAL TO 4797, PART I, LINE 2                                            599,697.
                                       ~~~~~~~~~~ ~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~




                                                                STATEMENT(S) 26, 27, 28
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FORM 6251                      PASSIVE ACTIVITIES                STATEMENT 29
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                          NET INCOME (LOSS)
                                          }}}}}}}}}}}}}}}}}
NAME OF ACTIVITY           FORM         AMT          REGULAR       ADJUSTMENT
}}}}}}}}}}}}}}}}        }}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
820 AGRICULTURE DR      FORM 4797         91,881.        91,881.
LAND WARRIORS, LLC      SCH E             -4,398.        -4,400.              2.
TOWNLEY FAMILY          SCH E
PARTNERSHIP, LLLP                                            -90.           90.
TOWNLEY FAMILY          SCH E
PARTNERSHIP, LLLP                                        -4,496.         4,496.
TOWNLEY FAMILY          SCH E
PARTNERSHIP, LLLP                                        -4,405.         4,405.
EAT HOLDINGS, LLC -     SCH E
755 NORTH HWY 29,
ATHENS, GA 30601                            107,010.        107,010.
FRAZER CREEK           SCH E
INVESTMENTS, LLC -
VARIOUS (FRAZER
CREEK), OCONEE COUNTY,
GA 3                                      -191,455.        -185,500.           -5,955.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 6251, LINE 2M                                                     3,038.
                                                                        ~~~~~~~~~~~~~~

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FORM 6251                       LOSS LIMITATIONS                 STATEMENT 30
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                         NET INCOME (LOSS)
                                         }}}}}}}}}}}}}}}}}
NAME OF ACTIVITY            FORM        AMT          REGULAR       ADJUSTMENT
}}}}}}}}}}}}}}}}         }}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}
PLUCKED CHICKEN, INC.    SCH E        35,291,871.    35,991,492.     -699,621.
                                                                 }}}}}}}}}}}}}
TOTAL TO FORM 6251, LINE 2N                                          -699,621.
                                                                 ~~~~~~~~~~~~~


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FORM 6251    DEPRECIATION ON ASSETS PLACED IN SERVICE AFTER 1986 STATEMENT 31
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                 AMOUNT
}}}}}}}}}}}                                                             }}}}}}}}}}}}}}
FROM K-1 - LOG CREEK, LLLP                                                         -16.
FROM K-1 - LOG CREEK, LLLP                                                         -17.
FROM K-1 - CLUCKZ HOLDINGS, LLC                                               -24,617.
FROM K-1 - ZAXBY'S OPERATING COMPANY, LP (TDT)                               -130,712.
FROM K-1 - CLUCKZ HOLDINGS, LLC (SECG)                                         -7,816.
FROM K-1 - LOG CREEK, LLLP                                                          -1.
                                                                        }}}}}}}}}}}}}}
TOTAL TO FORM 6251, LINE 2L                                                  -163,179.
                                                                        ~~~~~~~~~~~~~~




                                                                STATEMENT(S) 29, 30, 31
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FORM 8960                   TRADE OR BUSINESS INCOME             STATEMENT 32
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

ROYALTIES DERIVED IN THE ORDINARY COURSE OF BUSINESS                                  0.
OGEECHEE TIMBER, LLC                                                             -6,551.
PLUCKED CHICKEN, INC.                                                       -34,882,957.
LOG CREEK, LLLP                                                                 925,644.
LOG CREEK, LLLP                                                                 925,644.
TOWNLEY FAMILY PARTNERSHIP, LLLP                                                 17,674.
TOWNLEY FAMILY PARTNERSHIP, LLLP                                                883,710.
TOWNLEY FAMILY PARTNERSHIP, LLLP                                                866,036.
CLUCKZ HOLDINGS, LLC                                                         -1,229,179.
M&T AVIATION, LLC                                                               -79,206.
ZAXBY'S OPERATING COMPANY, LP (TDT)                                          -6,529,485.
CLUCKZ HOLDINGS, LLC (SECG)                                                    -390,240.
INTEREST EXPENSE - LOG CREEK                                                    568,920.
INTEREST EXPENSE - TOWNLEY FAMILY PARTNERSHIP                                   570,769.
LOG CREEK, LLLP                                                                  18,890.
LOG CREEK, LLLP                                                                  18,891.
INTEREST EXPENSE - LAND WARRIORS                                                    717.
INTEREST EXPENSE - OGEECHEE TIMBER                                                  645.
                                                                          }}}}}}}}}}}}}}
AMOUNT TO FORM 8960, LINE 4B                                                -38,320,078.
                                                                          ~~~~~~~~~~~~~~

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FORM 8960           OTHER MODIFICATIONS TO INVESTMENT INCOME     STATEMENT 33
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

AMOUNT FROM LINE 7 WORKSHEET, LINE 13 FOR GA                    42,100.
TOTAL RECOVERY OF PRIOR YEAR FORM 8960, LINE 9B                 42,100.          42,100.
                                                                          }}}}}}}}}}}}}}
AMOUNT TO FORM 8960, LINE 7                                                      42,100.
                                                                          ~~~~~~~~~~~~~~




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FORM 8582          ACTIVE RENTAL OF REAL ESTATE - WORKSHEET 1    STATEMENT 38
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                            CURRENT YEAR      PRIOR YEAR   OVERALL GAIN OR LOSS
                            }}}}}}}}}}}}       UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY       NET INCOME   NET LOSS     LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
EAT HOLDINGS, LLC -
755 NORTH HWY 29,
ATHENS, GA 30601         107,010.             0.                  107,010.
FRAZER CREEK
INVESTMENTS, LLC -
VARIOUS (FRAZER
CREEK), OCONEE C          91,881.   -191,333.                          -99,452.
                       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                   198,891.   -191,333.               107,010.   -99,452.
                       ~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~



                                                                STATEMENT(S) 32, 33, 38
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FORM 8582            OTHER PASSIVE ACTIVITIES - WORKSHEET 3      STATEMENT 39
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                           CURRENT YEAR       PRIOR YEAR   OVERALL GAIN OR LOSS
                           }}}}}}}}}}}}        UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY       NET INCOME NET LOSS       LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
LAND WARRIORS, LLC           481.          0.     -5,155.               -4,674.
TOWNLEY FAMILY
PARTNERSHIP, LLLP                 0.           0.         -96.                       -96.
TOWNLEY FAMILY
PARTNERSHIP, LLLP                 0.           0.      -4,776.                     -4,776.
TOWNLEY FAMILY
PARTNERSHIP, LLLP              0.          0.     -4,680.               -4,680.
                       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                       481.          0.    -14,707.              -14,226.
                       ~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~


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FORM 8582         ALLOCATION OF UNALLOWED LOSSES - WORKSHEET 5   STATEMENT 40
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                          FORM
                                           OR                                UNALLOWED
NAME OF ACTIVITY                        SCHEDULE     LOSS           RATIO       LOSS
}}}}}}}}}}}}}}}}                        }}}}}}}}} }}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}
LAND WARRIORS, LLC                      SCH E         4,674.      .041116135      274.
TOWNLEY FAMILY PARTNERSHIP, LLLP        SCH E             96.     .000844491        6.
TOWNLEY FAMILY PARTNERSHIP, LLLP        SCH E         4,776.      .042013406      280.
TOWNLEY FAMILY PARTNERSHIP, LLLP        SCH E         4,680.      .041168916      275.
FRAZER CREEK INVESTMENTS, LLC -         SCH E
VARIOUS (FRAZER CREEK), OCONEE C                     99,452.      .874857052    5,833.
                                                  }}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}
TOTALS                                              113,678.     1.000000000    6,668.
                                                  ~~~~~~~~~~     ~~~~~~~~~~~ ~~~~~~~~~




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FORM 8582                 ALLOWED LOSSES - WORKSHEET 6           STATEMENT 41
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                           FORM
                                            OR                 UNALLOWED  ALLOWED
NAME OF ACTIVITY                         SCHEDULE     LOSS        LOSS      LOSS
}}}}}}}}}}}}}}}}                         }}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}}}}}}}}
LAND WARRIORS, LLC                       SCH E         5,155.        274.   4,881.
TOWNLEY FAMILY PARTNERSHIP, LLLP         SCH E             96.         6.      90.
TOWNLEY FAMILY PARTNERSHIP, LLLP         SCH E         4,776.        280.   4,496.
TOWNLEY FAMILY PARTNERSHIP, LLLP         SCH E         4,680.        275.   4,405.
                                                   }}}}}}}}}} }}}}}}}}}} }}}}}}}}}
TOTALS                                                14,707.        835.  13,872.
                                                   ~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~




                                                                 STATEMENT(S) 39, 40, 41
         Case 3:22-cv-00107-CDL    AMENDED
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FORM 8582           ACTIVITIES WITH LOSSES REPORTED ON 2 OR      STATEMENT 42
                MORE DIFFERENT FORMS OR SCHEDULES - WORKSHEET 7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                 FORM OR   FORM OR
 GROUP          SCHEDULE SCHEDULE    OVERALL              UNALLOWED   ALLOWED
NO.    NAME     NET LOSS NET GAIN     LOSS       RATIO       LOSS       LOSS
}} }}}}}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}
 1 820
   AGRICULTURE
   DR                       91,881.        0. .000000000
 1 FRAZER CREEK
   INVESTMENTS,
   LLC -
   VARIOUS
   (FRAZER
   CREEK),
   OCONEE C      191,333.            191,333. 1.000000000     5,833. 185,500.
                                    }}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}
                                     191,333. 1.000000000     5,833. 185,500.




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FORM 8582                SUMMARY OF PASSIVE ACTIVITIES           STATEMENT 43
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R
R                     FORM
E                      OR               PRIOR       NET     UNALLOWED ALLOWED
A NAME              SCHEDULE GAIN/LOSS YEAR C/O GAIN/LOSS     LOSS      LOSS
- }}}}              }}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
X 820 AGRICULTURE FORM 4797
  DR                           91,881.              91,881.
  LAND WARRIORS,   SCH E
  LLC                             481.   -5,155.    -4,674.      274.    4,400.
  TOWNLEY FAMILY   SCH E
  PARTNERSHIP, LLLP                 0.      -96.       -96.        6.       90.
  TOWNLEY FAMILY   SCH E
  PARTNERSHIP, LLLP                 0.   -4,776.    -4,776.      280.    4,496.
  TOWNLEY FAMILY   SCH E
  PARTNERSHIP, LLLP                 0.   -4,680.    -4,680.      275.    4,405.
X EAT HOLDINGS, LLCSCH E
  - 755 NORTH HWY
  29, ATHENS, GA
  30601                       107,010.             107,010.
X FRAZER CREEK     SCH E
  INVESTMENTS, LLC
  - VARIOUS (FRAZER
  CREEK), OCONEE C           -191,333.            -191,333.    5,833. 185,500.
                             }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
TOTALS                          8,039. -14,707.     -6,668.    6,668. 198,891.
                             ~~~~~~~~~ ~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~
PRIOR YEAR CARRYOVERS ALLOWED DUE TO CURRENT YEAR NET ACTIVITY INCOME      481.
                                                                      }}}}}}}}}
TOTAL TO FORM 8582, LINE 16                                            199,372.
                                                                      ~~~~~~~~~


                                                                   STATEMENT(S) 42, 43
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FORM 8582                   ALTERNATIVE MINIMUM TAX              STATEMENT 44
                   ACTIVE RENTAL OF REAL ESTATE - WORKSHEET 1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                            CURRENT YEAR      PRIOR YEAR   OVERALL GAIN OR LOSS
                            }}}}}}}}}}}}       UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY       NET INCOME   NET LOSS     LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
EAT HOLDINGS, LLC -
755 NORTH HWY 29,
ATHENS, GA 30601         107,010.             0.                 107,010.
FRAZER CREEK
INVESTMENTS, LLC -
VARIOUS (FRAZER
CREEK), OCONEE C          91,881.   -191,455.                          -99,574.
                       }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                   198,891.   -191,455.               107,010.   -99,574.
                       ~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~

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FORM 8582                   ALTERNATIVE MINIMUM TAX              STATEMENT 45
                     OTHER PASSIVE ACTIVITIES - WORKSHEET 3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                            CURRENT YEAR           PRIOR YEAR   OVERALL GAIN OR LOSS
                            }}}}}}}}}}}}            UNALLOWED   }}}}}}}}}}}}}}}}}}}}
NAME OF ACTIVITY       NET INCOME   NET LOSS          LOSS        GAIN       LOSS
}}}}}}}}}}}}}}}}       }}}}}}}}}} }}}}}}}}}}}      }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
LAND WARRIORS, LLC           481.          0.          -4,879.               -4,398.
                       }}}}}}}}}} }}}}}}}}}}}      }}}}}}}}}}} }}}}}}}}}} }}}}}}}}}}
TOTALS                       481.          0.          -4,879.               -4,398.
                       ~~~~~~~~~~ ~~~~~~~~~~~      ~~~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~~




                                                                   STATEMENT(S) 44, 45
         Case 3:22-cv-00107-CDL    AMENDED
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FORM 8582AMT          SUMMARY OF PASSIVE ACTIVITIES - AMT        STATEMENT 46
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

R
R                     FORM
E                      OR               PRIOR       NET     UNALLOWED ALLOWED
A NAME              SCHEDULE GAIN/LOSS YEAR C/O GAIN/LOSS     LOSS      LOSS
- }}}}              }}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
X 820 AGRICULTURE FORM 4797
  DR                           91,881.              91,881.
  LAND WARRIORS,   SCH E
  LLC                             481.   -4,879.    -4,398.              4,398.
X EAT HOLDINGS, LLCSCH E
  - 755 NORTH HWY
  29, ATHENS, GA
  30601                       107,010.             107,010.
X FRAZER CREEK     SCH E
  INVESTMENTS, LLC
  - VARIOUS (FRAZER
  CREEK), OCONEE C           -191,455.            -191,455.            191,455.
                             }}}}}}}}} }}}}}}}}} }}}}}}}}}} }}}}}}}}} }}}}}}}}}
TOTALS                          7,917.   -4,879.     3,038.            195,853.
                             ~~~~~~~~~ ~~~~~~~~~ ~~~~~~~~~~ ~~~~~~~~~
PRIOR YEAR CARRYOVERS ALLOWED DUE TO CURRENT YEAR NET ACTIVITY INCOME      481.
                                                                      }}}}}}}}}
TOTAL                                                                  196,334.
                                                                      ~~~~~~~~~




                                                                       STATEMENT(S) 46
         Case 3:22-cv-00107-CDL    AMENDED
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FORM 4562            PART III - RESIDENTIAL RENTAL PROPERTY      STATEMENT 47
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

          (A)                                  (B)           (C)           (G)
DESCRIPTION OF PROPERTY                       MO/YR         BASIS       DEDUCTION
}}}}}}}}}}}}}}}}}}}}}}}                       }}}}}     }}}}}}}}}}}}} }}}}}}}}}}}}}
BUILDING - 1561 ROCKY BR                       6 /18         185,201.        3,648.
BUILDING - 1111 BROOKWOOD DR                   5 /18         172,274.        3,915.
BUILDING - 2001 LANE CREEK                     5 /18         124,796.        2,836.
BUILDING - 1030 CARRIAGE COURT                 7 /18         132,348.        2,206.
BUILDING - 1330 COLE SPRINGS                   8 /18         101,490.        1,384.
BUILDING - 2291 MALCOM BRIDGE R               12 /18         127,167.          193.
BUILDING - 1951 LANE CREEK RD                 11 /18         212,860.          968.
BUILDING - 4360 HOG MOUNTAIN RD               12 /18         169,250.          256.
IMPROVEMENTS - 1370 MALCOLM BRIDGE               /
ROAD                                           8 18            3,047.           42.
IMPROVEMENTS - 1811 LANE CREEK                 8 /18           4,707.           64.
IMPROVEMENTS - 1320 COLE SPRINGS RD            1 /18           2,739.           95.
IMPROVEMENTS - 1491 PARKER CREEK RD            1 /18           1,776.           62.
IMPROVEMENTS - 4721 HOG MTN RD                 8 /18           3,550.           48.
IMPROVEMENTS - 1020 ROCKY BRANCH RD            5 /18           7,269.          165.
IMPROVEMENTS - 1040 ROCKY BRANCH RD            5 /18           7,279.          165.
IMPROVEMENTS - 1111 BROOKWOOD DR               5 /18           3,100.           70.
IMPROVEMENTS - 1370 MALCOLM BRI               11 /18         147,027.          668.
IMPROVEMENTS - 1721 AYCOCK ROAD                7 /18          14,565.          243.
                                                        }}}}}}}}}}}}} }}}}}}}}}}}}}
TOTAL TO FORM 4562, PART III, LINE 19H                     1,420,445.       17,028.
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                                                                       STATEMENT(S) 47
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                         Form 8283: Noncash Charitable Contributions
                        Attachment for Information on Donated Property

Name:                                             Log Creek, LLLP
Identifying Number:


5(a). Description of the Property: The donated property is a conservation easement donated as
a "qualified conservation contribution" under I.R.C. § 170(h). The conservation easement
encompasses approximately 240.00 acres of a 2,637.64 acre parcel located in Warren County,
Georgia. The property is primarily wooded with pine trees and hardwoods.

Conservation Purposes:

        The Property borders a stream and consists of diverse hardwood and planted pine forests
with granite outcrops. The Property contains a managed pine forest, and permanently protecting
the Property with this Conservation Easement will therefore provide for the maintenance of
forestry land, which is a conservation purpose recognized by the State of Georgia as providing
significant public benefit and therefore worthy of permanent protection (See the Georgia
Conservation Tax Credit Program ("GCTCP") at O.C.G.A. § 48-7-29.12 and Ga. R. & Regs.
391-1-6- .03(5)(d)).

        The Property is located in the Ogeechee River Watershed, segments of which have been
designated by the Georgia Department of Natural Resources as a high priority watershed due to
their importance in protecting or restoring aquatic species diversity, natural flow regimes, and
other conservation activities as defined in the Georgia State Wildlife Action Plan (See SWAP,
final report dated September 2015 (“2015 SWAP”), and contains three tributaries to the
Ogeechee River which run through the Property for 5,920 feet.

        The Property is made up of a number of habitats, including Mesic Hardwood Forest,
Granite Outcrops, and Streams, which are classified as high priority by the State of Georgia due
to their importance in protecting or restoring biodiversity, preserving functional ecosystems, and
other conservation efforts as defined in the 2015 SWAP.

        This Conservation Easement ensures "the preservation of open space (including farmland
and forest land) where such preservation is pursuant to a clearly delineated Federal, State, or
local governmental conservation policy, and will yield a significant public benefit," within the
meaning of §170(h)(4)(A)(iii)(II) of the Internal Revenue Code of 1986, as amended, in that the
State of Georgia has clearly delineated conservation policy and programs that recognize the
significant public benefit associated with the preservation of open space, as follows:

   a. The State of Georgia, recognizing the public benefit of protecting certain habitats and
      natural resources, has created the GCTCP in which a state income tax credit is awarded to
      qualifying conservation easements that further state-designated conservation purposes;

   b. The following conservation purposes, which are recognized by the GCTCP, are served by
      this Conservation Easement: (i) the protection of high priority habitats, Mesic Hardwood
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       Forest, Granite Outcrops, and Streams, and the resulting significant public benefit
       includes the preservation of varied critical Georgia ecosystems that support a diversity of
       wildlife and provide habitat connectivity; (ii) the protection of water quality through the
       conservation of streams, wetlands, and buffers to these features, and the resulting
       significant public benefit is the protection of water quality and quantity necessary to
       support in-stream species and enhance public drinking water; and (iii) the protection of
       productive forestry and agricultural land, and the resulting significant public benefit is the
       creation of natural resource-based economic benefits to the State, including resource-
       based tourism, hunting, and resource-related employment, and the protection of important
       soils; and

        By ensuring that the varied and critical high quality natural habitats mentioned above, as
identified in the Baseline Documentation Report, remain undisturbed and intact, this
Conservation Easement will therefore provide for "the protection of a relatively natural habitat of
fish, wildlife, or plants, or similar ecosystem ... ," as set forth in IRC §170(h)(4)(A)(ii).

Appraised Valuation:
Market Value Before Grant of Conservation Easement: $51,550,000
Market Value after Grant of Conservation Easement:   $4,920,000
Value of Conservation Easement/Contribution:        $46,630,000

Less Value of Enhancement to Excluded Parcels:                $230,500
Fair market Value Including Impact of Enhancement:         $46,399,000 (R)

Pursuant to IRC § 1.170 A-14(h)(3)(i), " ... if the granting of a conservation easement has had an
effect of the value increasing other property owned by the donor or a related person, the amount
of the deduction for the conservation contribution shall be reduced by the amount of the increase
in the value of the other property ... . "The enhancement value has been evaluated and an
appropriate reduction has been taken as set forth above.”

An appraisal by a qualified Appraiser, indicating the above valuations, is attached to this Form
8283.

Statement of Purpose:
This donation was not used to obtain a permit or any other approval by a local or other governing
authority. This donation was not required by contract.

Nearby Property Interests: The nearby property interests have been identified and valued for
enhancement. An appropriate reduction for their value has been made as identified above.

5(b). Summary of overall physical condition of the property at the time of gift: The
property consists of mostly undeveloped vacant acres, wooded with county maintained road
access as well as frontage along the south side of the CSX Georgia Railroad; conservation
easement donated on December 21, 2018 and recorded in Warren County on December 28,
2018.
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5(c). Appraised fair market value:          Easement Value:       $46,399,000

5(d). Dates acquired by donor: The member partner in Log Creek, LLLP, Tony D. Townley,
acquired the property via Limited Warranty Deed from State Bank and Trust Company on
June 30, 2010. The property was subsequently contributed to Log Creek, LLLP on December
14, 2012 via Omnibus Deed.

5(e). How acquired by donor: Contribution to Log Creek, LLLP through an Omnibus Deed.

5(f). Donor's cost or adjusted basis: The acquisition cost/basis of the property was $300,603.
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